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                                  EXHIBIT B

                          Declaration of Erin E. Murphy
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    NATIONAL RIFLE ASSOCIATION OF                                   ) Case No. 21-30085 (HDH)
    AMERICA and SEA GIRT LLC1                                       )
                                                                    )
                                     Debtors.                       ) Jointly Administered
                                                                    )

    DECLARATION OF ERIN E. MURPHY IN SUPPORT OF DEBTORS’ APPLICATION
         FOR ENTRY OF AN ORDER PURSUANT TO SECTION 327(e) OF THE
    BANKRUPTCY CODE AUTHORIZING THE RETENTION AND EMPLOYMENT OF
     KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP AS
       SPECIAL LITIGATION COUNSEL FOR THE DEBTORS AND DEBTORS IN
                POSSESSION EFFECTIVE AS OF JANUARY 15, 2021

             I, Erin E. Murphy, being duly sworn, state the following under penalty of perjury.

             1.     I am partner of the law firm of Kirkland & Ellis LLP (“Kirkland”),2 located at 1301

Pennsylvania Avenue, N.W. Washington, D.C. 20004. I am a member in good standing of the Bar

of the State of Virginia and the District of Columbia, and I have been admitted to practice in the

United States District Court for the District of Columbia Circuit. There are no disciplinary

proceedings pending against me.

             2.     I submit this declaration (the “Declaration”) in support of the Debtors’ Application

for Entry of an Order Pursuant to Section 327(e) of the Bankruptcy Code Authorizing the Retention

and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Special

Litigation Counsel for the Debtors and Debtors in Possession Effective as of January 15, 2021




1
      The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
      Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
2
      Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Application.
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(the “Application”).3 Except as otherwise noted, I have personal knowledge of the matters set

forth herein.

                                        Kirkland’s Qualifications

       3.       The Debtors seek to retain Kirkland as special litigation counsel because of

Kirkland’s extensive experience representing the Debtors in the matters described herein and

Kirkland’s track record of providing the Debtors with effective and efficient legal services. The

principal partners who work on these matters are Supreme Court, appellate, and constitutional law

specialists who have been providing Debtors with Supreme Court, appellate, and strategic

litigation advice across several matters for the past ten years. The Debtors believe that both the

interruption and duplicative cost involved in obtaining substitute counsel to provide these

specialized services at this juncture would be extremely harmful to the Debtors and their estates.

       4.       Kirkland is a full service, 2,700-attorney law firm representing global clients in a

wide range of matters. Kirkland has provided legal services to the Debtors through a core group

of dedicated attorneys and staff that has developed a close working relationship with the Debtors

and has become intimately familiar with key issues that are critical to the matters for which

Kirkland is retained. For these reasons, the Debtors believe that Kirkland is well-qualified to

provide the requested services and that Kirkland’s employment as special litigation counsel for the

purposes specified herein is in the best interest of the Debtors’ estates.

                                         Services to be Provided

       5.       Subject to further order of the Court, and that certain engagement letter dated

October 17, 2016 (the “Engagement Letter”), a copy of which is attached as Exhibit 1 to the Order,



3
       Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the
       Application.



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the Debtors request the retention and employment of Kirkland to render certain legal services in

its capacity as special litigation counsel only upon the Debtors’ request. Specifically, Kirkland

will continue to provide legal services to the Debtors regarding certain pending constitutional

litigations, appeals, Supreme Court matters, and/or future litigations that may be brought in this or

another court and the specific matters set forth on Schedule 2 attached hereto.

                                         Professional Compensation

        6.        Kirkland intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with the services rendered,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

this Court. The hourly rates and corresponding rate structure Kirkland will use is are the same

hourly rates and corresponding rate structure that Kirkland uses in other litigation matters, as well

as similar complex corporate, securities, and restructuring matters whether in court or otherwise,

regardless of whether a fee application is required. These rates and the rate structure reflect that

certain complex matters typically are national in scope and involve great complexity, high stakes,

and severe time pressures.

        7.        Kirkland operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

        8.        Kirkland’s current hourly rates for matters related to these Chapter 11 Cases range

as follows:4


4
    For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
    currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
    conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
    the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if


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                                Billing Category5                     U.S. Range
                                     Partners                        $1,085-$1,895
                                    Of Counsel                        $625-$1,895
                                    Associates                        $625-$1,195
                                Paraprofessionals                      $255-$475

        9.        Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly

rates vary with the experience and seniority of the individuals assigned. These hourly rates are

subject to periodic adjustments to reflect economic and other conditions.6

        10.       It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kirkland’s policy to charge

its clients only the amount actually incurred by Kirkland in connection with such items. Examples

of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

        11.       To ensure compliance with all applicable deadlines, from time to time Kirkland

utilizes the services of overtime secretaries. Kirkland charges fees for these services pursuant to



    an individual leaves or joins Kirkland, if any such individual’s billing rate falls outside the ranges disclosed above,
    Kirkland does not intend to update the ranges for such circumstances.
5
    Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
    that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
    to fees billed by such attorneys. Any contract attorneys or non-attorneys who are employed by the Debtors in
    connection with work performed by Kirkland will be subject to conflict checks and disclosures in accordance
    with the requirements of the Bankruptcy Code.
6
    For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
    paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
    basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
    paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
    used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
    Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
    the Order, Kirkland will provide ten business-days’ notice to the Debtors, the U.S. Trustee, and any official
    committee before implementing any periodic increases, and shall file any such notice with the Court.



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the Engagement Letter, which permits Kirkland to bill the Debtors for overtime secretarial charges

that arise out of business necessity. In addition, Kirkland professionals also may charge their

overtime meals and overtime transportation to the Debtors consistent with prepetition practices.

       12.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

its offices in the United States. Kirkland does not charge its clients for incoming facsimile

transmissions. Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal

research. Computer-assisted legal research is used whenever the researcher determines that using

Westlaw is more cost effective than using traditional (non-computer assisted legal research)

techniques.

       13.     As of the Petition Date, the Debtors owe Kirkland $325,997.82 for legal services

rendered before the Petition Date.

       14.     Pursuant to Bankruptcy Rule 2016(b), Kirkland has neither shared nor agreed to

share (a) any compensation it has received or may receive with another party or person, other than

with the partners, associates, and contract attorneys associated with Kirkland or (b) any

compensation another person or party has received or may receive.

                        Statement Regarding U.S. Trustee Guidelines

       15.     Kirkland shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of the Court.

Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in the Guidelines for Reviewing Applications

for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in




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Larger Chapter 11 Cases Effective As of November 1, 2013 (the “Revised UST Guidelines”), both

in connection with this Application and the interim and final fee applications to be filed by

Kirkland in these chapter 11 cases.

                     Attorney Statement Pursuant to Revised UST Guidelines

        16.      The following is provided in response to the request for additional information set

forth in Paragraph D.1 of the Revised UST Guidelines:

                 a. Question: Did Kirkland agree to any variations from, or alternatives to,
                    Kirkland’s standard billing arrangements for this engagement?

                      Answer: Yes. Kirkland and the Debtors have agreed to a 15% discount to
                      Kirkland’s standard billing arrangements for this engagement.7

                 b. Question: Do any of the Kirkland professionals in this engagement vary their
                    rate based on the geographic location of the Debtors’ chapter 11 cases?

                      Answer: No. The hourly rates used by Kirkland in representing the Debtors
                      are consistent with the rates that Kirkland charges other comparable clients,
                      regardless of the location of the litigation.

                 c. Question: If Kirkland has represented the Debtors in the 12 months prepetition,
                    disclose Kirkland’s billing rates and material financial terms for the prepetition
                    engagement, including any adjustments during the 12 months prepetition. If
                    Kirkland’s billing rates and material financial terms have changed postpetition,
                    explain the difference and the reasons for the difference.




7
    This discount is a product of the preexisting attorney-client relationship between Debtors and the principal
    partners on Debtors’ matters while those partners were practicing at a different law firm. The discount was
    negotiated as part of the process of transitioning that attorney-client relationship and those matters to Kirkland
    when those partners joined Kirkland.



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                      Answer: Kirkland’s current hourly rates for services rendered on behalf of the
                      Debtors range as follows: 8

                                Billing Category                    U.S. Range
                                     Partners                      $1,085-$1,895
                                   Of Counsel                       $625-$1,895
                                    Associates                      $625-$1,195
                                Paraprofessionals                    $255-$475


                      Kirkland represented the Debtors during the twelve-month period before the
                      Petition Date, using the hourly rates listed below:


                                Billing Category                    U.S. Range
                                     Partners                      $1,075-$1,845
                                   Of Counsel                       $625-$1,845
                                    Associates                      $610-$1165
                                Paraprofessionals                    $245-$460


                 d. Question: Have the Debtors approved Kirkland’s budget and staffing plan,
                    and, if so, for what budget period?

                      Answer: Yes, we discuss anticipated budgets for each matter in the ordinary
                      course of business.

                                              No Adverse Interest

        17.      In connection with its proposed employment by the Debtors, Kirkland undertook

to determine whether it had any conflicts or other relationships that might cause it to hold or

represent an interest adverse to the Debtors. Specifically, Kirkland obtained from the Debtors and

their representatives the names of individuals and entities that may be parties in interest in these

chapter 11 cases (the “Potential Parties in Interest”) and such parties are listed on Schedule 1

attached hereto. Kirkland has searched on its electronic database for its connections to the entities

listed on Schedule 1 hereto.


8
    While the rate ranges provided for in this Application may change if an individual leaves or joins Kirkland, and
    if any such individual’s billing rate falls outside the ranges disclosed above, Kirkland does not intend to update
    the ranges for such circumstances.



                                                          7
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        18.       Kirkland and certain of its partners and associates may have in the past represented,

may currently represent, and likely in the future will represent, entities that may be parties in

interest in these chapter 11 cases in connection with matters unrelated (except as otherwise

disclosed herein) to the Debtors and these chapter 11 cases. Kirkland has searched on its electronic

database for its connection to the entities listed on Schedule 1 attached hereto. The information

listed on Schedule 1 may have changed without our knowledge and may change during the

pendency of these chapter 11 cases. Accordingly, Kirkland will update this Declaration as

necessary and when Kirkland becomes aware of additional material information.

        19.       To the best of my knowledge, (a) Kirkland does not hold or represent an interest

adverse to the Debtors’ estates and (b) Kirkland has no connection to the Debtors, their creditors,

or other parties in interest, except as may be disclosed in this Declaration.

        20.       Listed on Schedule 2 to this Declaration are the results of Kirkland’s conflicts

searches of the above-listed entities.9 For the avoidance of doubt, Kirkland will not commence a

cause of action in these chapter 11 cases against the entities listed on Schedule 2 that are current

clients of Kirkland (including entities listed below under the “Specific Disclosures” section of this

Declaration) unless Kirkland has an applicable waiver on file or first receives a waiver from such

entity allowing Kirkland to commence such an action. To the extent that a waiver does not exist




9
    As referenced in Schedule 2, the term “current client” means an entity listed as a client in Kirkland’s conflicts
    search system to whom time was posted in the 12 months preceding the Petition Date. As referenced in
    Schedule 2, the term “former client” means an entity listed as a client in Kirkland’s conflicts search system to
    whom time was posted between 12 and 36 months preceding the Petition Date. As referenced in Schedule 2, the
    term “closed client” means an entity listed as a client in Kirkland’s conflicts search system to whom time was
    posted in the 36 months preceding the Petition Date, but for which the client representation has been closed.
    Whether an actual client relationship exists can only be determined by reference to the documents governing
    Kirkland’s representation rather than its potential listing in Kirkland’s conflicts search system. The list generated
    from Kirkland’s conflicts search system is over-inclusive. As a general matter, Kirkland discloses connections
    with “former clients” or “closed clients” for whom time was posted in the last 36 months, but does not disclose
    connections if time was billed more than 36 months before the Petition Date.



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or is not obtained from such entity and it is necessary for the Debtors to commence an action

against that entity, the Debtors will be represented in such particular matter by conflicts counsel.

       21.     Kirkland’s conflicts search of the parties in interest listed on Schedule 1 (that

Kirkland was able to locate using its reasonable efforts) reveals, to the best of my knowledge, that

those Kirkland attorneys and paraprofessionals who previously worked at other law firms that

represented such entities in these chapter 11 cases have not worked on matters relating to the

Debtors’ restructuring efforts while at Kirkland.

       22.     Based on the conflicts search conducted to date and described herein, to the best of

my knowledge, neither I, Kirkland, nor any partner or associate thereof, insofar as I have been able

to ascertain, have any connection with the Debtors, their creditors, or any other parties in interest,

their respective attorneys and accountants, the United States Trustee for the Northern District of

Texas (the “U.S. Trustee”), any person employed by the U.S. Trustee, or any Bankruptcy Judge

currently serving on the United States Bankruptcy Court for the Northern District of Texas, except

as disclosed or otherwise described herein.

       23.     Kirkland will review its files periodically during the pendency of these chapter 11

cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

       24.     Generally, it is Kirkland’s policy to disclose entities in the capacity that they first

appear in a conflicts search. For example, if an entity already has been disclosed in this Declaration

in one capacity (e.g., a customer), and the entity appears in a subsequent conflicts search in a

different capacity (e.g., a vendor), Kirkland does not disclose the same entity again in supplemental




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declarations, unless the circumstances are such in the latter capacity that additional disclosure is

required.

        25.     From time to time, Kirkland has referred work to other professionals to be retained

in these chapter 11 cases. Likewise, certain such professionals have referred work to Kirkland.

        26.     Certain insurance companies pay the legal bills of Kirkland clients. Some of these

insurance companies may be involved in these chapter 11 cases. None of these insurance

companies, however, are Kirkland clients as a result of the fact that they pay legal fees on behalf

of Kirkland clients.

                                         Specific Disclosures

        27.     As specifically set forth below and in the attached exhibits, Kirkland represents

certain of the Debtors’ creditors, equity security holders, or other entities that may be parties in

interest in ongoing matters unrelated to the Debtors and these chapter 11 cases. None of the

representations described herein are materially adverse to the interests of the Debtors’ estates.

Moreover, pursuant to section 327(c) of the Bankruptcy Code, Kirkland is not disqualified from

acting as the Debtors’ counsel merely because it represents certain of the Debtors’ creditors, equity

security holders, or other entities that may be parties in interest in matters unrelated to these chapter

11 cases.

A.      Kirkland Attorney and Employee Investments.

        28.     From time to time, Kirkland partners, of counsel, associates, and employees

personally invest in mutual funds, retirement funds, private equity funds, venture capital funds,

hedge funds, and other types of investment funds (the “Investment Funds”), through which such

individuals indirectly acquire an interest in debt or equity securities of many companies, one of

which may be one of the Debtors, their creditors, or other parties in interest in these chapter 11

cases, often without Kirkland’s knowledge. Each Kirkland person generally owns substantially


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less than one percent of such Investment Fund, does not manage or otherwise control such

Investment Fund, and has no influence over the Investment Fund’s decision to buy, sell, or vote

any particular security. The Investment Fund is generally operated as a blind pool, meaning that

when the Kirkland persons make an investment in the Investment Fund, he, she, or they do not

know what securities the blind pool Investment Fund will purchase or sell, and have no control

over such purchases or sales.

       29.     From time to time one or more Kirkland partners and of counsel voluntarily choose

to form an entity (a “Passive-Intermediary Entity”) to invest in one or more Investment Funds.

Such Passive-Intermediary Entity is composed only of persons who were Kirkland partners and of

counsel at the time of the Passive-Intermediary Entity’s formation (although some may later

become former Kirkland partners and of counsel). Participation in such a Passive-Intermediary

Entity is wholly voluntary and only a portion of Kirkland’s partners and of counsel choose to

participate. The Passive-Intermediary Entity generally owns substantially less than one percent of

any such Investment Fund, does not manage or otherwise control such Investment Fund, and has

no influence over the Investment Fund’s decision to buy, sell, or vote any particular security. Each

Investment Fund in which a Passive-Intermediary Entity invests is operated as a blind pool, so that

the Passive-Intermediary Entity does not know what securities the blind pool Investment Funds

will purchase or sell, and has no control over such purchases or sales.            And, indeed, the

Passive-Intermediary Entity often arranges for statements and communications from certain

Investment Funds to be sent solely to a blind administrator who edits out all information regarding

the identity of the Investment Fund’s underlying investments, so that the Passive-Intermediary

Entity does not learn (even after the fact) the identity of the securities purchased, sold, or held by

the Investment Fund. To the extent the Passive-Intermediary Entity is or becomes aware of the




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identity of the securities purchased, sold, or held by the Investment Funds (“Known Holdings”),

such Known Holdings are submitted to Kirkland’s conflict checking system.

       30.     From time to time, Kirkland partners, of counsel, associates, and employees

personally directly acquire a debt or equity security of a company which may be (or become) one

of the Debtors, their creditors, or other parties in interest in these chapter 11 cases. Kirkland has

a long-standing policy prohibiting attorneys and employees from using confidential information

that may come to their attention in the course of their work, so that all Kirkland attorneys and

employees are barred from trading in securities with respect to which they possess confidential

information.

B.     Other Disclosures.

       31.     Finally, certain interrelationships exist among the Debtors. Nevertheless, the

Debtors have advised Kirkland that the Debtors’ relationships to each other do not pose any

conflict of interest because of the general unity of interest among the Debtors. Insofar as I have

been able to ascertain, I know of no conflict of interest that would preclude Kirkland’s joint

representation of the Debtors in these chapter 11 cases.

       32.     The spouse of Kirkland partner Helen E. Witt, P.C. is a managing director of

JPMorgan Chase & Co. JPMorgan Chase Bank, N.A. and J.P. Morgan Clearing Corp. are among

the Potential Parties in Interest. Out of an abundance of caution, Kirkland has instituted formal

screening measures to screen Ms. Witt from all aspects of Kirkland’s representation of the Debtors.

       33.     Kirkland currently represents, and formerly has represented, Bank of America,

N.A. (“Bank of America”) and certain of its affiliates, in a variety of matters. Bank of America is

a lender in these chapter 11 cases. Kirkland’s representations of Bank of America, in the

aggregate, accounted for less than one percent of Kirkland’s fee receipts for the twelve-month




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period ending on January 31, 2021. All of Kirkland’s current and prior representations of Bank of

America have been unrelated to the Debtors and these chapter 11 cases.

       34.     Furthermore, prior to joining Kirkland, certain Kirkland attorneys represented

clients adverse to Kirkland’s current and former clients. Certain of these attorneys (the “Screened

Kirkland Attorneys”) will not perform work in connection with Kirkland’s representation of the

Debtors as special litigation counsel and will not have access to confidential information related

to the representation.   Kirkland’s formal ethical screen provides sufficient safeguards and

procedures to prevent imputation of conflicts by isolating the Screened Kirkland Attorneys and

protecting confidential information.

       35.     Under Kirkland’s screening procedures, Kirkland’s conflicts department distributes

a memorandum to all Kirkland attorneys and legal assistants directing them as follows: (a) not to

discuss any aspects of Kirkland’s representation of the Debtors with the Screened Kirkland

Attorneys; (b) to conduct meetings, phone conferences, and other communications regarding

Kirkland’s representation of the Debtors in a manner that avoids contact with the Screened

Kirkland Attorneys; (c) to take all measures necessary or appropriate to prevent access by the

Screened Kirkland Attorneys to the files or other information related to Kirkland’s representation

of the Debtors; and (d) to avoid contact between the Screened Kirkland Attorneys and all Kirkland

personnel working on the representation of the Debtors unless there is a clear understanding that

there will be no discussion of any aspects of Kirkland’s representation of the Debtors.

Furthermore, Kirkland already has implemented procedures to block the Screened Kirkland

Attorneys from accessing files and documents related to the Debtors that are stored in Kirkland’s

electronic document managing system.




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                                      Affirmative Statement

       36.     Based on the conflicts search conducted to date and described herein, to the best of

my knowledge and insofar as I have been able to ascertain, (a) Kirkland does not represent or

represent an interest adverse to the Debtors or estates with respect to the matters on which it is

seeking to be employed and (b) Kirkland has no connection to the Debtors, their creditors, or other

parties in interest, except as may be disclosed herein.



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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


 Dated: February 17, 2021                    /s/ Erin E. Murphy
                                             Erin E. Murphy
                                             Partner, Kirkland & Ellis LLP
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                                                  Schedule 1

        The following lists contain the names of reviewed entities as described more fully in the
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Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP as Special Litigation Counsel for the Debtors and Debtors in Possession
Effective as of January 15, 2021 (the “Murphy Declaration”).1 Where the names of the entities
reviewed are incomplete or ambiguous, the scope of the search was intentionally broad and
inclusive, and Kirkland & Ellis LLP and Kirkland & Ellis International LLP reviewed each entity
in its records, as more fully described in the Murphy Declaration, matching the incomplete or
ambiguous name.




1
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Murphy
    Declaration.
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                          "STAY CENTER" LLC
                          72615 LARREA AVE
                          TWENTYNINE PALM, CA 92277-2188


                          10-8 FIREARMS INSTRUCTION
                          504 TAFT ST S
                          HUMBOLDT, IA 50548-2253


                          141 SHOOTING RANGE INC
                          405 SOUTHWEST DR STE A
                          JONESBORO, AR 72401


                          1791 ENTERPRISES LLC
                          109 FOUR SIXES DR
                          FORT WORTH, TX 76108-9100


                          1840 INC.
                          1012 DIRETTO
                          NEW BRAUNFELS, TX 78132-2776


                          2 MONKEY TRADING LLC
                          3601 VINELAND RD
                          STE 14
                          ORLANDO, FL 32811


                          22ND CENTURY TECHNOLOGIES, INC.
                          1 EXECUTIVE DRIVE
                          SUITE 285
                          SOMERSET, NJ 08873


                          2A TRAINING LLC
                          590 EDGEWOOD DR
                          NEWARK, OH 43055


                          2ND AMENDMENT COALITION
                          PO BOX 17335
                          WEST PALM BEACH, FL 33416-7335
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                      2ND AMMENDMENT STUFF LLC
                      3370 KESSLER COWLESVILLE RD
                      TROY, OH 45373-9553


                      308 TACTICAL LLC
                      901 BROOKSIDE DR
                      BAILEY, CO 80421


                      340 DEFENSE RANGE
                      PO BOX 112
                      263 BERRYVILLE PK
                      RIPPON, WV 25441


                      4455 VENTURES INC
                      703 FAIRGROVE RD
                      THOMASVILLE, NC 27360-5693


                      46 ENTERTAINMENT INC
                      1400 ROSA PARKS BLVD
                      SUITE 318
                      NASHVILLE, TN 37208


                      5&2 ENTERPRISE, INC
                      2732 KATIE RD
                      KENNEWICK, WA 99338


                      67 GUN CLUB INC
                      PO BOX 255
                      FARMINGTON, MO 63640-0255


                      6P LLC
                      25 SAINT ANDREWS DR
                      BELLA VISTA, AR 72715


                      A & N SPORTS INC
                      501 S FRENCH AVE
                      SANFORD, FL 32771
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                      A & P WAGNER VENTURES IV, LLC
                      25232 HARDIN STORE RD
                      MAGNOLIA, TX 77354-3915


                      A G GUNS/INSTRUCT SHOOTING
                      164 ANDOVER ST
                      LOWELL, MA 01852


                      A GIRL AND A GUN WOMEN'S SHOOT
                      6601 PERALTO COVE
                      AUSTIN, TX 78730-2849


                      A GIRLS' GUNS LLC
                      PO BOX 868
                      LIBERTY HILL, TX 78642-0868


                      A TO Z LOOSELEAF, INC
                      2666 WEST PATAPSCO AVE
                      BALTIMORE, MD 21230


                      A&K GUN SALES, INC
                      5 W MAIN ST
                      CORFU, NY 14036


                      A-B EMBLEM & CAPS
                      P O BOX 695
                      291 MERRIMON AVE
                      WEAVERVILLE, NC 28787


                      A-TEAM SECURITY & EVENT SERVICES INC
                      2202 E 21ST ST
                      TUCSON, AZ 85719


                      A-ZONE ENTERPRISES, LLC
                      PO BOX 37
                      CANYON, TX 79015-0037
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                      A.B. IMAGING & PUBLISHING LLC
                      818 RED DRIVE
                      SUITE 209
                      TRAVERSE CITY, MI 49684


                      A.G.I.A., INC. (AGIA)
                      1155 EUGENIA PLACE
                      CARPINTERIA, CA 93013


                      AARON FORD
                      OLD SUPREME CT BLDG
                      100 N. CARSON ST
                      CARSON CITY, NV 89701


                      AARON FREY
                      STATE HOUSE STATION 6
                      AUGUSTA, ME 04333


                      ABM BUILDING SERVICES
                      5701 GENERAL WASHINGTON DRVIE
                      STE J
                      ALEXANDRIA, VA 22312


                      ACCOUNT CONTROL TECHNOLOGY INC
                      PO BOX 105081
                      ATLANTA, GA 30348-5081


                      ACCURACY UNLIMITED LLC
                      600 S COUNTY ROAD 900 W
                      SEYMOUR, IN 47274


                      ACCURATE FIREARMS LLC
                      6565 DIXIE HWY
                      CLARKSTON, MI 48346


                      ACE FIRE EXTINGUISHER SRVC INC
                      5117 COLLEGE AVE
                      COLLEGE PARK, MD 20740-3833
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                      ACES DEFENSE LLC
                      652 CHESTNUT HILL RD
                      DAYVILLE, CT 06241


                      ACKERMAN MCQUEEN INC
                      1601 NORTHWEST EXRPESSWAY
                      OKLAHOMA CITY, OK 73118


                      ACROBAT TACTICAL
                      6600 WOODCREST AVE
                      PHILADELPHIA, PA 19151


                      ACTION DEFENSE LLC
                      6518 DENISON BLVD
                      PARMA HEIGHTS, OH 44130-4103


                      ACTION TARGET INC
                      PO BOX 636
                      PROVO, UT 84603


                      ADCRAFT DECALS INC
                      7708 COMMERCE PARK OVAL
                      INDEPENDENCE, OH 44131


                      ADMINISTRATORS OF THE TULANE EDUCATIONAL
                      6823 ST. CHARLES AVE
                      NEW ORLEANS, LA 70118


                      ADVANCED EQUIPMENT
                      8390 A TERMINAL RD
                      LORTON, VA 22079


                      ADVANCED FIREARM SAFETY INC
                      10473 BLOSSOM LAKE DR
                      SEMINOLE, FL 33772-7413
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                      ADVANCED TACTICAL SOLUTIONS LL
                      150 ORLON DR # 7044
                      ELLIJAY, GA 30540


                      ADVANTUS CORP
                      12276 SAN JOSE BLVD #618
                      JACKSONVILLE, FL 32223


                      AFFORDABLE EXCAVATIONS AND HAULING INC
                      PO BOX 426
                      SHIPPENSBURG, PA 17257


                      AFFORDABLE FIREARMS TRAINING O
                      116 LOON CT
                      DAYTONA BEACH, FL 32119-1332


                      AFILIAS LIMITED
                      2 LA TOUCHE HOUSE
                      IFSC
                      DUBLIN 1 IRELAND


                      AG ALMANAC LLC
                      2735 HARTLAND ROAD #101
                      FALLS CHURCH, VA 22043


                      AGATE BAY GUN CLUB INC
                      1630 10TH AVE
                      TWO HARBORS, MN 55616


                      AGENCY FOR THE PERFORMING ARTS, INC
                      150 FOURTH AVE N, SUITE 2300
                      NASHVILLE, TN 37219


                      AIM SPORTS INC
                      1219 E. LOCUST ST.
                      ONTARIO, CA 91761
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                      AIMS TRAINING AND CONSULTING L
                      PO BOX 71
                      GLADE HILL, VA 24092-0071


                      AIRECO SUPPLY INC
                      P.O. BOX 414
                      SAVAGE, MD 20763-0414


                      AIRFIELD SHOOTING CLUB
                      PO BOX 250
                      WAKEFIELD, VA 23888-0250


                      AIRWAYS FREIGHT CORP
                      P O BOX 1888
                      FAYETTEVILLE, AR 72702


                      AJ INTERNATIONAL SECURITY INC
                      1177 MISS KIMBERLYS LN
                      PFLUGERVILLE, TX 78660


                      AKER INTERNATIONAL INC
                      ATTN: KEN AKER
                      2248 MAIN ST. #4
                      CHULA VISTA, CA 91911


                      AL NU PRODUCTS INC
                      15165 SIERRA BONITA LANE
                      CHINO, CA 91710


                      ALABAMA ASSOCIATION OF SCHOOL RESOURCE O
                      PO BOX 723
                      OPELIKA, AL 36803


                      ALAMANCE WILDLIFE CLUB
                      705 WAGONER RD
                      ELON, NC 27244-9222
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                      ALAMO FLAG CO OF VA INC
                      6134-R ARLINGON BLVD
                      FALLS CHURCH, VA 22044


                      ALAMY INC
                      20 JAY ST
                      SUITE 848
                      BROOKLYN, NY 11201


                      ALAN WILSON
                      REMBERT C. DENNIS OFFICE BLDG
                      PO BOX 11549
                      COLUMBIA, SC 29211


                      ALASKA GUN COLLECTORS ASSOCIATION
                      PO BOX 242233
                      ANCHORAGE, AK 99524-2233


                      ALASKA INTERIOR MARKSMANSHIP
                      125 CARLYLE WAY
                      FAIRBANKS, AK 99709-2930


                      ALBANY RIFLE AND PISTOL CLUB
                      PO BOX 727
                      ALBANY, OR 97321-0246


                      ALDER BROOK SPORTSMENS ASSOCIA
                      PO BOX 22
                      LITTLETON, NH 03561-0022


                      ALEX PRO FIREARMS
                      8290 STATE HWY 29 NORTH
                      ALEXANDRIA, MN 56308


                      ALLEGHENY COUNTRY RIFLE CLUB
                      419 LOUANN ST
                      PITTSBURGH, PA 15223-1213
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                      ALLEGIENCE CREATIVE GROUP, LLC
                      11250 WAPLES MILL RD
                      SUITE 310
                      FAIRFAX, VA 22030


                      ALLEN COMMUNICATIONS
                      55 WEST 900 SOUTH
                      SALT LAKE CITY, UT 84101


                      ALLEN GEAR HOLSTERS
                      4411 W RIVERBEND AVE
                      POST FALLS, ID 83854


                      ALLIANCE FOR AUDITED MEDIA
                      PO BOX 5998
                      CAROL STREAM, IL 60197-5998


                      ALLIED SPORTMEN OF WNY INC
                      4055 DAVID RD
                      BUFFALO, NY 14221


                      ALLISON FIREARMS
                      105 N OAK ST
                      SHERIDAN, AR 72150-2129


                      ALMODOVAR, ANTONIO HERNANDEZ
                      PO BOX 364908
                      SAN JUAN 00936-4908


                      ALPHA SIERRA INDUSTRIES
                      1379 HORRY RD # 300
                      AYNOR, SC 29511


                      ALTAMONT COMPANY
                      901 N CHURCH ST
                      THOMASBORO, IL 61878
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                      ALVAREZ & MARSAL DISPUTES AND INVESTIGAT
                      600 MADISON AVE
                      8TH FLOOR
                      NEW YORK, NY 10022


                      AMATEUR TRAPSHOOTING ASSN
                      PO BOX 519
                      SPARTA, IL 62286


                      AMATEUR TRAPSHOOTING ASSOCIATION
                      1105 E BROADWAY ST
                      SPARTA, IL 62286


                      AMER INST OF CERT PUBLIC ACCT
                      P.O. BOX 10069
                      NEWARK, NJ 07101-9101


                      AMERICA'S GUN STORE LLC
                      402 N LINCOLN AVE
                      BARNESVILLE, OH 43713-1228


                      AMERICAN ARMS INC.
                      2020 MAPLE HILL ST UNIT 94
                      YORKTOWN HEIGHTS, NY 10598-7507


                      AMERICAN BADGE,INC.
                      127 OAKLEY AVENUE
                      WHITE PLAINS, NY 10807-3903


                      AMERICAN CONCEAL AND CARRY LLC
                      503 S OAK ST
                      MEAD, NE 68041


                      AMERICAN CONSERVATIVE UNION FD
                      1007 CAMERON STREET
                      ALEXANDRIA, VA 22314
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                      AMERICAN DETAIL CLEANING CORP
                      12220 WILKINS AVE.
                      ROCKVILLE, MD 20852


                      AMERICAN ELECTRIC SERVICE CO INC
                      10890 MAIN STREET
                      FAIRFAX, VA 22030


                      AMERICAN EXPRESS
                      PO BOX 1270
                      NEWARK, NJ 07101-1270


                      AMERICAN LEGION POST 883 JAMES
                      51 JUNIPER AVE
                      SMITHTOWN, NY 11787


                      AMERICAN LITHO INC
                      175 MERCEDES DR
                      CAROL STREAM, IL 60188


                      AMERICAN MARKSMAN TRAINING GRO
                      1142 S DIAMOND BAR BLVD # 852
                      DIAMOND BAR, CA 91765


                      AMERICAN PHYSICAL THERAPY ASSOCIATION
                      1111 N FAIRFAX ST
                      ALEXANDRIA, VA 22314


                      AMERICAN REGISTRY FOR INTERNET NUMBERS
                      PO BOX 232290
                      CENTREVILLE, VA 20120


                      AMERICAN SOCIETY OF ARMS
                      PO BOX 460
                      SARATOGA SPRINGS, NY 12866
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                      AMERICAN TACTICAL TRAINING ARM
                      2851 COUNTY RD 208
                      SAINT AUGUSTINE, FL 32092-0509


                      AMERICAP CO INC
                      276 DANIELS BRIDGE RD.
                      ENFIELD, NC 27823


                      AMERITAS LIFE INSURANCE CORP
                      PO BOX 86687
                      LINCOLN, NE 68501-6687


                      AMMO ALLEY
                      11562 COUNTY ROAD 395
                      HARTSBURG, MO 65039-1123


                      AMMO WAREHOUSE LLC
                      323 E MONTPELIER RD
                      BARRE, VT 05641


                      AMMOLAND INC
                      1290 MAIN ST UNIT 781038
                      SEBASTIAN, FL 32958


                      AMMONOOSUC VALLEY FISH & GAME
                      PO BOX 60
                      WOODSVILLE, NH 03785-0060


                      ANALYTICS PROS INC
                      5325 BALLARD AVE NW
                      STE 300
                      SEATTLE, WA 98107


                      ANDERSON CO. SPORTSMEN'S CLUB
                      103 HORN DRIVE
                      LAWRENCEBURG, KY 40342-1346
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                      ANGELINA RIFLE & PISTOL CLUB I
                      2133 FM 324
                      LUFKIN, TX 75904-0836


                      ANNIN & CO
                      105 EISENHOWER PARKWAY
                      SUITE 203
                      ROSELAND, NJ 07068


                      ANV GLOBAL SERVICES INC.
                      200 HUDSON STREET
                      SUITE 800
                      JERSEY CITY, NJ 07311


                      APB MEDIA LLC
                      4444 RIVERSIDE DR #202
                      BURBANK, CA 91505


                      APC POSTAL LOGISTICS LLC
                      PO BOX 412
                      EAST RUTHERFORD, NJ 07073


                      APPALACHIAN OUTDOORSMEN ASSOCI
                      1845 SPAWS CREEK RD
                      WEST LIBERTY, KY 41472-8191


                      APPALACHIAN RESOURCES DEVELOPM
                      2880 STANDING STONE HWY
                      COOKEVILLE, TN 38506-7813


                      APPLE COMPUTER, INC.
                      1 INFINITE LOOP
                      CUPERTINO, CA 95014


                      APPLE OUTDOOR ADVERTISING INC
                      950 SMILE WAY
                      YORK, PA 17404
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                      APPLE VALLEY GUN CLUB
                      PO BOX 786
                      VICTORVILLE, CA 92393-0786


                      APPS 47 INC
                      1118 CATHERINE ST
                      KEY WEST, FL 33040


                      AR15.COM
                      171 WILLOW POND WAY
                      PENFIELD, NY 14526-2651


                      ARAG INSURANCE
                      400 LOCUST ST
                      STE 480
                      DES MOINES, IA 50309


                      ARBALEST GROUP LLC
                      B101 HUNTS POINT COOP MARKET
                      BRONX, NY 10474-7580


                      ARCHIVAL RESEARCH GROUP LLC
                      6933 FOX CHASE RD
                      NEW MARKET, MD 21774


                      ARD LAW
                      PO BOX 11633
                      BAINBRIDGE ISLAND, WA 98110


                      ARIZONA DEPARTMENT OF REVENUE
                      PO BOX 29032
                      PHOENIX, AZ 85038-9032


                      ARIZONA STATE RIFLE & PISTOL A
                      1727 E. ALMEDA DRIVE
                      TEMPE, AZ 85282
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                      ARIZONA STATE UNIVERSITY
                      POLYTECHNIC CAMPUS
                      7107 E TIBURON #3
                      MESA, AZ 85212-0180


                      ARKANSAS RIFLE & PISTOL ASSOC.
                      PO BOX 1225
                      LITTLE ROCK, AR 72203-1225


                      ARKANSAS RIFLE AND PISTOL ASSO
                      15424 HARTFORD ST
                      LITTLE ROCK, AR 72223


                      ARKANSAS STATE YHEC PROGRAM
                      16415 HICKORY DR
                      ROGERS, AR 72756


                      ARLENE'S SPORTING GOODS
                      ATTN: HARRY MIKOLOWSKI
                      5470 MIDDLE CHANNEL DR
                      HARSENS ISLAND, MI 48028


                      ARLINGTON RIFLE AND PISTOL CLU
                      PO BOX 69
                      SIMPSONVILLE, MD 21150-0069


                      ARMAMENT SYSTEMS AND PROCEDURES, INC
                      BOX 1794
                      APPLETON, WI 54912


                      ARMED FORCES COMMUNICATIONS
                      151 W 26TH STREET, 9TH FLOOR
                      NEW YORK, NY 10001


                      ARMED2DEFEND, LLC
                      7457 WILLIAMSON LN
                      CANAL WINCHESTE, OH 43110-8484
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                      ARMITAGE DECHENE & ASSOCIATES
                      228 CHELTENHAM ROAD
                      NEWARK, DE 19711


                      ARMOR DEFENSE INC
                      2360 CAMPBELL CREEK BLVD
                      STE 525
                      RICHARDSON, TX 75082


                      ARMY NAVY TACTICAL LLC
                      9335 ELIZABETH LN
                      MASON, OH 45040-7380


                      ARONSON LLC
                      111 ROCKVILLE PIKE
                      SUITE 600
                      ROCKVILLE, MD 20850


                      ARROW SECURITY, INC.
                      15410 N 67TH AVE #6
                      GLENDALE, AZ 85306


                      ART SCHREGARDUS
                      W10795 MIKARD RD
                      BEAVER DAM, WI 53916


                      ARTISAN II,INC.
                      4311 WHEELER AVE
                      ALEXANDRIA, VA 22304


                      ASBURY UNIVERSITY
                      ONE MACKLEM DR
                      WILMORE, KY 40390


                      ASHE COUNTY WILDLIFE CLUB, INC
                      9344 HWY 16 SOUTH
                      WEST JEFFERSON, NC 28694
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                      ASHEVILLE RIFLE & PISTOL CLUB
                      PO BOX 477
                      NAPLES, NC 28760-0477


                      ASHLEY MOODY
                      THE CAPITOL
                      PL 01
                      TALLAHASSEE, FL 32399


                      ASHTABULA ROD AND GUN CLUB INC
                      1430 EASTON AVE
                      MADISON, OH 44057-1114


                      ASK DEFENSIVE TRAINING CORP
                      1399 W COLTON AVE STE 6
                      REDLANDS, CA 92374


                      ASSOC. OF NJ RIFLE&PISTOLCLUBS
                      PO BOX 353
                      POMPTON PLAINS, NJ 07444-0353


                      ASSOCIATED PRESS, THE
                      50 ROCKEFELLER PLAZA
                      NEW YORK, NY 10020


                      AT HOME CCW OHIO LLC
                      5021 LINK CT
                      COLUMBUS, OH 43213


                      AT RISK
                      PO BOX 270
                      CATHARPIN, VA 20143


                      AT&T
                      P O BOX 79112
                      PHOENIX, AZ 58062-9112
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                      AT&T MOBILITY
                      PO BOX 5019
                      CAROL STREAM, IL 60197-5019


                      AT&T MOBILITY
                      PO BOX 6463
                      CAROL STREAM, IL 60197-6463


                      ATHENS RIFLE CLUB
                      PO BOX 5542
                      ATHENS, GA 30604-5542


                      ATLANCO LLC
                      ATTN: KURT WENDING
                      1125 HAYES INDUSTRIAL DR
                      MARIETTA, GA 30062


                      ATLANTA CHARITY CLAYS INC
                      PO BOX 52686
                      ATLANTA, GA 30355


                      ATLANTIC UNION BANK
                      1800 ROBERT FULTON DRIVE
                      SUITE 300
                      RESTON, VA 02019


                      ATLANTIC UNION BANK
                      24010 PARTNERSHIP BLVD
                      RUTHER GLEN, VA 22546


                      ATLANTIC UNION BANK - LOC
                      PO BOX 940
                      RUTHER GLEN, VA 22546


                      AUBURN UNIVERSITY
                      311 INGRAM HALL
                      AUBURN, AL 36849-5101
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                      AUCTIONS BY YVE MUSE 9 LLC
                      1246 W 62ND ST
                      KANSAS CITY, MO 64113


                      AUDIO VISUAL ACTIONS INC
                      5641C GENERAL WASHINGTON DR
                      ALEXANDRIA, VA 22312


                      AUREA SOFTWARE INC
                      401 CONGRESS AVE
                      SUITE 2650
                      AUSTIN, TX 78701


                      AURORA WISCONSIN OUTDOOR CLUB
                      8598 S COUNTY ROAD L
                      SOUTH RANGE, WI 54874-8350


                      AUSTIN COMMUNITY COLLEGE DISTR
                      5930 MIDDLE FISKVILLE ROAD
                      AUSTIN, TX 78752


                      AUSTIN KNUDSEN
                      JUSTICE BLDG
                      215 N. SANDERS
                      HELENA, MT 59620


                      AUSTYN JADE STEVENS
                      111 BELLE TERRE BLVD
                      COVINGTON, LA 70433


                      AUTOMATED SIGNATURE TECHNOLOGY
                      112 OAK GROVE ROAD
                      SUITE 107
                      STERLING, VA 20166


                      AWARD CRAFTERS INC
                      ATTN: JIM MUNDEN
                      8854 RIXLEW LANE
                      MANASSAS, VA 20109
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                      AWH ARMS & AMMO INC.
                      1489 GENERAL BOOTH BLVD # 116
                      VIRGINIA BEACH, VA 23454-5101


                      AXIL
                      12397 SOUTH 300 EAST
                      SUITE 100
                      DRAPER, UT 84020


                      AXIS CORPORATE SECURITY, INC.
                      6528 EAST 101ST STREET
                      PMB 444
                      TULSA, OK 74133


                      B&H FOTO & ELECTRONICS CORP
                      ATTN: MOSHE HILL
                      420 NINTH AVE.
                      NEW YORK, NY 10001


                      B&T INDUSTRIES LLC
                      1262 N SUNSET DR
                      WICHITA, KS 67212-3051


                      BACK ROAD ENTERPRISES
                      PO BOX 602
                      NEW PALTZ, NY 12561-0602


                      BACKBONE MT SPORTS CENTER
                      4768 GEORGE WASHINGTON HWY
                      OAKLAND, MD 21550-5807


                      BAJO VUVA COHEN TURKEL ATTORNEYS AT LAW
                      100 N TAMPA ST
                      SUITE 1900
                      TAMPA, FL 33602


                      BAKER INSURANCE GROUP LLC
                      1601 E LAMAR BLVD
                      ARLINGTON, TX 76011
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                      BALDINO'S LOCK & KEY SERVICE INC
                      PO BOX 1417
                      NEWINGTON, VA 22122


                      BALLISTIC MEDIA LLC
                      10839 WYSCARVER RD
                      CINCINNATI, OH 45241


                      BALTIMORE CO. GAME&FISH PROT.
                      3400 NORTHWIND RD
                      BALTIMORE, MD 21234-1220


                      BANCORP BANK, THE
                      2127 ESPY COURT, SUITE 208
                      CROFTON, MD 21114


                      BANCORPSOUTH
                      12655 N CENTRAL EXPWY #100
                      DALLAS, TX 75243


                      BARCELONA CHARTERS
                      PO BOX 498
                      WESTFIELD, NY 14787


                      BARON TECHNOLOGY INC
                      62 SPRING HILL RD
                      TRUMBULL, CT 06611


                      BASS PRO SHOPS
                      P O BOX 2820
                      SPRINGFIELD, MO 65801-2820


                      BATTLE ARMS DEVELOPMENT INC
                      451 E SUNSET RD
                      HENDERSON, NV 89011
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                      BEAR & SON INC.
                      1111 BEAR BLVD. S.W
                      JACKSONVILLE, AL 36265


                      BEARS EARS SPORTSMAN CLUB
                      PO BOX 622
                      CRAIG, CO 81626-0622


                      BEAVER RUN ROD & GUN CLUB
                      PO BOX 84
                      LEHIGHTON, PA 18235-0084


                      BEAVER VALLEY RIFLE AND PISTOL
                      505 CONSTITUTION BLVD
                      BEAVER FALLS, PA 15010-5602


                      BECK TECK LLC
                      8427 S OLD BINGHAM HWY
                      STE A
                      WEST JORDAN, UT 84088


                      BEDFORD COUNTY SPORTSMEN'S CLU
                      314 E PENN ST
                      BEDFORD, PA 15522-1433


                      BEEKMAN DESIGN GROUP, THE
                      823 CONGRESS AVE
                      SUITE 150#697
                      AUSTIN, TX 78767


                      BELFOR PROPERTY RESTORATION
                      21300 RIDGETOP CIRCLE
                      SUITE 150
                      STERLING, VA 20166


                      BELL CITY RIFLE CLUB
                      273 SMITH RD
                      THOMASTON, CT 06787-1234
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                      BELLEPLAIN SUPPLY CO INC
                      346 HANDSMILL RD
                      BELLEPLAIN, NJ 08270-3938


                      BELTON GUN CLUB
                      PO BOX 126
                      BELTON, SC 29627-0126


                      BEN LOMOND GUN CLUB INC.
                      8761 E GRAND AVE
                      DENVER, CO 80237-2924


                      BENEDIKT, ARAM BARSCH VON
                      PO BOX 1376
                      BOULDER, UT 84716


                      BENEFIT RESOURCES, INC.
                      P O BOX 14124
                      ATLANTA, GA 30324


                      BENFIELD ELECTRIC CO OF VIRGINIA, INC.
                      12021 WILTON MEADOWS COURT
                      MANASSAS, VA 20109


                      BENTON GUN CLUB
                      PO BOX 139
                      BENTON, AR 72018-0139


                      BERETTA USA CORP
                      17601 BERETTA DRIVE
                      ACCOKEEK, MD 20607


                      BERKE FARAH LLP
                      1200 NEW HAMPSHIRE AVE NW
                      SUITE 800
                      WASHINGTON, DC 20036
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                      BERKLEY INSURANCE
                      475 STEAMBOAT ROAD
                      FL 1
                      GREENWHICH, CT 06830-7144


                      BERKLEY INSURANCE
                      ATTN: MS. MEGAN MANOGUE ASSISTANT VICE P
                      849 FAIRMOUNT AVENUE
                      SUITE 301
                      TOWSON, MD 21286


                      BERKSHIRE HATHWAY DIRECT INSURANCE COMPA
                      PO BOX 785100
                      PHILADELPHIA, PA 19178-5100


                      BERNICE HASH
                      2030 11TH AVE N.
                      BILLINGS, MT 59101


                      BERTRAND B BLANC
                      5464 CENTURY PARK WAY
                      SAN JOSE, CA 95111-1815


                      BEST HANDGUN TRAINING, INC
                      2255 CELTIC DR
                      LINCOLN, CA 95648-2900


                      BEYOND INFINITY CORPORATION
                      4279 E SUNRISE DR #402
                      TUCSON, AZ 85718


                      BIBERK
                      100 FIRST STAMFORD PLACE
                      PO BOX 113247
                      STAMFORD, CT 06911-3247


                      BIG BEAR SPORTSMANS CLUB
                      23310 N COATES HWY
                      HARRIETTA, MI 49638-9600
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                      BIG POP FIREWORKS, LLC
                      136 FLEM PHILLIPS RD
                      LAUREL, MS 39443-9130


                      BIG SIOUX RIFLE & PISTOL CLUB
                      P.O. BOX 473
                      SIOUX FALLS, SD 57101-0473


                      BIG TIMBER RIFLE & PISTOL CLUB
                      PO BOX 669
                      TOLEDO, OR 97391-0669


                      BIG TREE CAPITAL PARTNERS LLC
                      3200 N CAROLINA AVE
                      NORTH CHARLESTON, SC 29405-7822


                      BIGEYE DIRECT INC
                      13860 REDSKIN DR
                      HERNDON, VA 20171


                      BISMARK/MANDAN RIFLE AND PISTO
                      PO BOX 682
                      BISMARCK, ND 58502-0682


                      BKB OUTDOORS, INC
                      8803 GRANITE GORGE DR
                      SPRING, TX 77379-6396


                      BKR INVETMENTS LLC
                      1610 W SUPERIOR ST
                      DULUTH, MN 55806


                      BLACK BEAR TACTICAL DEFENSE, L
                      112 TOWER RIDGE LN
                      SANFORD, NC 27330
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                      BLACK CREEK GUN CLUB INC
                      4292 RANGE RD
                      MECHANICSVILLE, VA 23111-6843


                      BLACK DIAMOND GUN CLUB
                      PO BOX 217
                      BLACK DIAMOND, WA 98010-0217


                      BLACK FOREST RESERVE LLC
                      130 CENTRAL AVE
                      STRAWN, TX 76475


                      BLACK RIFLE COFFEE COMPANY LLC
                      355 SPENCER LANE
                      SUITE 101
                      SAN ANTONIO, TX 78201


                      BLACK WOLF FISH & GAME CLUB
                      PO BOX 445
                      BELLEFONTE, PA 16823-0445


                      BLOOMS LTD
                      11130-K SOUTH LAKES DRIVE
                      RESTON, VA 20191


                      BLUE LINE CONCEPTS LLC
                      117 HIGHLAND CREST DR
                      COVINGTON, LA 70435-3912


                      BLUE MOUNTAIN SPORTS
                      30 TOMAHAWK ST
                      BALDWIN PLACE, NY 10505-1036


                      BLUE RIDGE CHERRY VALLEY ROD &
                      PO BOX 222
                      SCIOTA, PA 18354-0222
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                      BLUE RIDGE KNIVES INC
                      166 ADWOLFE ROAD
                      MARION, VA 24354


                      BLUE RIDGE SHOOTERS CLUB INC
                      PO BOX 946
                      BUENA VISTA, VA 24416-0946


                      BLUE TRAIL RANGE & GUN STORE
                      316 N BRANFORD RD
                      WALLINGFORD, CT 06492-2798


                      BLUE VALLEY SPORTSMAN'S CLUB,
                      PO BOX 2732
                      SILVERTHORNE, CO 80498-2732


                      BLUE WATER SPORTSMAN ASSOC
                      PO BOX 610464
                      PORT HURON, MI 48061-0464


                      BLUELINE GROUP, LLC
                      8275 SENGBEIL RD
                      YODER, CO 80864-9708


                      BLUELINE TACTICAL & POLICE SUP
                      444 SAW MILL RIVER RD STE 300
                      ELMSFORD, NY 10523-1031


                      BLUFF CREEK LONG RIFLES LTD
                      PO BOX 41
                      PILOT MOUND, IA 50223-0041


                      BLUFFS SHOOTERS INC
                      PO BOX 481
                      SCOTTSBLUFF, NE 69363-0481
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                      BMADDOX ENTERPRISES LLC
                      217 E PINEHURST DR
                      SIOUX FALLS, SD 57108-2428


                      BMC SOFTWARE INC
                      2101 CITYWEST BLVD
                      HOUSTON, TX 77042


                      BOARD OF TRUSTEES OF THE UNIVERSITY OF A
                      BOX 870136
                      TUSCALOOSA, AL 35487


                      BOARDMAN'S FURNITURE & PAWN
                      709 PHILIP
                      NORFOLK, NE


                      BOB FERGUSON
                      1125 WASHINGTON ST. SE
                      PO BOX 40100
                      OLYMPIA, WAS 98504-0000


                      BOBIT BUSINESS MEDIA INC
                      3520 CHALLENGER ST
                      TORRANCE, CA 90503


                      BODDINGTON COMMUNICATIONS,INC
                      211 MOHAWK COURT
                      PASO ROBLES, CA 93446


                      BOISE STATE UNIVERSITY
                      1910 UNVIERSITY DR
                      BOISE, ID 83725-1315


                      BOITO
                      RUA FLORINDO DALLA COLETTA N 140
                      VERANOPOLIS FGS 09533
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                      BONE CREEK SPORT & GUN CLUB
                      P.O. BOX 512
                      PTIISBURG, KS 66762


                      BONNIER CORPORATION
                      460 N ORLANDO AVE
                      STE 200
                      WINTER PARK, FL 32789


                      BOROUGH OF EAST GREENVILLE
                      206 MAIN ST
                      EAST GREENVILLE, PA 18041


                      BOROUGH OF WHITEHALL
                      100 BOROUGH PARK DRIVE
                      PITTSBURGH, PA 15236


                      BOSS OUTDOOR PRODUCTIONS,LLC
                      1612 PINE LOG RD
                      AIKEN, SC 29803


                      BOSSIER CITY PARISH, SALES AND USE TAX D
                      PO BOX 71313
                      BOSSIER CITY, LA 71171-1313


                      BOSTON FIGHT CENTER LLC
                      151 BOW ST UNIT 2
                      EVERETT, MA 02149


                      BOSTON HILL TRAINING LLC
                      10130 BOSTON ST NW
                      FROSTBURG, MD 21532-3248


                      BOSTON VALLEY CONSERVATION SOC
                      3 OLD POST RD
                      ORCHARD PARK, NY 14127-4640
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                      BOTTINEAU GUN CLUB
                      10476 1ST AVE NE
                      SOURIS, ND 58783-9704


                      BOXOPS LLC
                      1109 E DIAMOND CIRCLE
                      LAKE CHARLES, LA 70611


                      BOYT HARNESS COMPANY LLC
                      ONE BOYT DRIVE
                      OSCEOLA, IA 50213-0523


                      BOZRAH ROD AND GUN CLUB
                      79 SANTA ANNA RD
                      LEBANON, CT 06249-1822


                      BRADLEY ARANT BOULT CUMMINGS LLP
                      PO BOX 830709
                      BIRMINGHAM, AL 35283


                      BRADLEY ARANT BOULT CUMMINGS LLP
                      1819 5TH AVENUE NORTH
                      BIRMINGHAM, AL 35203


                      BRANCH VALLEY FISH GAME AND FO
                      PO BOX 182
                      PERKASIE, PA 18944-0182


                      BRANFORD GUN CLUB INC.
                      18 SPRING ROCK ROAD
                      BRANFORD, CT 06405


                      BREWER ATTORNEYS & COUNSELORS
                      1717 MAIN STREET
                      SUITE 5900
                      DALLAS, TX 75201
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                      BRIAN FROSH
                      200 ST. PAUL PLACE
                      BALTIMORE, MD 21202


                      BRICKSTREET MUTUAL INSURANCE
                      PO BOX 11285
                      CHARLESTON, WV 25339-1285


                      BRIDGET HILL
                      STATE CAPITOL BLDG
                      CHEYENNE, WY 82002


                      BRIGHAM YOUNG UNIVERSITY
                      100 KIMBALL BUILDING 1610
                      REXBURG, ID 83460-1610


                      BRIGHTVIEW LANDSCAPING
                      3630 SOLUTIONS CENTER
                      CHICAGO, IL 60677-3006


                      BRIGLIA HUNDLEY PC
                      1921 GALLOWS ROAD
                      SUITE 750
                      VIENNA, VA 22182


                      BRINKMAN ENTERPRISES, INC
                      2118 PAULSON RD
                      HARVARD, IL 60033-9547


                      BRINKS INCORPORATED
                      7373 SOLUTIONS CENTER
                      CHICAGO, IL 60677


                      BROADSIDE COMMUNICATIONS, INC.
                      9 HAMILTON TER
                      GEORGETOWN, MA 01833-1919
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                      BROKENLOCK LONGRIFLES
                      433 DANVERS CT
                      ORRVILLE, OH 44667


                      BROOKLYN SPORTSMANS CLUB
                      204 NOTTINGHAM DRIVE
                      BROOKLYN, MI 49230-8919


                      BROOME COUNTY SPORTMANS ASSOC.
                      27 CHERRY LN
                      BINGHAMTON, NY 13901-1202


                      BROWNELLS
                      200 S FRONT ST
                      MONTEZUMA, IA 50171-1159


                      BROWNING
                      ONE BROWNING PLACE
                      MORGAN, UT 84050


                      BROWNING AMMUNITION
                      600 POWDER MILL RD
                      EAST ALTON, IL 62024


                      BRUCE F ROBERTS & ASSOCIATES I
                      7753 STATE ROAD 72
                      SARASOTA, FL 34241-9618


                      BRUNSWICK COUNTY LAW ENFORCEME
                      PO BOX 35
                      BOLIVIA, NC 28422


                      BRUNSWICK SPORTSMAN'S CLUB INC
                      PO BOX 21
                      CROPSEYVILLE, NY 12052-0021
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                      BRYAN A. FLETCHER ENTERPRISES,
                      6409 JULIE ANN DR
                      HANOVER, MD 21076-2011


                      BUCK KNIVES INC.
                      660 S. LOCHSA ST.
                      POST FALL, ID 83854


                      BUCK WEAR INC
                      ATTN: BOB BRYSON
                      2900 COWAN AVENUE
                      BALTIMORE, MD 21223


                      BUCKEYE FIREARMS ASSOCIATION
                      495 E MOUND ST STE 200
                      COLUMBUS, OH 43215-5596


                      BUCKEYE FIREARMS FOUNDATION
                      15 W WINTER ST
                      DELAWARE, OH 43015-1948


                      BUCKLEY II, WILLIAM FRANK
                      8906 GOLD DUST TRAIL
                      PO BOX 610
                      BOZEMAN, MT 59771


                      BUCKS COUNTY FISH AND GAME
                      PO BOX 462
                      DOYLESTOWN, PA 18901


                      BUDO KAI MARTIAL ARTS INC
                      12 MOUNT PLEASANT AVE
                      LEOMINSTER, MA 01453-5753


                      BUDSGUNSHOP.COM LLC
                      1105 INDUSTRY RD
                      LEXINGTON, KY 40505
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                      BUFFALO CREEK GUN CLUB
                      PO BOX 867
                      KITTREDGE, CO 80457-0867


                      BUFFALO CREEK OUTFITTERS LLC
                      PO BOX 20568
                      GREENSVILLE, NC 27858


                      BUFFALO VALLEY GAME CALLS
                      1222 REBER ROAD
                      MIFFLINBURG, PA 17844


                      BULLETPROOF FIREARMS INSTRUCTI
                      164 SCHAEFER TRAIL RD
                      LINN CREEK, MO 65052


                      BULLSEYE SHOOTING SUPPLIES
                      837 PARK AVENUE
                      WOOMSOCKET, RI 02895


                      BULLSEYE VIRTUAL TRAINING RANG
                      6213 KLONDIKE DR
                      PORT ORANGE, FL 32127-6784


                      BUREAU OF ALCOHOL, TOBACCO,
                      PO BOX 403269
                      ATLANTA, GA 30384-3269


                      BURNET GUNFIGHTER INC
                      PO BOX 773
                      BURNET, TX 78611-0773


                      BUSINESS INNOVATIONS WORLDWIDE
                      4960 PEACHTREE INDUSTRIAL BLVD.
                      SUITE# 210
                      BERKELEY LAKE, GA 30071
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                      BUTLER COUNTY SPORTSMEN RIFLE
                      8871 TIMBERCHASE CT
                      WEST CHESTER, OH 45069-6487


                      BUXTON ACQUISITION CO LLC
                      245 CADWELL DRIVE
                      SPRINGFIELD, MA 01104


                      BWC STATE INSURANCE FUND
                      CORPORATE PROCESSING DEPT
                      COLUMBUS, OH 43271-0821


                      C.A.S. AND SONS GROUP INC
                      18429 AVALON BLVD
                      CARSON, CA 90746


                      CAIRO SPORTSMAN CLUB
                      668 WENTZ RD BOX 20
                      CAIRO, OH 45820-0020


                      CALIB LARUE
                      2697 CRANBERRY HWY APT 31
                      WAREHAM, MA 02571-5016


                      CALIFORNIA RIFLE & PISTOL ASSN
                      271 E. IMPERIAL HWY STE 620
                      FULLERTON, CA 92835-1049


                      CALIFORNIA STATE BOARD OF EQUALIZATION
                      P O BOX 942879
                      SACRAMENTO, CA 94279-8014


                      CALL SIGN ALPHA LLC
                      650 E STATE ST
                      SALEM, OH 44460
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                      CALMARK GROUP LLC-NON-POSTAGE
                      6755 SOUTH SAYRE
                      BEDFORD PARK, IL 60638


                      CALMARK GROUP-POSTAGE
                      6755 S SAYRE AVE
                      BEDFORD PARK, IL 60638


                      CAMELOT SAFETY INSTRUCTOR GROU
                      206 CEDAR AVE
                      UNIT 1349
                      LAKE VILLA, IL 60046-4657


                      CAMP DAVID INC
                      7920 FOSTER ST
                      OVERLAND PARK, KS 66204


                      CAMP FIRE CLUB OF AMERICA
                      230 CAMPFIRE ROAD
                      CHAPPAQUA, NY 10514


                      CANADA DRY POTOMAC CORPORATION
                      3600 PENNSY DRIVE
                      LANDOVER, MD 20785


                      CANADIAN RIVER ARCHERY AND GUN
                      10001 S STINNETT HWY
                      BORGER, TX 79007-7573


                      CANFIELD AND ASSOCIATES LLC
                      2910 CHARDONNAY CIRCLE
                      SHREVEPORT, LA 71106


                      CANTO SOFTWARE, INC
                      625 MARKET ST, SUITE 600
                      SAN FRANCISCO, CA 94105
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                      CANTWELL CLEARY CO INC
                      7575 WASHINGTON BLVD
                      ELKRIDGE, MD 21075


                      CAPITAL CITY GUN CLUB INC.
                      PO BOX 332
                      TOPEKA, KS 66601-0332


                      CAPITAL RESULTS, LLC
                      50 PEAR ST
                      RICHMOND, VA 23223


                      CAPITOL CITY RIFLE & PISTOL CL
                      10215 YAH WAY SW
                      ROCHESTER, WA 98579-8624


                      CAPITOL POWER GROUP LLC
                      20365 EXCHANGE ST
                      SUITE 240
                      ASHBURN, VA 20147


                      CAPITOL RADIO COMMUNICATIONS
                      8945 COLESBURY PLACE
                      FAIRFAX, VA 22031


                      CAPITOL SUMMIT LAMINATORS, INC
                      NEW 8K MUSIC FAIR ROAD
                      OWNINGS MILLS, MD 21117


                      CAPRON COMPANY INC
                      411 N STONESTREET AVENUE
                      ROCKVILLE, MD 20850


                      CARIBOU MEDIA GROUP LLC
                      PO BOX 7772
                      APPLETON, WI 54913
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                      CARLETON SPORTSMANS CLUB
                      PO BOX 221
                      CARLETON, MI 48117-0221


                      CAROLINA CALIBER COMPANY LLC
                      282 BOWEN CIR
                      AYDEN, NC 28513


                      CAROLINA GUN CLUB
                      108 DOVETAIL DR
                      MOORESVILLE, NC 28115-5793


                      CAROLINA SELF PROTECTION
                      126 RYAN LN
                      MOORESVILLE, NC 28115-8586


                      CAROLINA SPECIALTY APPRAISAL,
                      1964 STONEY CREEK CHURCH RD
                      BURLINGTON, NC 27217-9412


                      CAROLINA WEST SHOOTING CLUB
                      6218 US HIGHWAY 70 E
                      NEBO, NC 28761-7757


                      CAROLYN DIANE DUTCHER
                      12245 OCEAN VIEW DR
                      SPANISH SPRINGS, NV 89441


                      CARTERS SHOOTING CENTER INC
                      6231 TREASCHWIG RD
                      SPRING, TX 77373


                      CASCADE FIELD AND STREAM
                      501 GRANT AVE
                      SO. CLEELUM, WA 98943
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                      CASCADE SHOOTING FACILITIES
                      PO BOX 310
                      RAVENSDALE, WA 98051-0310


                      CASH MANUFACTURING CO INC
                      ATTN: SCOTT POBJOY
                      201 S. KLEIN DR
                      PO BOX 130
                      WAUNAKEE, WI 52597


                      CASTLETON FISH AND GAME PROTEC
                      PO BOX 441
                      EAST SCHODACK, NY 12063


                      CBC UK LIMITED
                      69 MANSELL STREET
                      LONDON, UNITED KINGDOM E1 8AN


                      CCH INCORPORATED
                      4829 INNOVATION WAY
                      CHICAGO, IL 60682


                      CCS GUNS
                      2216 S RAINBOW BLVD
                      LAS VEGAS, NV 89146-2976


                      CDW COMPUTER CENTERS INC
                      PO BOX 75723
                      CHICAGO, IL 60675


                      CECOM,INC.
                      1813 W. MONTROSE AVE.
                      CHICAGO, IL 60613


                      CEDAR VALLEY FIREARMS TRAINING
                      1203 OAK PARK BLVD
                      CEDAR FALLS, IA 50613-1555
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                      CENTENNIAL PROTECTION GROUP LL
                      2300 YORK ROAD
                      SUITE 206
                      TIMONIUM, MD 21093


                      CENTER MASS ARMS TRAINING
                      187 PROSPECT ST
                      LEOMINSTER, MA 01453


                      CENTRAL FLORIDA RIFLE & PISTOL
                      PO BOX 621985
                      ORLANDO, FL 32862


                      CENTRAL NATIONAL GOTTESMAN
                      LINDENMEYER MUNROE
                      ATTN: JAY MARTIN
                      7230 PRESTON GATEWAY DRIVE
                      HANOVER, MD 21076


                      CENTRAL TEXAS RIFLE & PISTOL
                      PO BOX 20367
                      WACO, TX 76702-0367


                      CENTRAL WHIDBEY SPORTSMEN'S AS
                      PO BOX 711
                      COUPEVILLE, WA 98239-0711


                      CENTRALIA RIFLE CLUB
                      PO BOX 465
                      CENTRALIA, WA 98531-0465


                      CENTRO INC
                      11 E MADISON ST
                      6TH FLOOR
                      CHICAGO, IL 60602


                      CENTURY LINK
                      PO BOX 52187
                      PHOENIX, AZ 85072
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                      CENTURY LINK #68449622
                      COMMERCIAL SERVICES
                      P O BOX 856023
                      LOUISVILLE, KY 40285-6023


                      CEQUEL DATA CENTERS LP
                      520 AMRYVILLE CENTRE DR
                      STE 300
                      ST LOUIS, MO 63141


                      CEQUEL STORAGE LLC
                      12444 POWERSCOURT DRIVE
                      SUITE 450
                      ST LOUIS, MO 63131


                      CERIDIAN EMPLOYER SERVICES
                      P O BOX 10989
                      NEWARK, NJ 07193-0989


                      CERTIFIED FIREARM TRAINING
                      421 CENTRAL AVE N STE 100
                      FARIBAULT, MN 55021-4292


                      CERTIFIED FIREARMS TRAINING LL
                      29303 N 148TH ST
                      SCOTTSDALE, AZ 85262-7801


                      CETECH ENGINEERS INC
                      9990 FAIRFAX BLVD
                      SUITE 510
                      FAIRFAX, VA 22030


                      CHAIN BRIDGE BANK
                      1445-A LAUGHLIN AVENUE
                      MCLEAN, VA 22101


                      CHAMBERSBURG P & R CLUB
                      PO BOX 641
                      CHAMBERSBURG, PA 17201-0641
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                      CHAMPION FIREARM TRAINING LLC
                      4559 WELLMAN RD
                      PARMA, MI 49269-9741


                      CHAPTER II GROUP
                      2020 NE 163RD ST
                      N MIAMI BEACH, FL 33162


                      CHARLES A. LAMBERTON, ESQ.
                      ATTN: BRACKEN LAMBERTON, LLC
                      707 GRANT STREET
                      THE GULF TOWER SUITE 1705
                      PITTSBURGH, PA 15219


                      CHARLOTTE RIFLE & PISTOL CLUB
                      12833 E INDEPENDENCE BLVD
                      MATTHEWS, NC 28105-4968


                      CHEAPER THAN DIRT
                      2524 NORTHEAST LOOP 820
                      FORT WORTH, TX 76106


                      CHELSEA ROD & GUN CLUB
                      PO BOX 382
                      CHELSEA, MI 48118-0382


                      CHEMART COMPANY
                      15 NEW ENGLAND WAY
                      LINCOLN, RI 02865


                      CHEMUNG CO ROD & GUN CLUB, INC
                      PO BOX 338
                      BREESPORT, NY 14816-0338


                      CHEROKEE GUN CLUB
                      7335 SAWGRASS DR
                      DAWSONVILLE, GA 30534-4732
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                      CHERRY CREEK GUN CLUB
                      1155 S HAVANA ST UNIT 11
                      AURORA, CO 80012-4017


                      CHESTER ROD & GUN CLUB INC
                      99 ROD GUN CLUB RD
                      CHESTER, NH 03036-4144


                      CHIEF OKEMOS SPORTSMANS CLUB I
                      9217 BRIDGE HWY
                      DIMONDALE, MI 48821-9605


                      CHILD AND ADULT SAFETY EDUCATI
                      5029 E CAMBRIDGE AVE
                      PHOENIX, AZ 85008-1619


                      CHILLICOTHE SPORTSMANS CLUB
                      PO BOX 13
                      CHILLICOTHE, IL 61523-0013


                      CHINESE AMERICAN RIGHTS ASSOCI
                      163 LOCKSUNART WAY
                      SUNNYVALE, CA 94087


                      CHINESE-AMERICAN NETWORK OF FI
                      19 SALEM LN
                      EVANSTON, IL 60203-1217


                      CHOLLA GUN CLUB
                      PO BOX 312
                      YUMA, AZ 85366-0312


                      CHRIS CARR
                      40 CAPITOL SQUARE
                      SW
                      ATLANTA, GA 30334
Case 21-30085-hdh11   Doc 173-2 Filed 02/17/21 Entered 02/17/21 23:28:35   Desc
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                      CHRIS COX
                      WINSTON & STRAWN LLP
                      1700 K ST. N.W.
                      WASHINGTON, DC 20006


                      CHRISTIAN COUNTY NRA AFFILIATE
                      PO BOX 372
                      HEWITTSVILLE, IL 62568


                      CHRISTIAN RODRIGUEZ MONTALVO
                      259 COURAGE LOOP
                      FORT STEWART, GA 31315-5931


                      CHRISTOPHER NEWPORT UNIVERSITY
                      1 AVENUE OF THE ARTS
                      NEWPORT NEWS, VA 23606-3072


                      CHUBB UNDERWRITTING OFFICE
                      ATTN: FEDERAL INSURANCE COMPANY
                      233 SOUTH WACKER DRIVE
                      SUITE 4700
                      CHICAGO, IL 60606


                      CHULUOTA SPORTSMEN'S CLUB
                      PO BOX 620490
                      OVIEDO, FL 32762-0490


                      CIGNA
                      6701 DEMOCRACY BLVD
                      SUITE 401
                      BETHESDA, MD 20817


                      CINTAS CORPORATION
                      9022 EUCLID AVE
                      MANASSAS, VA 20110


                      CINTAS CORPORATION
                      P.O. BOX 636525
                      CINCINNATI, OH 45263-6525
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                      CIRCLE R EMBROIDERY CP INC
                      4901 WOODALL STREET
                      DALLAS, TX 75247


                      CITIZENS RANGE & RECREATION CL
                      PO BOX 659
                      PRINCETON JUNCT, NJ 08550-0659


                      CITY AND COUNTY OF DENVER DEPT OF FIN
                      MCNICHOLS CIVIC CENTER BLDG
                      ROOM 100
                      DENVER, CO 80202-5391


                      CITY OF AUBURN, REVENUE OFFICE
                      144 TICHENOR AVE
                      SUITE 6
                      AUBURN, AL 36830


                      CITY OF AURORA, TAX AND LICENSING
                      15151 EAST ALAMEDA PARKWAY
                      BUSINESS LICENSING #1100
                      AURORA, CO 80012


                      CITY OF COLORADO SPRINGS
                      PO BOX 1575
                      COLORADO SPRINGS, CO 80901-1575


                      CITY OF FORT COLLINS, SALES AND USE TAX
                      PO BOX 440
                      FORT COLLINS, CO 08052-2439


                      CITY OF GRAND JUNCTION, FINANCIAL OPERAT
                      250 NORTH 5TH ST
                      GRAND JUNCTION, CO 81501


                      CITY OF HARRISBURG
                      10 NORTH SECOND ST
                      HARRISBURG, PA 17101
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                      CITY OF LITTLETON, SALES AND USE TAX
                      2255 WEST BERRY AVENUE
                      LITTLETON, CO 80165


                      CITY OF NORTH MYRTLE BEACH
                      1018 2ND AVENUE SOUTH
                      NORTH MYRTLE BEACH, SC 29582


                      CITY OF PUEBLO, FINANCIAL DEPARTMENT - S
                      130 CENTRAL MAIN ST
                      PUEBLO, CO 81003


                      CITY OF THORNTON, SALES TAX DIVISION
                      9500 CIVIC CENTER DR
                      THORNTON, CO 80229


                      CITY SECURITY CONSULTANTS, INC.
                      2010 KENDALL ST NE
                      WASHINGTON, DC 20002


                      CIVILIAN DEFENSE CONCEPTS, LLC
                      412 FOXCROFT CIR
                      ROYERSFORD, PA 19468-1539


                      CLAIRTON SPORTSMEN'S CLUB
                      5630 VILLA HAVEN DR
                      PITTSBURGH, PA 15236-3352


                      CLARE CONNORS
                      425 QUEEN STREET
                      HONOLULU, HI 96813


                      CLARE LOCKE LLP
                      10 PRINCE ST
                      ALEXANDRIA, VA 22314
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                      CLARITY COLLECTIVE LLC
                      1849 MEADOW LN
                      MONTOURSVILLE, PA 17754


                      CLARK CUSTOM GUNS
                      336 SHOOTOUT LANE
                      PRINCETON, LA 71067


                      CLE SELF DEFENSE LLC
                      1446 TRADER DR
                      STREETSBORO, OH 44241-5781


                      CLEAR CHANNEL BROADCASTING, INC
                      9590 LYNN BUFF COURT #5
                      LAUREL, MD 20723


                      CLEARMEADOW PISTOL CLUB LTD
                      537 E JERICHO TPK
                      HUNTINGTN STA, NY 11746-7325


                      CLEARSLIDE INC
                      45 FREMONT 32ND FLR
                      SAN FRANCISCO, CA 94105


                      CLIFTONLARSONALLEN LLP (CLA)
                      220 S 6TH ST
                      STE 300
                      MINNEAPOLIS, MN 55402-1436


                      CLOWNFISH VENTURES, INC
                      5641 COLFAX AVE APT 144
                      N HOLLYWOOD, CA 91601-1705


                      CMMG INC
                      PO BOX 68
                      BOONVILLE, MO 00063
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                      COASTAL CAROLINA RIFLE CLUB
                      4080 4TH STREET
                      SURF CITY, NC 28445-8633


                      COASTAL GEORGIA GUN CLUB
                      PO BOX 365
                      BRUNSWICK, GA 31521-0365


                      COASTAL SUNBELT PRODUCE CO
                      9001 WHISKEY BOTTOM RD
                      LAUREL, MD 20723


                      COASTLINE LTD
                      P O BOX 1247
                      ALEXANDRIA, VA 22313


                      COATES LAW FIRM PL
                      115 EAST PARK AVE
                      UNIT 1
                      TALLAHASSEE, FL 32301


                      COCA-COLA BOTTLING CO. CONSOLIDATED
                      PO BOX 602937
                      CHARLOTTE, NC 28260


                      COCCODRILL, CHUCK
                      96 MOUNTAIN ROAD
                      JEFFERSON TWP, PA 18436


                      COEUR D'ALENE RIFLE & PISTOL C
                      4301 E MAPLEWOOD AVE TRLR 10
                      POST FALLS, ID 83854-6843


                      COLLEGE OF CHARLESTON
                      66 GEORGE ST
                      CHARLESTON, SC 29424
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                      COLONIAL RIFLE AND PISTOL CLUB
                      PO BOX 120128
                      STATEN ISLAND, NY 10312-0128


                      COLORADO DEPT OF REVENUE
                      1375 SHERMAN ST
                      DENVER, CO 80261-0013


                      COLORADO HANDGUN SAFETY, LLC
                      6115 VADLE LN
                      COLORADO SPRING, CO 80918-1534


                      COLORADO SCHOOL OF FIREARMS LL
                      7265 WOODY CREEK DR
                      COLORADO SPRING, CO 80911-9359


                      COLT'S MANUFACTURING COMPANY LLC
                      545 NEW PARK AVE
                      WEST HARTFORD, CT 06110


                      COLUMBIA COUNTY AGRICULTURAL, HORT
                      PO BOX 479
                      620 WEST THIRD ST
                      BLOOMSBURG, PA 17815


                      COLUMBIA FISH AND GAME ASSOCIA
                      1655 SILVER SPRING RD
                      LANDISVILLE, PA 17538-1050


                      COLUMBUS CONSOLIDATED GOVERNMENT
                      801 FRONT AVE
                      COLUMBUS, GA 31901


                      COLUMBUS HILLCREST CORPORATION
                      1356 MINOS MEARES RD
                      TABOR CITY, NC 28463
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                      COMCAST BUSINESS
                      PO BOX 182819
                      COLUMBUS, OH 43218-2819


                      COMCAST BUSINESS
                      PO BOX 34744
                      SEATTLE, WA 98124-1744


                      COMCAST BUSINESS
                      PO BOX 37601
                      PHILADELPHIA, PA 19101-0601


                      COMCAST BUSINESS
                      PO BOX 60533
                      CITY OF INDUSTRY, CA 91716


                      COMCAST BUSINESS
                      PO BOX 70219
                      PHILADELPHIA, PA 19176


                      COMMAND CREDIT CORP (FORMERLY NACM)
                      ATTN: NATIONAL ASSOC OF CREDIT MGMT
                      117 WATER ST
                      SUITE 204
                      MILFORD, MA 01757


                      COMMENCE FIREARMS TRAINING ACA
                      6370 CLAY ST
                      THOMPSON, OH 44086-8726


                      COMMERCE BANK
                      1000 WALNUT STREET
                      KANSAS, MO 64106


                      COMMERCE BANK
                      PO BOX 1677
                      COLUMBIA, MO 65205-1677
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                      COMMISSIONER OF REVENUE SERVICES, STATE
                      P O BOX 5002
                      HARTFORD, CT 06102-5002


                      COMMONWEALTH FIREARMS AND TRAI
                      311 BUSHEE RD
                      SWANSEA, MA 02777-4205


                      COMMONWEALTH GROUP PARTNERS LLC
                      1579 MONROE DR
                      SUITE F341
                      ATLANTA, GA 30324


                      COMMONWEALTH OF KENTUCKY, KENTUCKY DEPAR
                      620 SOUTH THIRD STREET
                      SUITE 102
                      LOUISVILLE, KY 40202-2446


                      COMMONWEALTH OF MASSACHUSETTS
                      PUBLIC RECORDS LOBBYIST SECT.
                      ONE ASHBURTON PLACE 17TH FLOOR
                      BOSTON, MA 02108


                      COMMONWEALTH OF PENNSYLVANIA
                      BUREAU OF CHARITABLE ORGANIZTN
                      207 NORTH OFFICE BUILDING
                      HARRISBURG, PA 17120


                      COMMONWEALTH OF PENNSYLVANIA DEPT OF GEN
                      ROOM 70 EAST WING
                      HARRISBURG, PA 17125


                      COMMUNICATION GRAPHICS INC
                      1765 NORTH JUNIPER
                      BROKEN ARROW, OK 74012


                      COMMUNICATIONS CORP OF AMERICA
                      ATTN: JUDY REID
                      13195 FREEDOM WAY
                      BOSTON, VA 22713
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                      COMMUNITY LIFETEAM INC
                      2222 PAXTON STREET (REAR)
                      HARRISBURG, PA 17111-1038


                      COMPLETE AIR FILTER/TFS
                      46213 TRANSDULLES PLZ
                      STE 150
                      STERLING, VA 20164


                      COMPONENT SOLUTIONS INC
                      800 WORCESTER ST
                      SPRINGFIELD, MA 01151


                      COMPTON COMBAT ARMS LLC
                      926 GIRARD DR
                      ORLANDO, FL 32824


                      COMPTONS
                      112 MCGINLEY RD
                      CHICORA, PA 16025


                      COMPTROLLER OF MARYLAND
                      COMPLIANCE DIVISION
                      110 CARROLL STREET
                      ANNAPOLIS, MD 21411


                      CONCEALED CARRY OF ILLINOIS, L
                      2900 LEXINGTON LN
                      HIGHLAND PARK, IL 60035-1026


                      CONDITION YELLOW ACADEMY INC
                      601 W CAMPUS DR STE C1
                      ARLINGTON HEIGHTS, IL 60004-7802


                      CONFERENCE DIRECT
                      6420 WILSHIRE BLVD
                      SUITE 1900
                      LOS ANGELES, CA 90048
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                      CONGREGATE MEDIA LP
                      10395 CEDAR LAKE DR
                      PROVIDENCE VILL, TX 76227-7546


                      CONGRESSIONAL SPORTSMENS FOUNDATION
                      110 NORTH CAROLINA AVE SE
                      WASHINGTON, DC 20003


                      CONSOLIDATED GRAPHICS, INC.
                      35 W. WAKER DRIVE
                      CHICAGO, IL 60601


                      CONTEMPORARY SERVICES CORP
                      1501 REEDSDALE ST., STE 200
                      PITTSBURGH, PA 15233


                      CONVENTION CONCIERGE INC
                      3566 S GEORGE MASON DR #13
                      ALEXANDRIA, VA 22302


                      COOK BOTTOM HUNTING CLUB
                      ATTN: ED COLSTON
                      107 JONES CUTOFF
                      ROBELINE, LA 71469


                      COOPER & KIRK, PLLC
                      1523 NEW HAMPSHIRE AVE NW
                      WASHINGTON, DC 20036


                      COOPERS HILL SHOOTING CLUB
                      1542 E NEWPORT RD
                      LITITZ, PA 17543-9195


                      COPILEVITZ, LAM & RANEY
                      COPILEVTIZ & CANTER PC
                      310 W 20TH ST
                      SUITE 300
                      KANSAS CITY, MO 64108
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                      COPY GENERAL
                      102-G EXECUTIVE DRIVE
                      STERLING, VA 20166


                      CORNERSTONE CONSULTING PARTNERS
                      THE GLENFIDDICH HOUSE
                      205 NORTH KING STREET
                      LEESBURG, VA 20176


                      CORONADO LEATHER CO., INC.
                      ATTN: BRENT LAULOM
                      1961 MAIN ST.
                      SAN DIEGO, CA 92113


                      CORPORATE AMERICA AVIATION INC
                      PO BOX 1978
                      BURBANK, CA 91507-1978


                      CORPORATION FOR THE PROMOTION OF RIFLE
                      P O BOX 576
                      PORT CLINTON, OH 43452


                      CORPORATION SERVICE COMPANY
                      P O BOX 13397
                      PHILADELPHIA, PA 19101-3397


                      CORR CRONIN MICHELSON BAUMGARDNER &
                      10001 FOURTH AVENUE
                      SUITE 3900
                      SEATTLE, WA 98154


                      CORSNER ENTERTAINMENT INC
                      201 NORTH BOXWOOD ROAD
                      SUITE A
                      RED LION, PA 17356


                      COSTELLO, VALENTINE, GENTRY
                      51 PUTNEY ROAD
                      BATTLEBORO, VT 05301
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                      COUGAR TACTICAL LLC
                      575 E BIG BEAVER RD
                      SUITE 240
                      TROY, MI 48083


                      COUNCIL BLUFFS RIFLE & PISTOL
                      260 ZENITH DR
                      COUNCIL BLUFFS, IA 51503-0284


                      COUNTRY POND FISH & GAME CLUB
                      82 POND ST
                      NEWTON, NH 03858


                      COUNTY OF DAUPHIN
                      101 MARKET ST
                      ROOM 106
                      HARRISBURG, PA 17101


                      COUNTY OF FAIRFAX
                      10700 PAGE AVENUE
                      FAIRFAX, VA 22030


                      COUNTY OF FAIRFAX
                      DPW ES 12055, 6TH FLOOR
                      GOVERNMENT CENTER PARKWAY
                      FAIRFAX, VA 22035-5504


                      COUNTY OF FAIRFAX
                      PO BOX 10200
                      FAIRFAX, VA 22035-0200


                      COUNTY OF FAIRFAX, DEPARTMENT OF TAX ADM
                      FAIRFAX COUNTY GOVERNMENT CENTER
                      12000 GOVERNMENT CENTER PKWY
                      FAIRFAX, VA 22035


                      COUNTY OF FAIRFAX, DIVISION OF ENVIRONME
                      DIV. OF ENVIRONMENTAL HEALTH
                      10777 MAIN STREET. STE 111
                      FAIRFAX, VA 22030
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                      COUNTY OF VENANGO
                      PO BOX 831
                      1174 ELK ST
                      FRANKLIN, PA 16323


                      COURTNEY LEIGH GROVES-FOSTER
                      406 W JAVIS AVE
                      RIDGECREST, CA 93555-7758


                      COWBOY FAST DRAW ASSOCIATION
                      PO BOX 21
                      IDAHO CITY, ID 83631-0021


                      COXSACKIE SPORTSMEN'S CLUB
                      PO BOX 213
                      COXSACKIE, NY 12051-0213


                      COYOTE LOGISTICS LLC
                      960 NORTH POINT PARKWAY
                      SUITE 150
                      ALPHARETTA, GA 30005


                      COYOTE POINT ARMORY
                      341 BEACH RD
                      BURLINGAME, CA 94010-2005


                      CP HOLDINGS LLC
                      1510 ELM HILL PIKE
                      STE 200
                      NASHVILLE, TN 37210


                      CRA INTERNATIONAL INC
                      200 CLARENDON ST
                      BOSTON, MA 02116


                      CRAIG TRAP CLUB
                      610 TAYLOR ST
                      CRAIG, CO 81625
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                      CREATIVE MODELING & DESIGN
                      16 SUNNY SIDE AVENUE
                      JOHNSTON, RI 02919


                      CRESCENDO INTERACTIVE INC
                      110 CAMINO RUIZ
                      CAMARILLO, CA 93012


                      CRITTER CREATIONS
                      1540 SILOAM ROAD
                      CHAMBERSBURG, PA 17201


                      CROOKED CREEK ANTLERS INC
                      200 E.WASHINGTON
                      NEWTON, IL 62448


                      CROOKED CREEK TRAP CLUB
                      PO BOX 713
                      WINTER PARK, CO 80482-0713


                      CROOKSHANKS, THOMAS
                      37408 COAL RIVER RD
                      APT 324
                      WHITESVILLE, WV 25209


                      CROSS BAYOU CAMPGROUND LLC
                      191 ELLARD RD
                      JONESVILLE, LA 71343


                      CROSSBREED HOLSTERS LLC
                      6955 WEST CARNAHAN ST
                      SPRINGFIELD, MO 06580


                      CROSSROADS SHOOTING
                      5550 NW JOHNSTON DR STE A
                      JOHNSTON, IA 50131-1381
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                      CROWFOOT ROD & GUN CLUB
                      PO BOX 319
                      MURRYSVILLE, PA 15668-0319


                      CROWN AWARDS
                      9 SKYLINE DRIVE
                      HAWTHORNE, NY 10532


                      CRUM & FORSTER
                      101 HUDSON STREET
                      32 FL
                      JERSEY CITY, NJ 07302


                      CRUM & FORSTER
                      305 MADISON AVENUE
                      MORRISTOWN, NJ 07962


                      CSSSA, INC
                      PO BOX 47
                      ANDERSONVILLE, GA 31711-0047


                      CUMBERLAND BEAGLE CLUB
                      16 SUN VALLEY DR
                      CUMBERLAND, RI 02864


                      CUMBERLAND RIFLEMEN
                      4030 E MAIN ST
                      MILLVILLE, NJ 08332


                      CUMULUS BROADCASTING LLC
                      3607 MOMENTUM PLACE
                      CHICAGO, IL 60689-5336


                      CUTTING EDGE PRODUCTS INC
                      235-F FORLINES RD
                      WINTERVILLE, NC 28590
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                      CVENT SOFTWARE
                      1765 GREENSBORO STATION PLACE
                      7TH FLR
                      TYSONS CORNER, VA 22102


                      CWR FIREARMS TRAINING, LLC
                      1531 HARDING AVE
                      AMES, IA 50010-5247


                      CYBERSOURCE CORPORATION
                      FILE 74009
                      P O BOX 60000
                      SAN FRANCISCO, CA 94160


                      CYRENA TRAINING
                      2109 DRY RIDGE RD
                      GROVE CITY, OH 43123


                      CZ USA
                      3341 NORTH 7TH ST
                      KANSAS CITY, KS 66115


                      D & L SHOOTING SUPPLIES INC.
                      3314 W SHORE RD
                      WARWICK, RI 02886-7560


                      D C PRATER & ASSOCIATES LC
                      926 BERRYS FERRY RD
                      WHITE POST, VA 22663


                      D J NIERNAN INC
                      12908 CHESWOOD LN.
                      BOWIE, MD 20715


                      D&B CONSULTING
                      503 ARVERN COURT
                      ALTAMONTE SPRINGS, FL 32701
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                      D.C. CHILD SUPPORT CLEARINGHOUSE
                      PO BOX 37868
                      WASHINGTON, DC 20013-7868


                      D.C. TREASURER, OFFICE OF TAX AND REVENU
                      P O BOX 679
                      BEN FRANKLIN STATION
                      WASHINGTON, DC 20044


                      D4 CONSULTING LLC
                      347 PARHAM RD
                      APT 5
                      MARTIN, TN 38237


                      DADE CITY ROD & GUN CLUB
                      PO BOX 1861
                      DADE CITY, FL 33526-1861


                      DALLAS ARMS COLLECTORS ASSN. I
                      1521 N COOPER ST STE 340
                      ARLINGTON, TX 76011-5537


                      DALLAS SAFARI CLUB
                      13709 GAMMA ROAD
                      DALLAS, TX 75244


                      DANA NESSEL
                      PO BOX 30212
                      525 W. OTTAWA ST.
                      LANSING, MI 48909


                      DANIEL BOONE CONSERVATION LGE.
                      4694 STATE ROAD 167
                      HUBERTUS, WI 53033-9782


                      DANIEL CAMERON
                      700 CAPITOL AVENUE
                      CAPITOL BUILDING
                      SUITE 118
                      FRANKFORT, KY 40601
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                      DANVERS FISH & GAME CLUB INC
                      PO BOX 3045
                      PEABODY, MA 01961-3045


                      DATATECH ENTERPRISES INC
                      31111 AGOURA RD
                      SUITE 250
                      WESTLAKE VILLAGE, CA 91361-4449


                      DATATRAX PUBLISHING SYSTEMS INC
                      10 EXECUTIVE DRIVE
                      FARMINGTON, CT 06032


                      DAVE YOST
                      STATE OFFICE TOWER
                      30 E. BROAD ST
                      COLUMBUS, OH 43266


                      DAVES SHOOTING SUPPLY
                      4220 DAYTON BLVD STE N
                      RED BANK, TN 37415


                      DAVIDSON COUNTY CLERK
                      PO BOX 196333
                      NASHVILLE, TN 37219-6333


                      DAVIDSON'S INC
                      6100 WILKINSON DRIVE
                      PRESCOTT, AZ 86301


                      DAVIDSON'S INC
                      7609 BUSINESS PARK DR
                      GREENSBORO, NC 27409


                      DAVIDSON, DAVID ALLAN
                      1944 PACIFIC AVE
                      STE 710
                      TACOMA, WA 98402
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                      DAVIS ENTERPRISES LLC
                      590 AUTUMN MEADOWS LN
                      COLLIERVILLE, TN 38017-1658


                      DAVISON SHOOTING CLUB
                      PO BOX 795
                      MITCHELL, SD 57301-0795


                      DCS PHOTO INC
                      37 E MAIN, STE 18
                      BOZEMAN, MT 59715-4739


                      DE FRANCO'S LOCK & SAFE
                      447 MCBRIDE AVENUE
                      PATERSON, NJ 07501


                      DEADLY PASSION PRODUCTIONS
                      957 W 11TH ST
                      GREGORY, SD 57533


                      DECATUR GUN CLUB INC.
                      PO BOX 3062
                      DECATUR, IL 62524-3062


                      DECISION SOFTWARE INC.
                      4640 FORBES BLVD
                      SUITE 310
                      LANHAM, MD 20706


                      DEFENDER CWP LLC
                      1070 S LAKE DR
                      LEXINGTON, SC 29073


                      DEFENSE TRAINING SOLUTIONS, LL
                      PO BOX 21415
                      LEHIGH VALLEY, PA 18002-1415
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                      DEFENSIVE & PROTECTIVE SOLUTIO
                      PO BOX 1032
                      LA PLATA, MD 20646-1032


                      DEFENSIVE SPECIALTIES LLC
                      3237 WINDGATE DR
                      BUFORD, GA 30519-1922


                      DEFENSIVE TACTICS AND FIREARMS
                      4830 N PASEO DEL TUPO
                      TUCSON, AZ 85750-1709


                      DELAWARE RIFLE & PISTOL CLUB,
                      PO BOX 6107
                      WILMINGTON, DE 19804-0707


                      DELAWARE STATE PISTOL CLUB INC
                      36 MERCER DR
                      NEWARK, DE 19713-1561


                      DELIVERANCE DEFENSE LLC
                      542 MAIN ST STE 101
                      NEW ROCHELLE, NY 10801


                      DELLA MEDIA LTD.
                      15562 NORTH ROYAL DOULTON
                      CLINTON TOWNSHIP, MI 48038


                      DELOITTE & TOUCHE LLP
                      1750 TYSONS BLVD. #800
                      MCLEAN, VA 22102-4219


                      DELTA BRIDGE INC
                      1400A DUKE ST
                      ALEXANDRIA, VA 22314
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                      DELTA TACTICAL TRAINING GROUP
                      PO BOX 2657
                      ANTIOCH, CA 94531


                      DELUXE FOR BUSINESS
                      C/O US BANK LOCK
                      PO BOX 742572
                      CINCINNATI, OH 45274


                      DEM360 LLC
                      22 N MULBERRY ST
                      STE 102
                      HAGERSTOWN, MD 21740


                      DEPARTMENT OF FINANCE AND ADMINISTRATION
                      PO BOX 1272
                      LITTLE ROCK, AR 72203-1272


                      DEPARTMENT OF HEALTH
                      PO BOX 210
                      JACKSONVILLE, FL 32231-0042


                      DEPARTMENT OF JUSTICE
                      PO BOX 903447
                      SACRAMENTO, CA 00090-3447


                      DEREK SCHMIDT
                      120 S.W. 10TH AVE
                      2ND FLOOR
                      TOPEKA, KS 66612


                      DESERT SPORTSMANS RIFLE AND PI
                      11700 W CHARLESTON BLVD
                      170-223
                      LAS VEGAS, NV 89135-1573


                      DESERTFALLOUT FIREARMS LLC
                      6331 PINION JAY ST
                      LAS VEGAS, NV 89148
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                      DESIGN MASTER ASSOCIATES INC
                      3005 JOHN DEERE ROAD
                      TOANO, VA 23168


                      DGW HOLDINGS LLC
                      2665 EVALON ST
                      BEAUMONT, TX 77702


                      DIKAR S COOP
                      URARTE 26
                      20570 BERGARA, SPAIN


                      DILIGENCE
                      17022 E ROADRUNNER RD APT A
                      MAYER, AZ 86333


                      DILLON COUNTY RIFLE & GUN CLUB
                      737 SQUIRES DR
                      LATTA, SC 29565-4178


                      DILLON PRECISION PRODUCTS INC
                      8009 E DILLONS WAY
                      SCOTTSDALE, AZ 85260


                      DINERS CLUB INTERNATIONAL
                      PO BOX 5732
                      CAROL STREAM, IL 60197


                      DIRECT MAIL SOLUTIONS
                      4500 SARELLEN ROAD
                      RICHMOND, VA 23231


                      DIRT ROAD MEDIA LLC
                      4715 GOTTS HYDRO RD
                      OAKLAND, KY 42159
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                      DISA LLC
                      12596 WHIPPOORWILL DR
                      ROLLA, MO 65401


                      DISCOUNT ENTERPRISES, LLC
                      4520 W HUNTINGTON AVE
                      LINCOLN, NE 68524-6007


                      DISTRICT OF COLUMBIA ATTORNEY GENERAL OF
                      400 6TH ST
                      NW
                      WASHINGTON, D.C., DC 20001


                      DIXIE DECOYS
                      119 TUCKER AVE
                      WINSTON SALEM, NC 27104


                      DIXIE SPORT SHOOTING ASSN.
                      138 LOBO LN
                      HOT SPRINGS, AR 71901-8302


                      DJS LABELS
                      1361 LINCOLN AVE
                      UNIT 11
                      HOLBROOK, NY 11741


                      DMV RENEWAL
                      PO BOX 942894
                      SACRAMENTO, CA 94294-0894


                      DN DISTRIBUTION LLC
                      4855 CATALINA DR
                      NAPLES, FL 34112-6932


                      DOBBS INVENTORY SERVICES, INC
                      PO BOX 1626
                      SUISUN CITY, CA 94585-4626
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                      DOCKDOGS INC
                      5690 WOLFF ROAD
                      MEDINA, OH 44256


                      DOMINICK COSTANZA
                      148 GEERY AVE
                      HOLBROOK, NY 11741-1125


                      DOMINION ENERGY
                      PO BOX 26543
                      RICHMOND, VA 23290


                      DOMINION ENERGY SERVICES INC
                      120 TREDEGAR ST
                      RICHMOND, VA 23219


                      DONAHOO-CONSULTING, LLC
                      201 SOMERSTON RD
                      YORKTOWN HEIGHTS, NY 10598-2120


                      DOUBLE DIAMOND ENTERPRISE INC
                      2065 US HIGHWAY 277 S
                      ANSON, TX 79501


                      DOUBLE TROUBLE CHARTERS
                      3870 SE 183 AVE RD
                      OCKLAWAHA, FL 32179


                      DOUG PETERSON
                      STATE CAPITOL
                      PO BOX 98920
                      LINCOLN, NE 68509


                      DOWNERS GROVE SPORTSMAN'S CLUB
                      4244 HARVEY AVE
                      WESTERN SPRINGS, IL 60558-1246
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                      DOWNTOWN TACTICAL LLC
                      610 E BATTLEFIELD ST STE C
                      SPRINGFIELD, MO 65807


                      DRETTMAN RANCH
                      1409 BEEMAN ROAD
                      BELLAIRE, MI 49615


                      DROPBOX INC
                      185 BERRY ST
                      SUITE 400
                      SAN FRANCISCO, CA 94107


                      DUKE UNIVERSITY
                      BOX 104132
                      DURHAM, NC 27708


                      DUNBAR ARMORED CAR
                      PO BOX 64115
                      BALTIMORE, MD 21264-4115


                      DUNCAN ROYAL ENTERPRISES CORP
                      2 CALDWELL DR
                      BELMONT, NC 28012-2749


                      DUNCAN'S RAINBOW RANGE
                      1360 TOWER DRIVE
                      VISTA, CA 92083-7131


                      DUO SECURITY INC
                      123 NORTH ASHLEY ST
                      SUITE 200
                      ANN ARBOR, MI 48104


                      DURHAM PISTOL & RIFLE CLUB
                      6536 WILDFLOWER LN
                      EFLAND, NC 27243-9781
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                      DURHAM ROD & GUN CLUB
                      965 ROYALSBOROUGH RD
                      DURHAM, ME 04222-5339


                      DUTCHESS COUNTY PISTOL ASSOC.
                      26 CLOVE BRANCH RD
                      HOPEWELL JUNCTI, NY 12533-5216


                      DVM INSURANCE AGENCY
                      PO BOX 2344
                      BREA, CA 92822


                      DYNA TECHNOLOGY INTEGRATORS, LLC
                      6500 ARLINGTON BLVD
                      SUITE 206
                      FALLS CHURCH, VA 22042


                      DYNAMIC DEVIANCE LLC
                      22216 PEE WEE LN
                      LEONARDTOWN, MD 20650


                      E & E EXHIBITS INC
                      1365 W AUTO DRIVE
                      TEMPE, AZ 85284


                      E GROUP INC - FULFILLMENT
                      11790 SUNRISE VALLEY DR
                      SUITE T-100
                      RESTON, VA 20191


                      E GROUP INC - NON-FULFILLMENT
                      ATTN: COLIN EAGEN
                      11790 SUNRISE VALLEY DRV
                      SUITE T-100
                      RESTON, VA 20191


                      E&S GUN SAFETY TRAINING LLC
                      4752 SHADYWAY DR
                      ARLINGTON, TX 76018-1270
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                      EAGLE FIREARM SAFETY
                      7196 S PIERSON ST
                      LITTLETON, CO 80127-2820


                      EAGLE IMPORTS
                      1750 BRIELLE AVE
                      UNIT 1-B
                      WANAMASSA, NJ 07712


                      EAGLE ROCK PRECISION
                      7695 S 15TH E
                      IDAHO FALLS, ID 83404


                      EAGLE SECURITY SOLUTIONS INC
                      801 BUTLER ST STE 60
                      CHESAPEAKE, VA 23323-3419


                      EAR, INC
                      PO BOX 18888
                      BOULDER, CO 80308


                      EARCHPHOTO
                      822 DEVONPORT LN
                      SEABROOK, TX 77586-4203


                      EAST BATH ROD AND GUN CLUB
                      7905 TOWNSHIP LINE ROAD
                      PO BOX 92
                      CHAPMANS, PA 18014-0092


                      EAST BATON ROUGE PARISH, DEPARTMENT OF F
                      PO BOX 2590
                      BATON ROUGE, LA 70821-2590


                      EAST END ROD & GUN CLUB
                      PO BOX 251
                      MILTON-FREEWATER, OR 97862
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                      EAST END ROD & GUN CLUB
                      PO BOX 388
                      MILTON-FREEWATER, OR 97862-0388


                      EAST GRAND FORKS ROD & GUN CLU
                      1501 LEWIS BLVD
                      GRAND FORKS, ND 58203


                      EAST HOOK SPORTSMEN ASSOCIATION INC
                      395 CARY ROAD
                      PO BOX 492
                      FISHKILL, NY 12524


                      EAST STROUDSBURG AREA SCHOOL
                      36 SPANGENBURG AVE
                      E STROUDSBURG, PA 18301-2724


                      EAST TEXAS RIFLE AND PISTOL CL
                      PO BOX 2664
                      LONGVIEW, TX 75606-2664


                      EAST TEXAS SHOOTERS, INC
                      1454 MIDWAY LOOP E
                      LIVINGSTON, TX 77351-4677


                      EASTERN HILLS ROD & GUN CLUB
                      5594 ANSTEATT RD
                      BATAVIA, OH 45103-9602


                      EASTERN MORRISON COUNTY SPTMNS
                      PO BOX 442
                      PIERZ, MN 56364-0442


                      EASTERN NEBRASKA GUN CLUB
                      PO BOX 241612
                      OMAHA, NE 68124-5612
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                      EASTHAMPTON FISH & GAME ASSOCI
                      PO BOX 438
                      SOUTHAMPTON, MA 01073-0438


                      ECOLAB INC
                      26252 NETWORK PLACE
                      CHICAGO, IL 60673-1262


                      ED SNIFFEN
                      1031 W 4TH AVENUE SUITE 200
                      ANCHORAGE, AK 99501


                      EDWARDSBURG CONSERVATION CLUB
                      PO BOX 435
                      EDWARDSBURG, MI 49112


                      EFFECTIVE FIREARMS TRAINING LL
                      9806 W 60TH AVE
                      ARVADA, CO 80004


                      EGA DEFENSE LLC
                      1570 STATE ROUTE 38 NW
                      LONDON, OH 43140-9671


                      EILROF SERVICES, INC
                      640 MONTAUK WAY
                      ALPHARETTA, GA 30022-4705


                      EL CAMPO RIFLE AND PISTOL CLUB
                      PO BOX 1601
                      EL CAMPO, TX 77437-1601


                      ELASTICSEARCH INC
                      800 W EL CAMINO REAL
                      SUITE 350
                      MOUNTAIN VIEW, CA 94040
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                      ELECTRIC MOTOR REPAIR CO
                      8198A TERMINAL ROAD,STE.104
                      LORTON, VA 22079


                      ELECTRO RENT CORPORATION
                      10240 OLD COLUMBIA RD
                      SUITE D
                      COLUMBIA, MD 21046


                      ELECTRONIC TECH OF AMERICA INC
                      1096 MIDATLANTIC PARKWAY
                      MARTINSBURG, WV 25401


                      ELEMENT 27 INC
                      5583 ROSSEVELT ST
                      WHITEHALL, PA 18052


                      ELEY AMMUNITION
                      6 SUNSET PLAZA
                      KALISPELL, MT 59901


                      ELIAS ELOIM SECURITY INVESTIGA
                      817-819 NW 119 ST
                      NORTH MIAMI, FL 33168


                      ELICHAI LLC
                      116 N MAIN ST
                      LIVINGSTON, MT 59047


                      ELITE FIREARMS DEFENSE LLC
                      174 GLASTONBURY DR
                      MOORESVILLE, NC 28115


                      ELITE POWER AND ENERGY CORPORATION
                      11420 PLEASANT VALE ROAD
                      DELAPLANE, VA 20144
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                      ELITE POWER AND ENERGY CORPORATION
                      504 SHAW ROAD
                      SUITE 203
                      STERLING, VA 20166


                      ELIZABETH TOWNSHIP SPORTSMEN'S
                      40 COLONY SQ APT F
                      PITTSBURGH, PA 15239-2759


                      ELKHART COUNTY 4-H SHOOTING SP
                      66217 US HIGHWAY 33
                      GOSHEN, IN 46526-7341


                      ELLEN ROSENBLUM
                      JUSTICE BLDG
                      1162 COURT ST., NE
                      SALEM, OR 97301


                      ELLISON AVIATION INC
                      17917 S HOBART BLVD
                      GARDENA, CA 90248-3613


                      ELLWOOD WAMPUM ROD AND GUN CLU
                      322 MARTIN AVE
                      ELLWOOD CITY, PA 16117-2554


                      ELVERSON ROD AND GUN CLUB
                      2877 RIDGE RD
                      ELVERSON, PA 19520-8915


                      EMBRY-RIDDLE AERONAUTICAL UNIVERISTY INC
                      600 S CLYDE MORRIS BLVD
                      DAYTONA BEACH, FL 32114-3166


                      EMERALD EMPIRE GUN CLUB
                      PO BOX 1225
                      SPRINGFIELD, OR 97477-0149
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                      EMERALD EXPOSITIONS LLC
                      31910 DEL OBISPO
                      STE 200
                      SAN JUAN CAPISTRANO, CA 92675


                      EMERGENCY PREP NW LLC
                      10316 NE 197TH ST
                      BATTLE GROUND, WA 98604-7442


                      EMERSON KNIVES
                      1234 WEST 54TH ST
                      HARBOR CITY, CA 90710


                      EMMAUS CAPITAL HOLDINGS LLC
                      PO BOX 2442
                      RICHMOND HILL, GA 31324


                      EMPIRE PEWTER MFG CO INC
                      P O BOX 15
                      AMSTERDAM, NY 12010


                      EMPLOYMENT LAW GROUP PC, THE
                      888 17TH ST NW
                      SUITE 900
                      WASHINGTON, DC 20006


                      ENDURANCE AMERICAN SPECIALTY INS
                      1221 AVENUE OF THE AMERICAS
                      NEW YORK, NY 10020


                      ENERGY PANEL STRUCTURES
                      600 NNORTH VAN GORDON AVENUE
                      GRAETTINGER, IA 51342


                      EPIFANIO MARTINEZ
                      2021 SANTA FE DR
                      PUEBLO, CO 81006-2401
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                      EPLUS GROUP INC
                      PO BOX 8500-5270
                      PHILADELPHIA, PA 19178-5270


                      EPLUS GROUP, INC.
                      13595 DULLES TECHNOLOGY DRIVE
                      HERNDON, VA 20171


                      ERIC S. SCHMITT
                      SUPREME CT BLDG
                      207 W HIGH STREET
                      JEFFERSON CITY, MO 65101


                      ERP INC
                      14310 S INDIANA AVE
                      RIVERDALE, IL 60827-2823


                      ESC FIREARMS LLC
                      2800 OLD DAWSON RD STE 2-298
                      ALBANY, GA 31707


                      ESCONDIDO FISH & GAME ASSN.
                      P.O. BOX 460506
                      W-619-673-2844
                      ESCONDIDO, CA 92046


                      ESPOSITO MEDIATION LLC
                      8412 COMANCHE COURT
                      BETHESDA, MD 20817


                      ESWORTHY TARGET SYSTEM
                      301 4TH ST
                      BOX 19
                      ANNAPOLIS, MD 21403


                      ETHRIDGE ELECTRIC & GENERATOR SERVICES
                      6605 SIMMONS LANE
                      CLINTON, MD 20735
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                      EUSTIS GUN CLUB, INC
                      PO BOX 1284
                      EUSTIS, FL 32727-1284


                      EVENT LOGISTICS INC
                      700 CHURCH STREET
                      SUITE 100
                      NASHVILLE, TN 37203


                      EVENT TRANSPORTATION SYSTEMS INC
                      8500 PAUL REVER COURT
                      ANNANDALE, VA 22003


                      EX UMBRA DEFENSE SOLUTIONS
                      3854 SEIXAS PL
                      LAND O LAKES, FL 34639-4519


                      EXCELSIOR SPORTSMAN CLUB INC.
                      P.O. BOX 81
                      ELDRED, NY 12732


                      EXECUTIVE EAGLES ADV.
                      DBA PAS
                      1005 FREDERICK ROAD
                      CATONSVILLE, MD 21228


                      EXECUTIVE MAILING SERVICE
                      7855 WEST 111TH ST
                      PALOS HILLS, IL 60465


                      EXETER SPORTSMAN'S CLUB
                      PO BOX 1936
                      EXETER, NH 03833-1154


                      EXTREME TACTICS & TRAINING SOLUTIONS
                      620 GREATHOUSE RD
                      WAXAHACHIE, TX 75167-8326
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                      EXTREME TRAINING, LLC
                      1623 ARAB DR SE
                      OLYMPIA, WA 98501-6827


                      EXXON MOBILE/GECC
                      PROCESSING CENTER
                      PO BOX 688938
                      DES MOINES, IA 50368-8938


                      EYLER, JAMES R
                      2339 BOSTON ST
                      UNIT 4
                      BALTIMORE, MD 21224


                      F.I.T.S., INC.
                      3191 TERRACE AVE STE A
                      SLIDELL, LA 70458-4577


                      FACTIVA
                      DOW JONES & CO
                      PO BOX 30994
                      NEW YORK, NY 10087


                      FACTORYVILLE SPORTSMEN CLUB
                      139 CAREY HILL RD
                      TUNKHANNOCK, PA 18657-5639


                      FACTS ON FILE INC
                      132 WEST 31ST ST
                      16TH FLR
                      NEW YORK, NY 10001


                      FAIRFAX CITY GENERAL DISTRICT COURT
                      10455 ARMSTRONG ST
                      ROOM 304
                      FAIRFAX, VA 22030


                      FAIRFAX FLOORS, INC
                      2807-A MERRILEE DR
                      FAIRFAX, VA 22031
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                      FAIRFAX ROD & GUN CLUB INC
                      7039 SIGNAL HILL ROAD
                      MANASSAS, VA 20111-4212


                      FAIRFAX WATER
                      8570 EXECUTIVE PARK AVE
                      FAIRFAX, VA 22031


                      FAIRFAX WATER
                      PO BOX 71076
                      CHARLOTTE, NC 28272


                      FAIRFIELD SPORTSMEN'S ASSOC.
                      9292 CINCINNATI COLUMBUS RD
                      CINCINNATI, OH 45241-5121


                      FALL RIVER ROD AND GUN CLUB
                      PO BOX 571
                      FALL RIVER, MA 02722-0571


                      FALLS TWP. RIFLE & PISTOL ASSN
                      PO BOX 11
                      FAIRLESS HILLS, PA 19030-0011


                      FAMILY SUPPORT REGISTRY
                      PO BOX 2171
                      DENVER, CO 80201-2171


                      FARIBAULT RIFLE & PISTOL CLUB
                      22447 FAIRBANKS AVE
                      FARIBAULT, MN 55021-8381


                      FAYETTE COUNTY RIFLE & PISTOL
                      2704 N PARK RD
                      CONNERSVILLE, IN 47331-3039
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                      FEDEX
                      4103 COLLECTION CENTER DR
                      CHICAGO, IL 60693


                      FIDELITY ENGINEERING LLC
                      25 LOVETON CIRCLE
                      SPARKS, MD 21152


                      FIDELITY INVESTMENTS
                      INSTITUTIONAL OPERATIONS CO
                      PO BOX 73307
                      CHICAGO, IL 60673-7307


                      FIDELITY SECURITY LIFE INS - EYEMED
                      PO BOX 632530
                      CINCINNATI, OH 45263-2530


                      FIN & FEATHER CLUB OF MASON CO
                      6977 WEST PARTRIDGE CIR
                      LUDINGTON, MI 49431-9675


                      FIN FUR AND FEATHERS CLUB
                      PO BOX 102
                      FAIRHAVEN, MA 02719-0102


                      FINGER LAKES HUNT CLUB
                      PO BOX 251
                      AUBURN, NY 13021


                      FIRAC
                      1230 E RUSHOLME STREET
                      SUITE 107
                      DAVENPORT, IA 52803


                      FIRE & LIFE SAFETY AMERICA INC
                      7526 CONNELLEY DRIVE SUITE L
                      HANOVER, MD 21076
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                      FIRE AND LACE CONSULTING LLC
                      132 GLENN HILL DR
                      HENDERSONVILLE, TN 37075


                      FIREARMS EDUCATION & SAFETY
                      436 MOORLAND ST
                      VALLEJO, CA 94589-2914


                      FIREARMS SAFETY INSTRUCTOR GRO
                      1294 RIVERSIDE DR
                      SUAMICO, WI 54173-8113


                      FIREARMS TRAINING & EQUIPMENT
                      184 FAWN DR
                      REIDSVILLE, NC 27320-0256


                      FIREARMS TRAINING ACADEMY, INC
                      10910 SW 10TH CT
                      DAVIE, FL 33324-4160


                      FIRST DEFENSE FIREARMS INC
                      6 N MAIN ST STE 202B
                      UXBRIDGE, MA 01569-1871


                      FIRST TIME FIREARMS LLC
                      2 OAKDALE PL
                      BRANFORD, CT 06405


                      FIS DATA SYSTEMS INC
                      601 RIVERSIDE AVE
                      JACKSONVILLE, FL 32204


                      FISHER PRINT LLC
                      PO BOX 1020
                      MULINO, OR 97042
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                      FISHING VESSEL WINDY INC
                      8 SOUTH FULTON ST
                      MONTAUK, NY 11954


                      FLAGLER SPORTS & CONSERVATION
                      PO BOX 351221
                      PALM COAST, FL 32135-1221


                      FLOATING BANANA INC
                      1976 FITZPATRICK AVE SE
                      SALEM, OR 97306


                      FLORAL WAY INC
                      11130 SOUTH LAKES DR #K
                      RESTON, VA 20191


                      FLORENTINA ROSS
                      7583 FIELDSTONE RANCH SQ
                      VERO BEACH, FL 32967-2905


                      FLORHAM RIFLE AND PISTOL CLUB
                      127 BEECHWOOD RD
                      FLORHAM PARK, NJ 07932-2804


                      FLORIDA DEPARTMENT OF REVENUE
                      5050 W. TENNESSEE STREET
                      TALLAHASSEE, FL 32399-0120


                      FLORIDA FIREARMS INSTRUCTOR
                      5340 WINHAWK WAY
                      LUTZ, FL 33558-8038


                      FLORIDA GUN EXCHANGE
                      1050 S NOVA RD
                      ORMOND BEACH, FL 32174-7341
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                      FLYING D GUN CLUB LLC
                      7301 US HIGHWAY 27
                      BRANFORD, FL 32008


                      FLYING LEAP FILMS INC
                      1379 NORTH BROOKHURST CIRCLE
                      CENTERVILLE, UT 84014


                      FLYNN ENTERPRISES INC
                      ALLEGRA PRINT & IMAGING
                      45668 TERMINAL DR
                      DULLES, VA 20166


                      FN AMERICA
                      PO BOX 9424
                      MCLEAN, VA 22102


                      FOOSLAND SPORTSMAN'S CLUB
                      208 WEST VINE ST LOT 18
                      LE ROY, IL 61752-1797


                      FORD CREDIT
                      PO BOX 790072
                      ST. LOUIS, MO 63179-0072


                      FORD MOTOR CREDIT (RED CARPET LEASE)
                      6120 STONERIDGE MALL DR
                      SUITE 200
                      PLEASANTON, CA 94588


                      FOREMOST DEFENSIVE SOLUTIONS L
                      962 S 1630 W
                      LEHI, UT 84043-4819


                      FORENSIC RISK ALLIANCE, INC.
                      40 WESTMINSTER ST
                      SUITE 500
                      PROVIDENCE, RI 02903
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                      FORGE PROMOTIONS LLC
                      PO BOX 1899
                      ATTLEBORO, MA 02703


                      FORT CLARK GUN CLUB
                      PO BOX 1816
                      BRACKETTVILLE, TX 78832-1816


                      FORT FAIRFIELD RIFLE AND PISTO
                      PO BOX 287
                      FT FAIRFIELD, ME 04742-0287


                      FORT HILL RIFLE & PISTOL CLUB
                      12920 GRAMLICH RD SW
                      LAVALE, MD 21502-6114


                      FORT LARNED ARMS ASSN. INC.
                      916 MAIN STREET
                      P.O. BOX 477
                      LARNED, KS 67550-0477


                      FORUM FOUNDRY INC
                      PO BOX 3503
                      CEDAR PARK, TX 78630-3503


                      FOUNDATION FIRST FIREARMS ACAD
                      8920 PAXTON RD
                      JACKSONVILLE, FL 32219-2358


                      FOUR ACES, INC.
                      6604 N 30TH ST
                      OMAHA, NE 68112-3310


                      FOUR SCORE AND SEVEN FIREARMS
                      461 PHEASANT RIDGE RD
                      LAKE ZURICH, IL 60047
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                      FOUR STAR PRINTING
                      43671 TRADE CENTER PL., STE 154
                      DULLES, VA 20166


                      FOXCROFT COLONY CONDOMINIUM UNIT OWNERS
                      3201 JERMANTOWN RD
                      STE 800
                      FAIRFAX, VA 22030


                      FRAN AND MIKE LLC
                      370 MARIAVILLE RD
                      SCHENECTADY, NY 12306


                      FRANCHISE TAX BOARD
                      P O BOX 942857
                      SACRAMENTO, CA 94257-0551


                      FRANKLIN REVOLVER & RIFLE ASSO
                      PO BOX 42
                      FRANKLIN, NJ 07416-0042


                      FREDERICK CHAPTER #1 IZZAK WAL
                      5818 MORLAND DR N
                      ADAMSTOWN, MD 21710-9456


                      FREEDOM FIREARMS 101 LLC
                      S3570 SNYDER LN
                      VIROQUA, WI 54665


                      FREEMAN DECORATING SERVICES COMPANY
                      8801 AMBASSADOR DR
                      DALLAS, TX 75247-4622


                      FREEMAN EXPOSITIONS INC
                      PO BOX 660613
                      DALLAS, TX 75266-0613
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                      FRONTIERS TACTICAL TRAINING LL
                      1817 MCGOUGAN RD
                      FAYETTEVILLE, NC 28303-4178


                      FTI
                      8 VREELAND RD
                      FLORHAM PARK, NJ 07932


                      FTS TRAINING LLC
                      700 PLEASANT ST STE LL2
                      NEW BEDFORD, MA 02740-6254


                      FULLSCOPE TRAINING LLC
                      1204 PARKWOOD LN
                      GARDEN CITY, KS 67846-4560


                      FULTON GOODWILL ENTERPRISES IN
                      539 CAPITAL AVE SW
                      BATTLE CREEK, MI 49015-2627


                      FUNDAMENTAL FIREARMS MANAGEMENT, LLC
                      11903 MAIN STREET
                      FREDERICKSBURG, VA 22408


                      G&G INTERNATIONAL,LLC
                      3033 S.PARKER RD.
                      SUITE 504
                      AURORA, CO 80014


                      G&G OUTFITTERS INC
                      4901 FORBES BLVD
                      LANHAM, MD 20706


                      G-FORCE INVESTIGATIONS LLC
                      50 SOUTHVIEW DRIVE
                      BIGLERVILLE, PA 17307
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                      G-OUTDOORS, INC
                      13947 CENTRAL AVE
                      CHINO, CA 91710


                      G.A.T. GUNS
                      14N. 915 RT. 25
                      DUNDEE, IL 60118


                      G96 PRODUCTS COMPANY
                      85 5TH AVE
                      BUILDING #6
                      PATERSON, NJ 07524


                      GALCO INTERNATIONAL INC.
                      2019 WEST QUAIL AVE
                      PHOENIX, AZ 85027


                      GARAN INVESTMENTS INC
                      PO BOX 540344
                      HOUSTON, TX 77254-0344


                      GARDEN SPOT GIFTS, INC.
                      150 NORTH 3RD ST
                      GETTYSBURG, PA 17325


                      GARRISON RIFLE AND REVOLVER CL
                      1365 RIVERWOOD WAY
                      CURTIS BAY, MD 21226-2147


                      GASPARE MARTURANO
                      6 BROOKDALE LN
                      BROOKFIELD, CT 06804-3000


                      GATEHOUSE CANDLES LLC
                      69 W MAIN ST
                      WAYNESBORO, PA 17268-1555
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                      GATEWAY CIVIL LIBERTIES ALLIAN
                      5133 CROSSWOOD DR
                      SAINT LOUIS, MO 63129-2408


                      GATLINBURG SPORTMEN'S CLUB
                      PO BOX 1666
                      GATLINBURG, TN 37738-1666


                      GCF SOLUTIONS, LLC
                      7277 TINSLEY WAY
                      MANASSAS, VA 20111


                      GENERAL ARMY SURPLUS
                      1256 HALLS CHAPEL RD
                      BOWLING GREEN, KY 42101


                      GENERAL EXPOSITION SERVICES INC
                      205 WINDSOR RD
                      POTTSTOWN, PA 19464


                      GENESIS ONE ACADEMY LLC
                      2902 IRONWOOD DR
                      AKRON, OH 44312-5809


                      GENX COMBAT SOLUTIONS LLC
                      1410 QUINCE ST
                      SULPHUR, LA 70663-6120


                      GEORGIA WILDLIFE FEDERATION
                      11600 HAZELBRAND ROAD
                      COVINGTON, GA 30014


                      GETTY IMAGES (US) INC
                      P O BOX 953604
                      ST.LOUIS, MO 63195-3604
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                      GFK MEDIAMARK & RESEARCH & INTELLIGENCE,
                      ATTN: FINANCE
                      200 LIBERTY ST
                      1 WORLD FINANCIAL CENTER, 4TH FL
                      NEW YORK, NY 10281


                      GFK US HOLDINGS INC
                      200 LIBERTY ST
                      1 WORLD FINANCIAL CENTER, 4TH FL
                      NEW YORK, NY 10281


                      GHOSTBLIND
                      PO BOX 644
                      MARIETTA, OH 45750


                      GLEN BURNIE GUN CLUB
                      3035 FREEWAY
                      BALTIMORE, MD 21227


                      GLM COMMUNICATIONS INC
                      242 WEST 27TH STREET STE 1B
                      NEW YORK, NY 10001


                      GLOBAL ELITE PROTECTION & SECU
                      223 E FLAGLER ST
                      STE 504
                      MIAMI, FL 33131


                      GLOBAL EXPERIENCE SPECIALISTS INC
                      7050 LINDEL RD
                      LAS VEGAS, NV 89118


                      GLOBAL NEW BEGININGS INC.
                      4042 W. 82ND COURT
                      MERRILLVILLE, IN 46410


                      GLOBAL PHOTOLOGISTS LTD
                      7248 15H CT NE
                      SAINT PETERSBURG, FL 33702-4604
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                      GLOBAL PRINTING INC
                      3670 WHEELER AVE
                      ALEXANDRIA, VA 22304


                      GLOBAL RESOURCE SERVICES LLC
                      6929 N HAYDEN RD
                      SUITE C4-308
                      SCOTTSDALE, AZ 85250-7970


                      GLOBAL TRADING AGENTS
                      464 ALLEN ROAD
                      SWEETWATER, TN 37874


                      GLOBE-MIAMI GUN CLUB
                      PO BOX 336
                      GLOBE, AZ 85502-0336


                      GODFATHER GUNNS SERVICES
                      12231 SW 205TH TER
                      MIAMI, FL 33177-5659


                      GOLD CRUST BAKING CO INC
                      6200 COLUMBIA PARK RD
                      LANDOVER, MD 20875


                      GOLDEN GATE NRA MEMBERS COUNCI
                      1279 43RD AVE
                      SAN FRANCISCO, CA 94122-1212


                      GOLDEN GUN CLUB
                      6097 DUNRAVEN ST
                      GOLDEN, CO 80403-1005


                      GOLDEN TRIANGLE GUN CLUB
                      PO BOX 696
                      PORT NECHES, TX 77651-0696
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                      GOLF PRESS ASSOCIATION
                      5241 TURNING BRANCH WAY
                      GLEN ALLEN, VA 23059


                      GOOD PRINTERS INC
                      213 DRY RIVER ROAD
                      BRIDGEWATER, VA 22812


                      GOOD SPORTSMAN MARKETING, LLC
                      ATTN: PAUL BUTSKI
                      3385 ROY ORR BLVD
                      GRAND PRAIRIE, TX 75050


                      GOOGLE
                      1600 AMPHITHEATRE PARKWAY
                      MOUNTAIN VIEW, CA 94043


                      GOPHER RIFLE AND REVOLVER CLUB
                      PO BOX 18023
                      MINNEAPOLIS, MN 55418-0023


                      GORDON MACDONALD
                      33 CAPITOL STREET
                      CONCORD, NH 03301


                      GOSCHINSKI FIN FEATHER FUR OUT
                      606 US HIGHWAY 250 E
                      ASHLAND, OH 44805


                      GOULD PAPER CORPORATION
                      C/O WARREN CONNOR
                      99 PARK AVENUE
                      10TH FLOOR
                      NEW YORK, NY 10016


                      GOVERNOR'S RESIDENCE
                      4750 N MERIDIAN ST
                      INDIANAPOLIS, IN 46208
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                      GRAINGER
                      101 INTERNATIONAL DR.
                      DULLES, VA 20166


                      GRANITE TELECOMMUNICATIONS LLC DC
                      100 NEWPORT AVENUE EXTENSION
                      BOSTON, MA 02171


                      GRATIOT CONSERVATION CLUB
                      614 MAPLE ST
                      LENA, IL 61048


                      GRAY LOON OUTDOOR MARKETING GROUP
                      300 SE RIVERSIDE DR
                      SUITE 200
                      EVANSVILLE, IN 47713


                      GREATER RICHMOND CONVENTION CENTER AUTHO
                      403 N THIRD ST
                      RICHMOND, VA 23219


                      GREEN HILLS MEDIA & COMMUNICAT
                      35 E HORIZON RIDGE
                      SUITE 110-199
                      HENDERSON, NV 89002


                      GREEN MILL SPORTSMAN'S
                      PO BOX 350506
                      WESTMINSTER, CO 80035-0506


                      GREEN TOP SPORTING GOODS
                      10193 WASHINGTON HWY
                      GLEN ALLEN, VA 23059-1959


                      GREEN VALLEY RIFLE AND PISTOL
                      4350 E ACADEMY RD
                      HALLSVILLE, MO 65255-9707
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                      GREENBELT GUN CLUB INC
                      PO BOX 14
                      GREENBELT, MD 20768-0014


                      GREENE COUNTY FISH & GAME ASSO
                      PO BOX 64
                      XENIA, OH 45385-0064


                      GREENFEILD FISH & GAME CLUB
                      218 FAIRWAY DRIVE
                      NEW HARTFORD, NY 13413


                      GRIFFIN GUN CLUB
                      168 REBECCA CIRCLE
                      GRIFFIN, GA 30224


                      GRINDING CO OF AMERICA INC
                      105 ANNABEL AVE.
                      BALTIMORE, MD 21225


                      GROUP THERAPY FIREARMS TRAININ
                      244 SEAL AVE
                      BILOXI, MS 39530-2920


                      GRUVER COMPANY INC
                      3342 BLADENSBURG ROAD
                      LOWER LEVEL-B
                      BRENTWOOD, MD 20722


                      GTG LLP
                      7251 AMIGO ST
                      SUITE 210
                      LAS VEGAS, NV 89119


                      GUARDIAN 6 LLC
                      225 HWY 50
                      KENDALL, KS 67857
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                      GUARDIAN PERSONAL DEFENSE TRAI
                      403 LENNOX CT
                      OSWEGO, IL 60543


                      GUERNSEY OFFICE PROD
                      PO BOX 10846
                      CHANTILLY, VA 20153


                      GULF COAST SHOOTERS LLC
                      20 LOBLOLLY CT
                      MANDEVILLE, LA 70448-7551


                      GUN DIGEST
                      PO BOX 421757
                      PALM COAST, FL 32142-9875


                      GUNLOCK, JULIE V
                      907 WEST BRADDOCK RD
                      ALEXANDRIA, VA 22302


                      GUNSITE ACADEMY, INC
                      2900 W GUNSITE RD
                      PAULDEN, AZ 86334-4301


                      GUNZILLA/TOP DUCK PRODUCTS LLC
                      2902 SANDERS RD
                      LANSING, MI 48917


                      GURBIR GREWAL
                      RICHARD J. HUGHES JUSTICE COMPLEX
                      25 MARKET STREET
                      PO BOX 080
                      TRENTON, NJ 08625


                      H&M METAL PROCESSING
                      1414 KENMORE BOULEVARD
                      AKRON, OH 44314
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                      HAL HARLESS
                      1107 CLYDE EDGERTON DR
                      KERNERSVILLE, NC 27284-7972


                      HALE NORTHEASTERN INC
                      828 EAST FERRY ST
                      BUFFALO, NY 14211


                      HALTOM CITY RIFLE AND PISTOL C
                      PO BOX 14291
                      FORT WORTH, TX 76117-0291


                      HAMBURG RIFLE & PISTOL CLUB
                      PO BOX 12
                      HAMBURG, PA 19526-0012


                      HAMBURG ROD & GUN
                      PO BOX 187
                      HAMBURG, NY 14075-0187


                      HAMBY SERVICES CORPORATION
                      30 BUCKHORN TRAIL
                      HARTWOOD, VA 22406


                      HAMDEN FISH & GAME PROT ASC
                      PO BOX 5619
                      HAMDEN, CT 06525


                      HAMILTON & WENHAM ROD & GUN CL
                      PO BOX 2413
                      SOUTH HAMILTON, MA 01982-0413


                      HAMILTON FAMILY ENTERPRISES IN
                      4201 S PARKER RD
                      AURORA, CO 80014-4203
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                      HAMPTON ROD & GUN CLUB, INC
                      PO BOX 826
                      HAMPTON, NH 03843-0826


                      HANFORD COMBAT PISTOL TEAM
                      PO BOX 1600
                      #G5-50
                      RICHLAND, WA 99352-1676


                      HARLEY LIMEHOUSE, JR
                      PO BOX 540
                      JOHNS ISLAND, SC 29457-0540


                      HARRISBURG HUNTERS & ANGLERS A
                      6611 HUNTERS RUN RD
                      HARRISBURG, PA 17111-4828


                      HARRISBURG MALL LIMITED PARTNERSHIP
                      2560 LORD BALTIMORE DR
                      BALTIMORE, MD 21244


                      HARTWICK COLLEGE
                      1 HARTWICK DRIVE
                      PO BOX 4020
                      ONEONTA, NY 13820


                      HAT CREEK RIFLE AND PISTOL CLU
                      21212 OAK KNOLL RD
                      REDDING, CA 96003-7682


                      HAUPTMAN HAM LLP
                      LOWE HAUPTMAN HAM & BERNER LLP
                      1700 DIAGONAL ROAD
                      SUITE 310
                      ALEXANDRIA, VA 22314


                      HAVERHILL HOUND ROD & GUN CLUB
                      PO BOX 770
                      HAVERHILL, MA 01831-1477
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                      HAWAII DEPARTMENT OF TAXATION
                      PO BOX 1425
                      HONOLULU, HI 96806-1425


                      HEAD START CAPS
                      17145 MARGAY AVE
                      CARSON, CA 90746


                      HEAD WEST INC.
                      15650 S. AVALON BLVD
                      COMPTON, CA 90220


                      HECKLER & KOCH, INC.
                      5675 TRANSPORT BLVD
                      COLUMBIA, GA 35173


                      HECLA COMMUNITY SPORTSMAN CLUB
                      BOX 151
                      HECLA, SD 57446


                      HECTOR BALDERAS
                      PO DRAWER 1508
                      SANTA FE, NM 87504


                      HELEN BERMAN MARKETING CONSULTANTS, INC.
                      15330 ALBRIGHT ST #302
                      PACIFIC PALISADES, CA 90272


                      HENRICO COUNTY
                      4301 EAST PARHAM ROAD
                      HENRICO, VA 23228


                      HENRY REPEATING ARMS CO.
                      59 EAST 1ST STREET
                      BAYONNE, NJ 07002
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                      HERBERT SLATERY
                      425 5TH AVENUE NORTH
                      NASHVILLE, TN 37243


                      HERMINIE #2 GAME ASSOCIATION
                      PO BOX 13
                      HERMINIE, PA 15637-0013


                      HERNANDO SPORTSMAN CLUB INC.
                      P.O. BOX 10754
                      BROOKSVILLE, FL 34601


                      HI DESERT ROD AND GUN CLUB
                      PO BOX 69
                      YUCCA VALLEY, CA 92286-0069


                      HI-TECH TACKLE
                      14369 PAK ORCHARD ON THE LAKE
                      WATERPORT, NY 14571


                      HICKORY CREEK OUTFITTER
                      1230 WEST 570TH AVE
                      MCCUNE, KS 66753


                      HIGH CALIBER CONCEALED CARRY T
                      PO BOX 196
                      HIGDEN, AR 72067


                      HIGH ROCK SHOOTING ASSN
                      96 TAINE MOUNTAIN RD
                      BURLINGTON, CT 06013-1913


                      HIGHLAND PISTOL & RIFLE CLUB
                      13312 BELLM RD
                      PO BOX 2
                      HIGHLAND, IL 62249-0002
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                      HIS SIGN: SIGN LANGUAGE IN TERPRETING
                      44050 ASHBURN SHOPPING PLAZA
                      SUITE 195-639
                      SHABURN, VA 20147


                      HNR GUNWORKS LLC
                      3238 S FLORIDA AVE
                      INVERNESS, FL 34450-6876


                      HOBBS GUN CLUB
                      PO BOX 2295
                      HOBBS, NM 88241-2295


                      HODGKINS AND ASSOCIATES
                      4747 PINNACLE DRIVE
                      BRADENTON, FL 34208


                      HOLLYWOOD BANNERS INC -USE 10020490
                      539 OAK STREET
                      COPIAQUE, NY 11726


                      HOLLYWOOD RIFLE AND PISTOL CLU
                      2989 STIRLING RD
                      DAHIA BEACH, FL 33312-6528


                      HOLMES HARBOR ROD & GUN CLUB
                      PO BOX 151
                      LANGLEY, WA 98260-0151


                      HOLMESBURG FISH & GAME PROTECT
                      5100 PENNYPACK ST
                      PHILADELPHIA, PA 19136-1620


                      HOLTZMAN VOGEL JOSEFIAK PLLC
                      45 NORTH HILL DR
                      STE 100
                      WARRENTON, VA 20186
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                      HOLYOKE REVOLVER CLUB INC
                      PO BOX 543
                      HOLYOKE, MA 01041-0543


                      HOME GUARD ASSOCIATES INC
                      3 DOUGLAS CT N
                      HOMOSASSA, FL 34446-3832


                      HOMEWOOD RIFLE AND PISTOL CLUB
                      6704 QUIET HOURS
                      COLUMBIA, MD 21045


                      HONEYWELL SPORTSMAN CLUB
                      2500 W UNION HILLS DR
                      PHOENIX, AZ 85027-5139


                      HOOSIER HILLS RIFLE & PISTOL C
                      3520 VOYLES RD
                      MARTINSVILLE, IN 46151-8412


                      HOOTSUITE INC
                      5 EAST 8TH AVENUE
                      VANCOUVER V5T1R6


                      HORMAN, BROOK GILBERT
                      2511 FILMORE ST
                      SALT LAKE CITY, UT 84106


                      HORMTOWN RIFLE & PISTOL
                      210 E MAIN ST
                      REYNOLDSVILLE, PA 15851-1247


                      HORN INTERPRETING SERVICES INC
                      1453 E VESPER TRAIL
                      PO BOX 279
                      SAN TAN VALLEY, AZ 85140
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                      HOUSE DOCTOR, LLC
                      4529 E LUDLOW DR
                      PHOENIX, AZ 85032-5512


                      HOWARDS GROVE ROD AND GUN CLUB
                      519 CARDINAL LN
                      HOWARDS GROVE, WI 53083-1406


                      HOWELL GUN CLUB
                      PO BOX 53
                      HOWELL, MI 48844-0053


                      HUDSON FISH & GAME CLUB
                      29 SAINT ANTHONY DR
                      HUDSON, NH 03051-5066


                      HUDSON VALLEY SPORTSMEN'S ASSO
                      3 BAIN AVE
                      POUGHKEEPSIE, NY 12601-1830


                      HUMAN KINETICS
                      ATTN: JENNIFER MULCAHEY
                      1607 N. MARKET STREET
                      P.O. BOX 5076
                      CHAMPAIGN, IL 61820


                      HUMBOLDT RIFLE AND PISTOL CLUB
                      708 2ND AVE N
                      DAKOTA CITY, IA 50529-5118


                      HUNGERFORD ARMS CO LTD
                      101 NORTH WELLWOOD AVENUE
                      SUITE 9
                      LINDENHURST, NY 11757


                      HUNTER'S GARDEN INC
                      PO BOX 273
                      SPEONK, NY 11972-0273
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                      HUNTINGTON RIFLE & PISTOL CLUB
                      3958 SCOUT CAMP ROAD
                      ONA, WV 25545


                      HUNTSMAN HOLDINGS LLC
                      2500 EAST KEARNEY ST
                      SPRINGFIELD, MO 65898


                      HURON GUN COLLECTORS INC
                      554 W MAIN ST
                      MANCHESTER, MI 48158


                      HURRICANE BUTTERFLY HOLDINGS I
                      100 ANDOVER PARK W STE 150-105
                      TUKWILA, WA 98188


                      I156, LLC
                      141 ROBERT E LEE BLVD #247
                      NEW ORLEANS, LA 70124-2534


                      I2INTERGRATION
                      ATTN: FORSEBERG GROUP INC.
                      1001 CENTENNIAL WAY
                      SUITE 401
                      LANSING, MI 48917


                      ICFRA
                      45 SHIRLEY BLVD
                      NEPEAN, ONTARIO K2K2W6


                      IDAHO STATE TAX COMMISSION
                      800 PARK BLVD PLAZA IV
                      PO BOX 36
                      BOISE, ID 83722-2210


                      IDENTIFY YOURSELF
                      61246 NORTH CROATAN HIGHWAY
                      KITTY HAWK, NC 27949
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                      IDENTITY STRONGHOLD, LLC
                      565 PAUL MORRIS DRIVE
                      ENGLEWOOD, FL 34223


                      IDM PRODUCTIONS LLC
                      PO BOX 5506
                      WINTER PARK, FL 32793


                      IDSCIENCE INC
                      23 JAYAR RD
                      MEDWAY, MA 02053


                      IHEART COMMUNICATIONS INC
                      20880 STONE OAK PKWY
                      SAN ANTONIO, TX 78258-7460


                      IHEART MEDIA & ENTERTAINMENT INC
                      1559 W 4TH ST
                      WILLAIMSPORT, PA 17701


                      ILES CUSTOM GUNSMITHING
                      10290 JONESVILLE RD
                      ALLEN, MI 49227


                      ILLIANA SKEET & TRAP CLUB LLC
                      PO BOX 271
                      CAYUGA, IN 47928-0271


                      ILLINOIS CHARITY BUREAU FUND
                      100 W RANDOLPH ST
                      11TH FLR
                      CHICAGO, IL 60601


                      ILLINOIS DEPARTMENT OF NATURAL RESOURCES
                      ONE NATURAL RESOURCES WAY, OFFICE OF THE
                      SPRINGFIELD, IL 62702
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                      ILLINOIS DEPARTMENT OF REVENUE, RETAILER
                      ILLINOIS DEPARTMENT OF REVENUE
                      RETAILERS OCCUPATION TAX
                      SPRINGFIELD, IL 62796-0001


                      IMAGE DIRECT
                      200 MONROE AVE
                      BUILDING 4
                      FREDERICK, MD 21701


                      IMAGES ON THE WILDSIDE
                      18 GARDENER PARK DR
                      BOZEMAN, MT 59715


                      IMPACT GUNS AND ARCHERY
                      10306 AIRPORT HWY
                      SWANTON, OH 43558-9609


                      INBANK
                      PO BOX 1028
                      RATON, NM 87740


                      INDIANA & OHIO FIREARM LLC
                      9959 STATE ROUTE 49
                      ROCKFORD, OH 45882-9707


                      INDIANA DEPARTMENT OF REVENUE
                      PO BOX 7218
                      INDIANAPOLIS, IN 46207-7218


                      INDIANA PRINTING AND PUBLISHING
                      1713 GRAFTON RIDGE CT
                      FOREST HILL, MD 21050


                      INDIANA STATE RIFLE & PISTOL A
                      2101 EVANS AVE
                      VALPARAISO, IN 46383-4007
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                      INFOCISION MANAGEMENT CORP
                      325 SPRINGSIDE DR
                      AKRON, OH 44333


                      INFORMATICA CORPORATION
                      2100 SEAPORT BOULEVARD
                      REDWOOD CITY, CA 94063


                      INGSOC DEFENSIVE LLC
                      PO BOX 1483
                      MEDINA, OH 44258-1483


                      INNOVATIVE ACQUISITIONS INC DB
                      6511 BARFIELD DR
                      DALLAS, TX 75252-2503


                      INOVA EMPLOYEE ASSISTANCE-FOR EAP
                      3949 PENDER DR
                      SUITE 310
                      FAIRFAX, VA 22030


                      INOVA HEALTH CARE SERVICES
                      2700 PROSPERITY AVE
                      SUITE 100
                      FAIRFAX, VA 22031


                      INSIGHT FIREARMS TRAINING LLC
                      2407 W EASY ST
                      ROGERS, AR 72756


                      INTEGRAL DEFENSE GROUP LLC
                      78 MORRIS CRES
                      WEST SENECA, NY 14224


                      INTEGRITY LAND WORKS LLC
                      3817 ELIZABETHTOWN ROAD
                      MANHEIM, PA 17545
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                      INTELLIGENCE SERVICES LLC
                      PO BOX 142682
                      SAINT LOUIS, MO 63114


                      INTELLIGENT FIREARM SOLUTIONS
                      5B HOMESTEAD DR
                      DERRY, NH 03038-4447


                      INTELLIMARK TECHNOLOGIES INC
                      909 AVIATION PARKWAY
                      SUITE 900
                      MORRISVILLE, NC 27560


                      INTERNAL REVENUE SERVICE
                      PHILADELPHIA SERVICE CENTER
                      PHILADELPHIA, PA 19255-0030


                      INTERNAL REVENUE SERVICE (IRS)
                      1111 CONSTITUTION AVENUE NORTHWEST
                      WASHINGTON, D.C., DC 20224


                      INTERNAL REVENUE SERVICE (IRS)
                      1111 CONSTITUTION AVENUE NORTHWEST
                      WASHINGTON, D.C., DC 20224


                      INTERNAL REVENUE SERVICE, DEPARTMENT OF
                      201 WEST RIVERCENTER BLVD
                      COVINGTON, N/A 41011-0000


                      INTERNATIONAL FIREARMS CONSULTANTS
                      PO BOX 720
                      KINGSTON, NH 03848


                      INTERNATIONAL INSTITUTE FOR CONFLICT PRE
                      30 EAST 33 STREET
                      6 FLOOR
                      NEW YORK, NY 10016
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                      INTERNATIONAL SECURITY SERVICE
                      6619 S DIXIE HWY # 149
                      MIAMI, FL 33143-7919


                      INTERNATIONAL SPORTSMEN'S EXPO
                      PO BOX 2569
                      VANCOUVER, WA 98668


                      INTL LAW ENFORCEMENT & TRAINER
                      109 THERESA DRIVE
                      MULLICA HILL, NJ 08062


                      INTRADO ENTERPRISE COLLABORATION INC
                      11808 MIRACLE HILLS DR
                      OMAHA, NE 68154


                      INTRADO LIFE & SAFETY
                      11808 MIRACLE SALES DRIVE
                      OMAHA, NE 68154


                      INVENTIVE INCENTIVES AND INSURANCE SERVI
                      6100 KENTLAND AVENUE
                      WOODLAND HILLS, CA 91367


                      INVICIS, INC
                      9042 E ZEBULON CIR
                      PARKER, CO 80134-5730


                      IOWA SHOW PRODUCTIONS INC
                      PO BOX 2460
                      WATERLOO, IA 50704


                      IOWA STATE RIFLE & PISTOL ASSN
                      240 PROSPECT RD
                      NORTH LIBERTY, IA 52317-9660
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                      IPROMOTEU.COM INC
                      DEPT CH 17195
                      PALATINE, IL 60055-7195


                      IRON MOUNTAIN
                      PO BOX 27129
                      NEW YORK, NY 10087-7129


                      IRON MOUNTAIN INTELLECTUAL PRO
                      2100 NORCROSS PARKWAY
                      SUITE 150
                      NORCROSS, GA 30071


                      IRON MOUNTAIN RECORDS MGMT
                      1000 CAMPUS DRIVE
                      COLLEGEVILLE, PA 19426


                      IRVING ISD TAX OFFICE
                      2621 W AIRPORT FWY
                      PO BOX 152021
                      IRVING, TX 75015-2021


                      ITASCA GUN CLUB
                      PO BOX 201
                      GRAND RAPIDS, MN 55744-0201


                      ITO AND BOYS LLC
                      2631 US HWY 84
                      CHAMA, NM


                      IZAAK WALTON LEAGUE OF AMERICA
                      PO BOX 118
                      DAMASCUS, MD 20872-0118


                      J AND J FAMILY DEFENSE LLC
                      133 DELANEY CT
                      RINEYVILLE, KY 40162
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                      J JENKINS SONS CO INC
                      ATTN: SHIRLEY SPARAGANA
                      1801 WHITEHEAD RD
                      BALTIMORE, MD 21207


                      J&A MARKETING LLC
                      200 COMPASS CIRCLE
                      NORTH KINGSTOWN, RI 02852


                      J. DAVID THOMPSON, SR.
                      5420 ALPINE DR
                      CROSS LANES, WV 25313-1665


                      JAKES GOLF CARTS LLC
                      7741 US HWY 522 SOUTH
                      MCVEYTOWN, PA 17051


                      JAMESTOWN RIFLE CLUB INC.
                      P.O. BOX 152
                      JAMESTOWN, NY 14702


                      JAMS, INC
                      18881 VON KARMAN AVE, SUITE 350
                      IRVINE, CA 92612


                      JAMS, INC.
                      ARBITRATION AND ADR SERVICES
                      71 S. WACKER DRIVE
                      SUITE 2400
                      CHICAGO, IL 60606


                      JANE SNAPP
                      427 LONGWORTH BLVD
                      DUNCANVILLE, TX 75116-2633


                      JARVIS FIREARMS TRAINING LLC
                      3608 GOLD CREST LN
                      ROSAMOND, CA 93560-6804
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                      JASON RAVNSBORG
                      1302 EAST HIGHWAY 14
                      SUITE 1
                      PIERRE, SD 57501


                      JEFF LANDRY
                      PO BOX 94095
                      BATON ROUGE, LA 70804


                      JEFFERSON CITY PARISH, BUREAU OF REVENUE
                      PO BOX 248
                      GRETNA, LA 70054-0248


                      JEFFERSON LEASING
                      BANCORP BANK, THE
                      2127 ESPY COURT, SUITE 208
                      CROFTON, MD 21114


                      JEFFERSON SPORTSMENS ASSOC.
                      PO BOX 54
                      CODORUS, PA 17311-0054


                      JENNINGS CONSULTING CORPORATIO
                      406 PLEASANT MEADOWS CV
                      CABOT, AR 72023-8961


                      JOE BOB OUTFITTERS
                      4850 GENERAL HAYS RD
                      HAYS, KS 67601-6002


                      JOHN CABOT UNIVERSITY
                      1999 MOMENTUM PLACE
                      CHICAGO, IL 60689-5319


                      JOHN R. AMES, CTA
                      DALLAS COUNTY TAX ASSESSOR
                      PO BOX 139066
                      DALLAS, TX 75313-9066
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                      JOHNSBURG'S JR OUTDOOR CLUB INC
                      500 HUDSON ST
                      JOHNSBURG, NY 12843


                      JOHNSTOWN INC
                      2000 WEST 41ST STREET
                      BALTIMORE, MD 21211


                      JOHNSTOWN RIFLE & PISTOL CLUB
                      PO BOX 1148
                      JOHNSTOWN, PA 15907-1148


                      JOSH KAUL
                      WISCONSIN DEPARTMENT OF JUSTICE
                      STATE CAPITOL, ROOME 114 EAST
                      PO BOX 7857
                      MADISON, WI 53707


                      JOSH SHAPIRO
                      PENNSYLVANIA OFFICE OF ATTORNEY GENERAL
                      16TH FLOOR
                      STRAWBERRY SQUARE
                      HARRISBURG, PA 17120


                      JOSH STEIN
                      DEPT OF JUSTICE
                      PO BOX 629
                      RALEIGH, NC 27602


                      JP LILLEY & SON INC
                      2009 NORTH 3RD ST
                      HARRISBURG, PA 17102


                      JP SQUARED CONSULTING INC
                      6972 W 81ST AVE
                      ARVADA, CO 80003-2015


                      JT INTERNATIONAL, INC
                      1500 N DIXIE HWY #200
                      WEST PALM BEACH, FL 33401-2716
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                      JUDGE OF PROBATE
                      PO BOX 233
                      MONTGOMERY, AL 36101-0233


                      K B STEWART EXCLUSIVE GUNS
                      11261 S 800 W
                      COVINGTON, IN 47932-7938


                      K&L GATES
                      599 LEXINGTON AVE
                      NEW YORK, NY 10022


                      K3 TACTICAL LLC
                      119 TAMIAMI TRAIL STE D
                      PORT CHARLOTTE, FL 33953-4555


                      KAESER & BLAIR INC
                      4236 GRISSOM DRIVE
                      BATAVIA, OH 45103


                      KANSAS DEPT OF REVENUE
                      915 SW HARRISON ST
                      TOPEKA, KS 66625-5000


                      KANSAS SECRETARY OF STATE
                      120 SW 10TH AVE
                      1ST FLR
                      TOPEKA, KS 66612-1594


                      KARL RACINE
                      400 6TH ST
                      NW
                      WASHINGTON, D.C., DC 20001


                      KASTLE SYSTEMS, LLC
                      6402 ARLINGTON BLVD.
                      FALLS CHURCH, VA 22042
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                      KATHY JENNINGS
                      CARVEL STATE OFFICE BUILDING
                      820 N. FRENCH ST
                      WILMINGTON, DE 19801


                      KBTN INC
                      284 SOUTHERN RD
                      EL CAJON, CA 92020-2743


                      KD GRAYSON LLC
                      2763 FRONTIER
                      SPRING BRANCH, TX 78070


                      KEEVER & COMPANY LLC
                      POST OFFICE BOX 4949
                      CARY, NC 27519-4949


                      KEITH ELLISON
                      SUITE 102, STATE CAPITOL
                      74 DR. MARTIN LUTHER KING, JR. BLVD.
                      SAINT PAUL, MN 55155


                      KEN PAXTON
                      CAPITOL STATION
                      PO BOX 12548
                      AUSTIN, TX 78711


                      KENNADAY LEAVITT OWENSBY PC
                      621 CAPITOL MALL
                      SUITE 2500
                      SACRAMENTO, CA 95814


                      KENRICH GROUP LLC, THE
                      PO BOX 6483
                      2012 CORPORATE LANE SUITE 108
                      NAPERVILLE, IL 60563


                      KENT STATE UNIVERSITY
                      PO BOX 5190
                      KENT, OH 44242
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                      KENTUCKY TREASUER
                      4449 KIT CARSON DRIVE
                      RICHMOND, KY 40475


                      KEY & ASSOCIATES
                      12176 CHANCERY STATION CIRCLE
                      RESTON, VA 20190


                      KEYSTONE SPORTING ARMS
                      155 SODOM ROAD
                      MILTON, PA 17847


                      KEYSTONE SPORTSMEN ASSOC
                      76 SHIPTON ST
                      MIFFLINBURG, PA 17844-1430


                      KILL CLIFF, INC
                      199 ARMOUR DR NE
                      SUITE D
                      ATLANTA, GA 30324


                      KING COUNTY LIBRARY SYSTEM
                      PO BOX 7019
                      ISSAQUAH, WA 98027-7019


                      KINGPORT INDUSTRIES, LLC
                      ATTN: CLAUDIA CHISHOLM
                      1912 SHERMER RD.
                      NORTHBROOK, IL 60062


                      KIRKLAND & ELLIS
                      655 FIFTEENTH STREET, NW
                      WASHINGTON, DC 20005


                      KIRKLAND, DENNIS EARL
                      821 BULL CREEK RD
                      GRANTS PASS, OR 97527
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                      KISKI TOWNSHIP SPORTSMENS ASSO
                      192 WILSON RD
                      AVONMORE, PA 15618


                      KNIGHT COMMUNICATIONS, INC.
                      10150 MALLARD CREEK RD
                      STE 101
                      CHARLOTTE, NC 28262


                      KOCEVAR, FRANK AND SANDRA
                      69 RUNYON RD
                      HUMMELSTOWN, PA 17036


                      KODIAK ISLAND SPORTSMEN'S ASSC
                      PO BOX 1098
                      KODIAK, AK 99615-1098


                      KOJAK GRAPHIC COMMUNICATIONS
                      ATTN: TONY CHIAVACCI
                      PO BOX 767
                      WESTMINSTER, MD 21158


                      KONIK & COMPANY INC
                      ATTN: MARIA ORTIZ
                      7535 N LINCOLN AVE
                      SKOKIE, IL 60076


                      KONOCTI ROD & GUN CLUB
                      PO BOX 551
                      LAKEPORT, CA 95453-0551


                      KOSSUTH RIFLE AND PISTOL CLUB
                      PO BOX 7
                      ALGONA, IA 50511-0007


                      KOUNT INC
                      917 S LUSK ST
                      SUITE 300
                      BOISE, ID 83706
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                      KRASNE'S INC.
                      ATTN: JAMES WELLS
                      2222 COMMERICAL ST
                      SAN DIEGO, CA 92113


                      KRAUSS GUNS LLC
                      1830 CHAMPIONSHIP LN
                      FESTUS, MO 63028-5631


                      KRISTY TITUS INC
                      1450 NW GARDNER ROAD
                      PRINEVILLE, OR 97754


                      KROPF COMPUTER SERVICES, INC
                      1350 FLATBUSH RD
                      KINGSTON, NY 12401-7017


                      KRUDO KNIVES INC
                      4213 FAIRWAY RUN
                      TAMPA, FL 33618


                      KRUEGER ASSOCIATES INC
                      105 COMMERCE DRIVE
                      ASTON, PA 19014


                      KUBOTA TRACTOR CORPORATION
                      1000 KUBOTA DR
                      GRAPEVINE, TX 76051


                      KUHN LAW GROUP PLLC
                      3 COLUMBUS CIRCLE, FLOOR 15
                      NEW YORK, NY 10019


                      KURBURSKI WEB DEVELOPMENT, LLC
                      205 S 5TH ST STE 18
                      LEAVENWORTH, KS 66048-2602
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                      KWAME RAOUL
                      JAMES R. THOMPSON CTR.
                      100 W. RANDOLPH ST.
                      CHICAGO, IL 60601


                      L & T FIREARMS TRAINING
                      6787 REDMAN ST
                      WESTLAND, MI 48185-2740


                      LACLEDE COUNTY CONSERVATION CL
                      PO BOX 496
                      LEBANON, MO 65536-0496


                      LAFAYETTE GUN CLUB OF VA INC
                      PO BOX 2037
                      YORKTOWN, VA 23692-2037


                      LAKE EDINBORO SPORTSMEN LEAGUE
                      100 SHERROD HILL RD.
                      P.O. BOX 45
                      EDINBORO, PA 16412


                      LAKE NORMAN FIREARMS TRAINING
                      8420 STREAMVIEW DR
                      APT D
                      HUNTERSVILLE, NC 28078


                      LAKE SUPERIOR SPORTSMANS CLUB
                      811 PAUL BUNYAN AVE
                      ONTONAGON, MI 49953-1233


                      LAKOTA SAFE COMPANY LLC
                      12792 W COLONIAL DR STE 180
                      WINTER GARDEN, FL 34787


                      LAMAR TEXAS LIMITED PARTNERSHIP
                      PO BOX 96030
                      BATON ROUGE, LA 70896
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                      LAMOILLE VALLEY FISH & GAME CL
                      PO BOX 1493
                      MORRISVILLE, VT 05661-1493


                      LANCASTER CITY POLICE DEPARTMENT
                      39 W CHESTNUT ST
                      LANCASTER, PA 17603


                      LANCASTER SAFETY CONSULTING INC
                      910 SHEARTON DR
                      SUITE 425
                      MARS, PA 16046


                      LARAMIE COUNTY SHOOTING SPORTS
                      13802 BULLSEYE BOULEVARD
                      CHEYENNE, WY 82009


                      LARKIN TOWNSHIP TREASURER
                      4715 MONROE ROAD
                      MIDLAND, MI 48642


                      LAS VEGAS GUNS AND GEAR LLC
                      10422 APPLES EYE ST
                      LAS VEGAS, NV 89131


                      LATHAM & WATKINS LLP
                      555 ELEVENTH ST NW
                      SUITE 1000
                      WASHINGTON, DC 20004-1304


                      LAWRENCE WASDEN
                      700 W. JEFFERSON STREET
                      SUITE 210
                      PO BOX 83720
                      BOISE, ID 83720


                      LCP-BV FAIRFAX HOTEL LLC
                      711 WESTCHESTER AVE
                      WHITE PLAINS, NY 10604
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                      LEAD CARPET FIREARMS & SAFETY
                      2732 SCENIC DR APT 305
                      MARQUETTE, MI 49855


                      LEEK HUNTING AND MOUNTAIN PRES
                      827 TAVISTOCK RD
                      MECHANICSBURG, PA 17050-5007


                      LEFTY'S EXCHANGE
                      12106 E 2ND DR
                      AURORA, CO 80011-8330


                      LEGACY OUTDOOR SKILLS TRAINING
                      976 PORT WAY
                      LAWRENCEVILLE, GA 30043


                      LEGACY STEEL BUILDINGS
                      1330 PAGE DRIVE
                      FARGO, ND 58103


                      LEHIGH VALLEY POLICE REVOLVER
                      3917 LOWER SAUCON RD
                      HELLERTOWN, PA 18055-3236


                      LEMON GROVE ROD & GUN CLUB
                      PO BOX 1585
                      LEMON GROVE, CA 91946-1585


                      LENOX SPORTSMENS CLUB
                      PO BOX 499
                      LENOX, MA 01240


                      LEROY CURRY FOREMAN JR
                      682 OAK RIM LN
                      NEW SMYRNA BEAC, FL 32168-9115
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                      LESLEY UNIVERSITY
                      29 EVERETT ST
                      CAMBRIDGE, MA 02138


                      LESLIE RUTLEDGE
                      323 CENTER ST SUITE 200
                      LITTLE ROCK, AR 72201


                      LETITIA A JAMES
                      DEPT OF LAW
                      THE CAPITOL
                      2ND FLOOR
                      ALBANY, NY 12224


                      LETT DIRECT INC
                      7711 HOLLES DRIVE NW
                      WILLIAMSBURG, MI 49690-9604


                      LEUPOLD & STEVENS, INC
                      P O BOX 4985
                      BEAVERTON, OR 97076-4985


                      LEVEL 1 FIREARMS SAFETY AND TR
                      3313 W CHERRY LANE
                      MERIDIAN, ID 83642-1119


                      LEVEMENTUM LLC
                      55 N ARIZONA PLACE
                      SUITE 203
                      CHANDLER, AZ 85225


                      LEWISTOWN PISTOL CLUB INC
                      118 QUARTZ DR
                      BELLEFONTE, PA 16823-7504


                      LEXINGTON AND CONCORD, LLC
                      11250 WAPLES MILL RD
                      FAIRFAX, VA 22030
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                      LIBERTY ARMS LLC
                      1854 E MARKET ST STE 104
                      HARRISONBURG, VA 22801


                      LIBERTY MUTUAL GROUP
                      REMITTANCE PROCESSING CENTER
                      P O BOX 8500
                      DOVER, NH 03821-8500


                      LIFESTYLE FITNESS INC
                      521 S TENNEY ST
                      KEWANEE, IL 61443


                      LINDEN SPORTSMEN CLUB
                      PO BOX 384
                      LINDEN, MI 48451-0384


                      LINE-X
                      301 JAMES RECORD ROAD
                      HUNTSVILLE, AL 35824


                      LINKEDIN
                      1000 WEST MAUDE AVE
                      SUNNYVALE, CA 94085


                      LINWOOD BAY SPORTSMANS CLUB
                      1643 E LINWOOD RD
                      LINWOOD, MI 48634-9520


                      LITCHFIELD SPORTSMANS CLUB
                      421 S VINE ST
                      NOKOMIS, IL 62075


                      LITTLE RIVER SPORTSMEN'S ASSOC
                      PO BOX 127
                      BARNEY, GA 31625-0127
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                      LITTLE WOOD RIVER OUTFITTERS
                      166 N 150 W
                      JEROME, ID 83338


                      LIVINGSTON GUN CLUB
                      7718 W PARKWAY ST
                      DETROIT, MI 48239-1097


                      LLOYDS
                      5 ST BOTOLPH STREEET
                      9TH FLOOR BEAUFORT HOUSE
                      LONDON, ENGLAND EC3A 77EE


                      LOCK'S PHILA GUN EXCHANGE
                      6700 ROWLAND AVE
                      PHILADELPHIA, PA 19149-2695


                      LOCK, STOCK, AND BARREL LLC
                      4628 MIDHURST CT
                      SUMERDUCK, VA 22742


                      LOCKDOWN INC
                      11665 COLLIER BLVD UNIT 990354
                      NAPLES, FL 34116-4220


                      LOCKTON (KC SERIES OF LOCKTON COMPANIES,
                      PO BOX 87-9610
                      KANSAS CITY, MO 64187-9610


                      LOCKTON COMPANIES
                      444 WEST 47ST
                      SUITE 900
                      KANSAS CITY, MO 64112


                      LOCKTON COMPANIES
                      P O BOX 802707
                      KANSAS CITY, MO 64180-2707
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                      LODGE TRAIL ENTERPRISES LLC
                      507 COUNTRY VIEW ROAD
                      HUDSON, WI 54016


                      LOGAN MARKETING GROUP LLC - POSTAGE
                      431 YERKES ROAD
                      KING OF PRUSSIA, PA 19406


                      LONDONDERRY FISH & GAME CLUB
                      PO BOX 229
                      LONDONDERRY, NH 03053-0229


                      LONE ROCK LLC
                      340 3RD ST
                      FARMINGTON, MN 55024-1353


                      LONG FENCE COMPANY, INC.
                      42421 JOHN MOSBY HWY
                      CHANTILLY, VA 20152


                      LONG ISLAND WOMEN'S FIREARM CL
                      543 15TH ST
                      WEST BABYLON, NY 11704


                      LONG PRAIRIE GUN AND ARCHERY C
                      PO BOX 416
                      ARCATA, CA 95518


                      LONG SHOT PISTOL AND RIFLE
                      375 COUNTY AVE
                      SECAUCUS, NJ 07094


                      LONGENBAUGH, PAUL M
                      621 N BROADWAY
                      SALISBURY, MO 65281
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                      LONGNECKER INVESTMENT GROUP INC
                      11011 JONES RD
                      SUITE 200
                      HOUSTON, TX 77070


                      LORNE CAMPBELL 3RD
                      511 HIGHWAY 298 W
                      MOUNT IDA, AR 71957


                      LORRAINE M CRESCIMANNO
                      119 APPLE TREE DR
                      DINGMANS FERRY, PA 18328-4001


                      LOS ANGELES MARINE CORP SCHOLARSHIP GOLE
                      1402 E LOMITA BLVD
                      BOX 1540
                      WILMINGTON, CA 90748


                      LOS LUNAS GUN CLUB
                      PO BOX 1598
                      PERALTA, NM 87042-1598


                      LOST CREEK CONSERVATION CLUB I
                      2393 N TABORTOWN ST
                      TERRE HAUTE, IN 47803-9688


                      LOUDERBACK'S FIDDLEBACKERS
                      P.O. BOX 992402
                      PMALLOY@SNOWCREST.NET
                      REDDING, CA 96001


                      LOUISIANA DEPARTMENT OF REVENUE
                      PO BOX 3138
                      BATON ROUGE, LA 70821-3138


                      LOUISIANA SECRETARY OF STATE
                      1885 NORTH 3RD ST
                      4TH FLOOR
                      BATON ROUGE, LA 70802
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                      LUCAS OIL OUTDOOR LINE
                      302 N SHERIDAN ST
                      CORONA, CA 92880


                      LUGGAGE USA INC
                      1710 W. 2ND ST.
                      POMONA, CA 91766


                      LYMAN PRODUCTS CORP
                      475 SMITH ST
                      MIDDLETOWN, CT 06457


                      LYNN FITCH
                      DEPARTMENT OF JUSTICE
                      PO BOX 220
                      JACKSON, MS 39205


                      LYTLE SOULE & FELTY
                      1200 ROBINSON RENAISSANCE
                      119 NORTH ROBINSON
                      OKLAHOMA CITY, OK 73102


                      M H COGGINS & ASSOCIATES LLC
                      23150 STEGER PLACE
                      LEESBURG, VA 20175


                      M&E SERVICES,INC
                      PO BOX 2507
                      CHESTER, VA 23831-9998


                      MACCABEE GUNS LLC
                      6542 4TH ST NW
                      ALBUQUERQUE, NM 87107-5813


                      MAD DOG ARMORY
                      7692 132ND WAY N
                      SEMINOLE, FL 33776-3920
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                      MADE IN USA FRAMING LLC
                      250 CENTER CT
                      VENICE, FL 34285


                      MADISON COUNTY GUN & ARCHERY C
                      P.O. BOX 218
                      MADISONVILLE, TX 77864


                      MAGNETO
                      10441 JEFFERSON BLVD, SUITE 200
                      CULVER CITY, CA 90232


                      MAHAFFEY USA LLC
                      4201 DELP ST
                      MEMPHIS, TN 38118


                      MAILFINANCE
                      478 WHEELERS FARM RD
                      MILFORD, CT 06461


                      MANAGER OF FINANCE, CITY AND COUNTY OF D
                      MCNICHOLS CIVIC CENTER BLDG
                      ROOM 100
                      DENVER, CO 80202-5391


                      MANHATTAN WILDLIFE ASSOCIATION
                      4040 RAVALLI ST APT 91
                      BOZEMAN, MT 59718-6307


                      MANMADE MFG LLC
                      250 EPPS BRIDGE LN
                      ATHENS, GA 30606


                      MANSFIELD FISH & GAME
                      PO BOX 261
                      MANSFIELD, MA 02048-0261
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                      MANTECH SPORTSMEN
                      30261 S. AIRPORT WAY
                      MANTECH, CA 95357


                      MANZANO MOUNTAIN GUN CLUB
                      PO BOX 93
                      MOUNTAINAIR, NM 87036-0093


                      MARINER FINANCE LLC
                      8211 TOWN CENTER DRIVE
                      NOTTINGHAM, MD 21236


                      MARION PUBLIC LIBRARY
                      1095 6TH AVE
                      MARION, IA 52302


                      MARION ROAD GUN CLUB INC.
                      PO BOX 777
                      MACON, GA 31202-0777


                      MARK BRNOVICH
                      2005 N CENTRAL AVENUE
                      PHOENIX, AZ 85004


                      MARK DAMIAN DUDA & ASSOCIATES INC
                      130 FRANKLIN ST
                      HARRISONBURG, VA 22801


                      MARK HERRING
                      202 NORTH NINTH STREET
                      RICHMOND, VA 23219


                      MARK KAYSER ENTERPRISES
                      167 KEYSTONE ROAD
                      SHERIDAN, WY 82801
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                      MARK R. DYCIO AND LAW OFFICES OF MARK R.
                      10533 MAIN STREET
                      FAIRFAX, VA 22030


                      MARKEL
                      ATTN: EVANSTON INSURNACE COMPANY
                      10275 WEST HIGGINS ROAD
                      SUITE 750
                      ROSEMONT, IL 60018


                      MARRIOTTSVILLE MUZZLE LOADERS
                      1815 NORFOLK RD
                      GLEN BURNIE, MD 21061-4351


                      MARTIAL ARTS TRAINING INSTITUT
                      9306 BEATTIES FORD RD
                      HUNTERSVILLE, NC 28078


                      MARTIN COUNTY SPORTSMEN'S ASSO
                      PO BOX 1306
                      STUART, FL 34995-1306


                      MARYLAND COMPTROLLER OF THE TREASURY, RE
                      SALES & USE TAX
                      110 CARROLL ST
                      ANNAPOLIS, MD 21411-0001


                      MARYLAND DIGITAL COPIER
                      9590 LYNN BUFF COURT
                      SUITE 12
                      LAUREL, MD 20723


                      MARYSVILLE RIFLE CLUB
                      PO BOX 303
                      MARYSVILLE, WA 98270-0303


                      MASERGY CLOUD COMMUNICATIONS INC
                      5757 W CENTURY BLVD
                      STE 575
                      LOS ANGELES, CA 90045
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                      MASERGY COMMUNICATIONS, INC
                      2740 N DALLAS PKWY
                      SUITE 260
                      PLANO, TX 75093


                      MASERGY COMMUNICATIONS, INC.
                      PO BOX 733938
                      DALLAS, TX 75373


                      MASON COUNTY SPORTSMANS ASSOCI
                      PO BOX 1122
                      SHELTON, WA 98584-0937


                      MASS FIREARMS SCHOOL
                      39 GREENDALE AVE
                      NEEDHAM, MA 02494-2128


                      MASSACHUSETTS DEPARTMENT OF REVENUE
                      100 CAMBRIDGE ST
                      BOSTON, MA 02204


                      MASSARO MEDIA GROUP LLC
                      74 COLE LANE
                      WEST COXSACKIE, NY 12192


                      MASSASOIT GUN CLUB INC
                      PO BOX 14232
                      EAST PROVIDENCE, RI 02914-0232


                      MASTER ARMS & TACTICAL LLC
                      PO BOX 1215
                      SEVERNA PARK, MD 21146


                      MASTER TECHNOLOGY INC
                      353 LEWIS JONES ROAD
                      HIGH POINT, NC 27265
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                      MASTERPRINT
                      8401 TERMINAL ROAD
                      PO BOX 1467
                      NEWINGTON, VA 22122


                      MATRIX LABEL SYSTEMS INC
                      4692 S CR 600 E
                      PLAINFIELD, IN 46168


                      MAURA HEALEY
                      1 ASHBURTON PLACE
                      BOSTON, MA 02108


                      MAURY COUNTY GUN CLUB
                      PO BOX 283
                      COLUMBIA, TN 38402-0283


                      MAXIMUM WHOLESALE INC
                      820 S ROCKEFELLER AVE STE G
                      ONTARIO, CA 91761


                      MBI ENTERPRISES INC
                      3282 SUNRISE HWY
                      WANTAGH, NY 11793


                      MCCORMICK PAINT WORKS CO.
                      2355 LEWIS AVENUE
                      ROCKVILLE, MD 20851-2391


                      MCCOWAN CONSULTING GROUP LLC
                      17 CROSSINGS CIR
                      APT G
                      BOYNTON BEACH, FL 33435-1400


                      MCDONALD SPORTSMEN'S ASSOCIATI
                      111 NORTH ST
                      MC DONALD, PA 15057-1151
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                      MCINTOSH CO INC, THE
                      4424 SOUTHERN AVE
                      DALLAS, TX 75205


                      MCKENNA & ASSOCIATES LLC
                      2321 NORTH KENTUCKY ST
                      ARLINGTON, VA 22205


                      MDI IMAGING & MAIL - NON-POSTA
                      ATTN: JAY HARTMAN/ANDY IHLE
                      21955 CASCADES PARKWAY
                      DULLES, VA 20166


                      MDL INC
                      4440 47TH AVE S
                      MINNEAPOLIS, MN 55406


                      MDS SYSTEMS
                      PO BOX 23
                      BERWYN, IL 60402-0023


                      MECHANICSBURG SPORTSMEN'S CLUB
                      6358 BENNINGTON RD
                      MECHANICSBURG, PA 17050-1992


                      MEDFORD RIFLE AND PISTOL CLUB
                      PO BOX 235
                      MEDFORD, OR 97501-0016


                      MEDIA GENERAL OPERATIONS INC
                      3235 HOFFMAN ST
                      HARRISBURG, PA 17110


                      MEDIC TRAINING SOLUTIONS
                      356 B SIMMONS RD
                      PITKIN, LA 70656
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                      MEDIOTYPE LLC
                      500 DISCOVERY PARKWAY
                      SUITE 325
                      SUPERIOR, CO 80027


                      MEETINGONE
                      501 SOUTH CHERRY STREET
                      STE 500
                      DENVER, CO 80246


                      MELOY & ASSOCIATES
                      MARY ANN MELOY
                      917 RED OAK DR
                      PITTSBURGH, PA 15238


                      MEMBERSHIP ADVISORS FUNDRAISING LLC
                      11250 WAPLES MILL RD
                      SUITE 310
                      FAIRFAX, VA 22030


                      MEMBERSHIP ADVISORS PUBLIC REL
                      11250 WAPLES MILL RD
                      SUITE 310
                      FAIRFAX, VA 22030


                      MEMBERSHIP MARKETING PARTNERS, LLC
                      11250 WAPLES MILL RD
                      SUITE 310
                      FAIRFAX, VA 22030


                      MEMPHIS SPORT SHOOTING ASSN, I
                      PO BOX 99
                      BRUNSWICK, TN 38014-0099


                      MENDON CONSERVATION LEAGUE
                      41 CARRIAGE CT
                      PITTSFORD, NY 14534-4031


                      MENOMONEE FALLS ROD & GUN CLUB
                      20181 W LINCOLN AVE
                      NEW BERLIN, WI 53146-1728
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                      MERCURY GROUP
                      1601 NW EXPRESSWAY
                      STE 1100
                      OKLAHOMA CITY, OK 73118


                      MERITO GROUP LLC
                      PO BOX 13188
                      MILWAUKEE, WI 53213-0188


                      MESA SHOOTING CLUB
                      2021 SANTA FE DR
                      PUEBLO, CO 81006-2401


                      MESQUITE SHOOTERS PISTOL CLUB
                      PO BOX 654
                      MESQUITE, NV 89024-0654


                      META MEDIA TRAINING INTL INC
                      20251 CENTURY BLVD STE 425
                      GERMANTOWN, MD 20874


                      METESH, THOMAS LOGAN
                      33 CRESCENT DR
                      MANHEIM, PA 17545


                      METRO SHOOTING SUPPLIES 2 LLC
                      11434 ST CHARLES ROCK ROAD
                      BRIDGETON, MO 63044-2740


                      METROPOLITAN SHOOTERS INC.
                      281 GARDEN GROVE ROAD
                      MANCHESTER, CT 06040


                      MGR TRAVEL LTD
                      1685 WEST MAIN ST
                      EPHRATA, PA 17522
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                      MH COGGINS ASSOCIATES
                      234 STONECROFT RD APT C
                      BALTIMORE, MD 21229


                      MIAMI FIREARMS TRAINING, INC
                      15470 SW 147TH ST
                      MIAMI, FL 33196-4626


                      MIAMI SHOOTERS CLUB, LLC
                      1423 SW 107TH AVE
                      MIAMI, FL 33174-2509


                      MIAMISBURG SPORTSMEN'S CLUB
                      705 SCHUYLER DR
                      KETTERING, OH 45429-3353


                      MICHEL & ASSOCIATES ESTIMATED CONTESTED
                      180 E OCEAN BOULEVARD
                      SUITE 200
                      LONG BEACH, CA 90802


                      MICHEL AND ASSOCIATES , PC
                      180 E. OCEAN BLVD., SUITE 200
                      LONG BEACH, CA 90802


                      MICHELLE MCGRATH & ASSOCIATES
                      56 COTTON AVE
                      BRAINTREE, MA 02184


                      MICHIGAN CITY RIFLE CLUB
                      PO BOX 8586
                      MICHIGAN CITY, IN 46361-8586


                      MICHIGAN GUN OWNERS
                      PO BOX 153
                      DEARBORN HEIGHT, MI 48127-0153
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                      MICRO FOCUS, INC.
                      PO BOX 45611
                      SAN FRANCISCO, CA 94145-0611


                      MID CAROLINA RIFLE CLUB
                      PO BOX 5997
                      COLUMBIA, SC 29250-5997


                      MID-ATLANTIC PRINTERS LIMITED
                      503 THIRD STREET
                      ALTAVISTA, VA 24517


                      MID-SOUTH TELECOM LLC
                      3594 COMMERCE CIRCLE
                      MEMPHIS, TN 38118


                      MIDDLEBROOK FIREARMS LLC
                      288 US HIGHWAY 22
                      GREEN BROOK, NJ 08812-1812


                      MIDDLETOWN ANGLERS & HUNTERS A
                      1350 SCHOOLHOUSE RD
                      MIDDLETOWN, PA 17057-4045


                      MIDWEST ASSOCIATION OF FISH & WILDLIFE A
                      1 MILL ST #315
                      BURLINGTON, VT 05401


                      MIDWEST SPORTING GOODS
                      8565 PLAINFIELD RD
                      LYONS, IL 60534-1045


                      MIKE HUNTER
                      313 NE 21ST STREET
                      OKLAHOMA CITY, OK 73105
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                      MIKES OUTDOOR SPORTS
                      8643 PENSACOLA BLVD
                      PENSACOLA, FL 32534-3325


                      MILAN RIFLE CLUB INC
                      PO BOX 200
                      MILAN, IL 61264


                      MILES PARTNERSHIP LLLP
                      6751 PROFESSIONAL PKWY W
                      SUITE 200
                      SARASOTA, FL 34230


                      MILFORD GUN CLUB
                      465 BLOSSOM LANE
                      CINCINNATI, OH 45244


                      MILFORD TOWNSHIP FISH, GAME, A
                      1685 CANARY RD
                      QUAKERTOWN, PA 18951-2053


                      MILL COVE, INC.
                      46 N. ACADEMY STREET
                      MANSFIELD, PA 16933


                      MILL CREEK RIFLE CLUB
                      6750 ANTIOCH ROAD
                      SUITE 101
                      MERRIAM, KS 66204


                      MILLER'S SUPPLIES AT WORK INC
                      MILLER'S OFFICE PRODUCTS INC.
                      PO BOX 1335
                      NEWINGTON, VA 22122


                      MINNESOTA DEPARTMENT OF REVENUE
                      MAIL STATION 1750
                      ST PAUL, MN 55164-1750
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                      MINNETONKA SPORTSMEN INC
                      PO BOX 1146
                      MINNETONKA, MN 55345-0146


                      MINTTU E SALAKKA
                      17760 6TH ST
                      FLORALA, AL 36442-4138


                      MISHA TACTICAL ARMS INC
                      318 W HALF DAY RD #299
                      BUFFALO GROVE, IL 60089-6547


                      MISSISSIPPI DEPARTMENT OF REVENUE, SALES
                      PO BOX 23075
                      JACKSON, MS 39225-3075


                      MISSISSIPPI VALLEY GUN CLUB
                      5181 STATE ROUTE 3
                      ELLIS GROVE, IL 62241-1711


                      MISSOURI MERCHANDISING PRACTICES FUND
                      PO BOX 899
                      JEFFERSON CITY, MO 65102


                      MISSOURI TRAPSHOOTERS ASSOCIATION
                      51 TRAPSHOOTERS RD
                      LINN CREEK, MO 65052


                      MODERN LITHO PRINT CO
                      6009 STERTZER ROAD
                      JEFFERSON CITY, MO 65109


                      MOHAMUD, MUSTAFA HASSAN
                      1437 BALLS HILLS RD
                      MCLEAN, VA 22101
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                      MOHAWK RIFLE & PISTOL CLUB, IN
                      260 ZIMMERMAN BLVD
                      KENMORE, NY 14223-1022


                      MOLALLA RIFLE CLUB
                      PO BOX 696
                      MOLALLA, OR 97038-0696


                      MOMENTUM SALES & MARKETING
                      12157 WEST LINEBAUGH AVE
                      #152
                      TAMPA, FL 33626


                      MONMOUTH COUNTY RIFLE & PISTOL
                      101 BRANDYWINE
                      BRICK, NJ 08724


                      MONMOUTH FISH & GAME ASSOC.
                      PO BOX 502
                      MONMOUTH, ME 04259-0502


                      MONOCACY PISTOL CLUB INC
                      PO BOX 1377
                      FREDERICK, MD 21702-0377


                      MONOCULAR AGENCY
                      GAMMEL KONGEVEJ 131B
                      1850 FREDERISBERG C DENMARK


                      MONROE-CHESTER SPORTSMEN'S CLU
                      PO BOX 72
                      HARRIMAN, NY 10926


                      MONTANA SILVERSMITHS INC
                      ATTN: JAMIE ROBB
                      1 STERLING LANE
                      COLUMBUS, MT 59019
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                      MONTICELLO ROD & GUN CLUB
                      PO BOX 343
                      MONTICELLO, MN 55362


                      MONUMENTAL RIFLE & PISTOL CLUB
                      341 WHITFIELD RD
                      BALTIMORE, MD 21228-1808


                      MORGAN ENTERPRISE LLC
                      763 WASHINGTON ST
                      STOUGHTON, MA 02072


                      MORGAN HILL GAME ASSOCIATION
                      448 LUCAS AVENUE EAST
                      KINGSTON, NY 12401-8211


                      MOSLEY ACQUISITIONS LLC
                      11861 WESTLINE INDUSTRIAL DR
                      SUITE 100
                      ST. LOUIS, MO 63146


                      MOSSBERG
                      7 GRASSO AVE
                      NORTH HAVEN, CT 06473


                      MOSSY OAK OUTDOOR SPORTS AND ENTERTAINME
                      26343 EAST MAIN ST
                      WEST POINT, MS 39773


                      MOUNTAIN CREEK RANGE INC
                      205 MOUNTAIN CREEK RD
                      KILLEEN, TX 76542-5148


                      MOUNTAIN VALLEY SPORTSMANS CLU
                      41 LA GRANJA CIR
                      HOT SPRINGS, AR 71909-2652
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                      MR. ARTHUR GREENBRIER, ESQ., GENERAL COU
                      11903 MAIN STREET
                      FREDERICKSBURG, VA 22408


                      MS ATTORNEY GENERAL'S OFFICE
                      PO BOX 220
                      JACKSON, MS 39205


                      MSF ARMORY LLC
                      18735 E COLONIAL DR STE 108
                      ORLANDO, FL 32820


                      MULLEN COUGHLIN, ATTORNEYS AT LAW
                      1275 DRUMMERS LANE
                      SUITE 302
                      WAYNE, PA 19087


                      MULTI-LAKES CONSERVATION ASSOC
                      8610 BUFFALO
                      COMMERCE TOWNSH, MI 48382


                      MUSKEGON PISTOL & RIFLE CLUB
                      PO BOX 128
                      FRUITPORT, MI 49415-0128


                      MY INC.
                      AREA SAFE & LOCK
                      3301 MT. VERNON AVENUE
                      ALEXANDRIA, VA 22305


                      MYSTIC VALLEY GUN CLUB
                      146 CORAL STREET
                      MALDEN, MA 02148


                      MZURI WILDLIFE FOUNDATION
                      PO BOX 986
                      ST. HELENA, CA 94574
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                      NADA SERVICES CORPORATION
                      8400 WESTPARK DRIVE
                      MCLEAN, VA 22102


                      NASHUA FISH AND GAME ASSOCIATI
                      353 PINE HILL RD
                      HOLLIS, NH 03049-5949


                      NASHVILLE ARMORY LLC
                      4290 KENILWOOD DR
                      NASHVILLE, TN 37204


                      NASHVILLE ROD AND GUN CLUB
                      BRILEY PARKWAY & COUNTY HOSPITAL RD
                      NASHVILLE, TN 37209


                      NATIONAL ASSOCIATION OF SPORTING GOODS W
                      1833 CENTRE POINT CIRCLE #123
                      NAPERVILLE, IL 60563


                      NATIONAL BUSINESS INSTITUTE
                      1218 MCCANN DR
                      ALTOONA, WI 54720


                      NATIONAL FULFILLMENT SERVICES
                      ATTN: KRUEGER ASSOCIATES INC.
                      105 COMMERCE DRIVE
                      ASTON, PA 19014


                      NATIONAL HIGH SCHOOL RODEO ASN
                      12001 TEJON, SUITE 128
                      DENVER, CO 80234


                      NATIONAL MUZZLE LOADING RIFLE ASSOCIATIO
                      PO BOX 67
                      FRIENDSHIP, IN 47021
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                      NATIONAL NEWS AGENCY INC
                      4331 BLADENSBURG ROAD
                      COLMAR MANOR, MD 20722


                      NATIONAL PEN CO LLC
                      342 SHELBYVILLE MILLS RD
                      SHELBYVILLE, TN 37160


                      NATIONAL PROTECTIVE SERVICES I
                      PO BOX 782016
                      SAN ANTONIO, TX 78278-2016


                      NATIONAL TARGET COMPANY INC
                      3958-D DARTMOUTH COURT
                      FREDERICK, MD 21703


                      NATIONAL TRAINING SOLUTIONS IN
                      22831 BYRON RD
                      CLEVELAND, OH 44122-2981


                      NATIONAL WHITEHALL DEER EDUCATION FOUND
                      14250 CADIZ ROAD
                      CAMBRIDGE, OH 43725


                      NATIONAL WILD TURKEY FEDERATION INC
                      PO BOX 530
                      EDGEFIELD, SC 29824


                      NAVISTAR DIRECT MARKETING LLC
                      NORTH LAWRENCE FISH & GAME CLUB INC
                      15325 LAWMONT ST
                      NORTH LAWRENCE, OH 44666


                      NAVY ARMS
                      54 DUPONT RD
                      MARTINSBURG, WV 25404
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                      NEBRASKA DEPARTMENT OF REVENUE
                      PO BOX 98923
                      LINCOLN, NE 68509-8923


                      NEBRASKA SHOOTERS LLC
                      3200 GAGE RD
                      FIRTH, NE 68358-6198


                      NEGAUNEE ROD AND GUN CLUB, INC
                      335 NORTH RD
                      NEGAUNEE, MI 49866-9516


                      NEIGHBORS GUN CLUB
                      6536 SPRING BROOK AVE
                      RHINEBECK, NY 12572-3713


                      NELBUD SERVICES GROUP, INC
                      51 KOWEBA LANE
                      INDIANAPOLIS, IN 46201


                      NEOPOST USA INC
                      1749 OLD MEADOW RD SUITE 200
                      MCLEAN, VA 22102


                      NERAT MERCHANDISING
                      PO BOX 513
                      3808 10TH ST
                      MENOMINEE, MI 49858


                      NESSMUK ROD AND GUN CLUB
                      PO BOX 228
                      WELLSBORO, PA 16901-0228


                      NESTLE WATERS NORTH AMERICA IN
                      PO BOX 856192
                      LOUISVILLE, KY 40285
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                      NEVADA COUNTY SPORTSMEN, INC
                      11296 BANNER MOUNTAIN TRL
                      NEVADA CITY, CA 95959-9625


                      NEVADA DEPARTMENT OF TAXATION
                      PO BOX 52609
                      PHOENIX, AZ 85072-2609


                      NEVADA FIREARMS COALITION
                      5575 SIMMONS ST STE 1-176
                      N LAS VEGAS, NV 89031-9009


                      NEW BUSINESS CONCEPTS INC
                      56731 COLERAIN PIKE UNIT D
                      MARTINS FERRY, OH 43935


                      NEW CARLISLE GUN CLUB
                      PO BOX 182
                      ENON, OH 45323-0182


                      NEW FRONTIER ARMORY LLC
                      150 E CENTENNIAL PKWY STE 110
                      N LAS VEGAS, NV 89084


                      NEW HAVEN RACCOON CLUB INC.
                      PO BOX 329
                      DURHAM, CT 06422-0329


                      NEW HAVEN SPORTSMAN'S CLUB
                      4158 DURHAM RD
                      GUILFORD, CT 06437-1041


                      NEW JERSEY ARMS COLLECTORS CLU
                      68 GRAYROCK RD
                      CLINTON, NJ 08809-1073
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                      NEW JERSEY STATE ASSOCIATION OF CHIEFS O
                      751 ROUTE 73 NORTH
                      SUITE 12
                      MARLTON, NJ 08053


                      NEW MEXICO BIG HORN GUN CLUB
                      PO BOX 30850
                      ALBUQUERQUE, NM 87190-0850


                      NEW MEXICO CHILD SUPPORT ENFORCEMENT DIV
                      CSED/CASH PROCESSING
                      PO BOX 25109
                      ALBUQUERQUE, NM 87125


                      NEW MEXICO SHOOTING SPORTS ASS
                      PO BOX 9275
                      ALBUQUERQUE, NM 87119-9275


                      NEW MEXICO TAXATION AND REVENUE DEPARTME
                      PO BOX 25128
                      SANTA FE, NM 87504-5128


                      NEW MILFORD RIFLE & PISTOL CLU
                      1756 SUTTON RD
                      NEW MILFORD, PA 18834-7657


                      NEW SPORTSMAN CLUB
                      2424 YORK ST
                      TOLEDO, OH 43605-1148


                      NEW YORK DEPT OF FINANCIAL SERVICES
                      12 CORPORATE WOODS BLVD
                      4TH FLOOR
                      ALBANY, NY 12211


                      NEW YORK DEPT. OF TAXATION & FINANCE
                      PO BOX 4127
                      BINGHAMTON, NY 13902-4127
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                      NEW YORK FIREARM SOLUTIONS INC
                      PO BOX 794
                      CARMEL, NY 10512


                      NEW YORK STATE DEPARTMENT OF ECONOMIC DE
                      625 BROADWAY
                      NEW YORK, NY 10012


                      NEW YORK STATE DEPARTMENT OF FINANCIAL S
                      1 STATE STREET
                      NEW YORK, NY 10004


                      NEWBERG RIFLE AND PISTOL CLUB
                      15955 NE QUARRY RD
                      NEWBERG, OR 97132


                      NEWFIELD ROD AND GUN CLUB INC
                      PO BOX 8
                      NEWFIELD, NY 14867


                      NEWPORT RIFLE CLUB INC.
                      PO BOX 4366
                      MIDDLETOWN, RI 02842-0366


                      NEXBELT LLC
                      10390 REGIS CT.
                      RANCHO CUCAMONGA, CA 91730


                      NEXSTAR BROADCASTING INC
                      201 HUMBOLDT ST
                      ROCHESTER, NY 14610


                      NEXTOPIA SOFTWARE CORPORATION
                      260 KING ST EAST
                      SUITE A200
                      TORONTO, ON M5A4L5
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                      NIANTIC SPORTSMANS CLUB
                      PO BOX 1195
                      WESTBROOK, CT 06498-1195


                      NICOLET RIFLE CLUB INC.
                      468 EDWARD DR
                      GREEN BAY, WI 54302-5120


                      NIGHT HAWK PUBLICATIONS, INC
                      4112 CAMP HORNER ROAD
                      BIRMINGHAM, AL 35243


                      NIGHTFORCE OPTICS
                      336 HAZEN LANE
                      OROFINO, ID 83544


                      NIMBUS NOW LLC
                      601 CLEVELAND ST
                      SUITE 501
                      CLEARWATER, FL 33755


                      NINE LINE APPAREL INC
                      450 FORT ARGYLE RD
                      SAVANNAH, GA 31419


                      NITROX HOLDINGS LLC
                      7211 KELLING ST
                      DAVENPORT, IA 52806-1155


                      NO 4 TACTICAL LLC
                      7646 NUMBER FOUR RD
                      LOWVILLE, NY 13367


                      NOBLE VENTURES, LLC
                      6013 OVERBROOKE CT
                      CRESTWOOD, KY 40014-6556
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                      NORFOLK COUNTY RIFLE RANGE, IN
                      PO BOX 6641
                      CHESAPEAKE, VA 23323-0641


                      NORTH ALABAMA FIREARMS TRAININ
                      13518 SWEET PEA ST
                      ATHENS, AL 35613-8246


                      NORTH AMERICA & INTL FAIR CHASE
                      397 STONEGATE
                      WIND GAP, PA 18091


                      NORTH CAROLINA DEPT. OF REVENUE - SALES
                      PO BOX 25000
                      RALEIGH, NC 27640


                      NORTH CAROLINA RIFLE & PISTOL
                      PO BOX 4116
                      PINEHURST, NC 28374-4116


                      NORTH COAST DEFENSE ACADEMY, L
                      PO BOX 21453
                      SOUTH EUCLID, OH 44121-0453


                      NORTH COAST PERSONAL DEFENSE A
                      1929 E AURORA RD
                      TWINSBURG, OH 44087


                      NORTH COUNTY ADVENTURES
                      4301 SOUTH WASHINGTON ST
                      NORTH EAST, PA 16428


                      NORTH DAKOTA TAX COMMISSIONER, OFFICE OF
                      600 E BOULEVARD AVE
                      DEPT 127
                      BISMARCK, ND 58505-0553
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                      NORTH EAST HUNTING & FISHING C
                      PO BOX 261
                      NORTH EAST, PA 16428-0261


                      NORTH FLORIDA SECURITY ACADEMY
                      848 BLOUNTSTOWN ST STE E
                      TALLAHASSEE, FL 32304


                      NORTH LAWRENCE FISH & GAME
                      PO BOX 41
                      NORTH LAWRENCE, OH 44666-0041


                      NORTH MACOMB SPORTSMEN'S CLUB
                      3231 INWOOD
                      WASHINGTON, MI 48095


                      NORTHAMERICAN TRANSPORTATION A
                      9120 DOUBLE DIAMOND PKWY STE 3
                      RENO, NV 89521


                      NORTHCOAST OUTDOOR ALLIANCE AN
                      14 CORPORATION CTR
                      BROADVIEW HEIGHTS, OH 44147


                      NORTHERN CHESTER COUNTY SPORTM
                      PO BOX 2
                      ELVERSON, PA 19520-0002


                      NORTHERN DUTCHESS ROD&GUN CLUB
                      PO BOX 728
                      RHINEBECK, NY 12572-0728


                      NORTHERN GALAXY CORPORATION
                      603 FALLEN BRANCH DR
                      MCKINNEY, TX 75072-5154
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                      NORTHERN ILLINOIS CARRY LLC
                      405 SOMONAUK ST
                      SYCAMORE, IL 60178


                      NORTHERN ILLINOIS RIFLE AND PI
                      PO BOX 1104
                      ROCKFORD, IL 61105


                      NORTHERN KY STRAIGHT SHOOTERS
                      4807 PETE'S LN
                      PETERSBURG, KY 41080-9362


                      NORTHERN REGIONAL POLICE
                      230 PEARCE MILL ROAD
                      NORTH HILLS SRT
                      WEXFORD, PA 15090


                      NORTHERN VIRGINIA TEMPORARIES
                      7115 LEESBURG PIKE
                      SUITE 314
                      FALLS CHURCH, VA 22043


                      NORTHINGTON, ROBERT D
                      1190 ARBOR RD
                      WINSTON SALEM, NC 27104


                      NORTHLAND SPORTSMENS CLUB
                      PO BOX 34
                      GAYLORD, MI 49734-0034


                      NORTHWEST TOWNS SPORTMENS CLUB
                      1685 DRIFTWOOD LN
                      CRYSTAL LAKE, IL 60014-1987


                      NORTHWESTERN CT SPORTSMENS F&G
                      PO BOX 618
                      WINSTED, CT 06098-0618
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                      NORTHWESTERN GUN CLUB
                      PO BOX 4
                      DULUTH, MN 55801-0004


                      NOSLER INC
                      107 SW COLUMBIA ST
                      BEND, OR 97701


                      NRA FOUNDATION, THE
                      112 NORTH GREEN RIVER ROAD
                      COLRAIN, MA 01340


                      NRA FREEDOM ACTION FOUNDATION
                      11250 WAPLES MILL RD
                      FAIRFAX, VA 22030


                      NRA MEMBERS COUNCIL OF EAST CO
                      1869 LACASSIE AVE APT 7
                      WALNUT CREEK, CA 94596-4038


                      NRA MEMBERS COUNCIL OF GREATER
                      16223 OAK SPRINGS DR
                      RAMONA, CA 92065-4220


                      NRA MEMBERS COUNCIL OF HUNTING
                      5271 MEADOWLARK DR.
                      HUNTINGTON BEAC, CA 92649-2639


                      NRA MEMBERS COUNCIL OF INLAND
                      PO BOX 9644
                      SAN BERNARDINO, CA 92427-0644


                      NRA MEMBERS COUNCIL OF SANTA C
                      17625 HOLIDAY DR
                      MORGAN HILL, CA 95037-6318
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                      NRA MEMBERS COUNCIL OF THE HIG
                      32359 PINTO RD
                      HELENDALE, CA 92342-9669


                      NRA MEMBERS COUNCIL OF THE TEM
                      43176 BUSINESS PARK DR STE 103
                      TEMECULA, CA 92590


                      NRA MEMBERS' COUNCIL OF ALAMED
                      1208 MORGAN AVE
                      SAN LEANDRO, CA 94577-3825


                      NRA MEMBERS' COUNCIL OF THE AN
                      1727 WEST AVE H-1
                      LANCASTER, PA 93534-5178


                      NRA VICTORY FUND INC
                      11250 WAPLES MILL ROAD
                      FAIRFAX, VA 22030


                      NRA WHITTINGTON CENTER
                      PO BOX 700
                      RATON, NM 87740


                      NRA WHITTINGTON CENTER - LOAN RESTRUCTIN
                      ATTN: WAYNE ARMACOST
                      PO BOX 700
                      RATON, NM 87740


                      NRA/ILA
                      11250 WAPLES MILLS ROAD
                      FAIRFAX, VA 22030


                      NRA/PVF
                      11250 WAPLES MILL ROAD
                      FAIRFAX, VA 22030
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                      NSA INVESTIGATIONS LLC
                      1202 MONROE ST
                      ENDICOTT, NY 13760


                      NUCOM, LTD
                      5612 INTERNATION PARKWAY
                      NEW HOPE, MN 55428


                      NXTBOOK MEDIA, LLC
                      480 NEW HOLLAND AVE
                      SUITE 9000
                      LANCASTER, PA 17602


                      NY STATE DEPARTMENT OF FINANCIAL SERVICE
                      JP MORGAN CHASE BANK NA
                      12 CORPORATE WOODS BLVD
                      4TH FLOOR
                      ALBANY, NY 12211


                      NYS DEPARTMENT OF LAW
                      120 BROADWAY
                      NEW YORK, NY 10271-0332


                      O'NEIL, CANNON, HOLLMAN, DEJON
                      111 E WISCONSIN AVE
                      SUITE 1400
                      MILWAUKEE, WI 53202


                      OAK HILL GUN CLUB
                      12364 COON HUNTER ROAD
                      BLUE GRASS, IA 52726


                      OAKDALE GUN CLUB
                      10386 N 10TH ST
                      LAKE ELMO, MN 55042


                      OCCUVAX LLC
                      13423 LYNAM DRIVE
                      OMAHA, NE 68138
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                      OCELOT18 LLC
                      1035 S. FEDERAL HIGHWAY UNIT 414
                      DELRAY BEACH, FL 33483


                      OFF DUTY MANAGEMENT INC
                      1908 AVENUE D, A100
                      KATY, TX 77493


                      OFFICE OF VITAL RECORDS AND STATISTICS
                      4150 TECHNOLOGY WAY
                      SUITE 104
                      CARSON CITY, NV 89706


                      OHIO RIFLE AND PISTOL ASSOC
                      125 GAYLE DR
                      PICKERINGTON, OH 43147-2024


                      OHIO STATE TREASURER
                      PO BOX 16561
                      COLUMBUS, OH 43266-0061


                      OHIOANS FOR CONCEAL AND CARRY
                      9821 FIRESTONE LN
                      MACEDONIA, OH 44056-1544


                      OKLAHOMA CITY GUN CLUB
                      PO BOX 21067
                      OKLAHOMA CITY, OK 73156-1067


                      OKLAHOMA TAX COMMISSION
                      2501 LINCOLN BOULEVARD
                      OKLAHOMA CITY, OK 73194


                      OLD DOMINION FREIGHT LINE INC
                      500 OLD DOMINION WAY
                      THOMASVILLE, NC 27360
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                      OLD FORT GUN CLUB INC.
                      PO BOX 2833
                      FORT SMITH, AR 72913-2833


                      OLD HICKORY RIFLE AND PISTOL C
                      PO BOX 441
                      FOREST CITY, NC 28043-0441


                      OLD REPUBLIC PROFESSIONAL LIABILITY
                      ATTN: UNDERWRITTING DEPARTMENT
                      191 NORTH WACKER DRIVE
                      SUITE 1000
                      CHICAGO, IL 60606


                      OLEY VALLEY FISH & GAME ASSOC.
                      114 OLD STATE RD
                      READING, PA 19606-9353


                      OLIN CORP. - WINCHESTER DIV.
                      427 NORTH SHAMROCK STREET
                      EAST ALTON, IL 62024


                      ON GUARD DEFENSE LLC
                      65915 BETHEL RD
                      NEW PLYMOUTH, OH 45654


                      ON-SITE PRODUCTIONS, INC.
                      105 MEADOWS LANE #100
                      ALEXANDRIA, VA 22304


                      ORCHARD MESA GUN CLUB
                      18205 HIGHWAY 141
                      WHITEWATER, CO 81527-9739


                      OREGON DEPARTMENT OF FISH AND WILDLIFE
                      4034 FAIRVIEW INDUSTRIAL DRIVE SE
                      SALEM, OR 97302-1142
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                      OREGON DEPARTMENT OF REVENUE
                      PO BOX 14730
                      SALEM, OR 97309-0464


                      OREGON DEPARTMENT OF REVENUE - OTC
                      PO BOX 14800
                      SALEM, OR 97309-0920


                      OREGON STATE UNIVERSITY
                      PO BOX 1086
                      CORVALLIS, OR 97339


                      ORVILLE DEUTCHMAN
                      5620 WILSON DR
                      PORT ORANGE, FL 32127-5347


                      ORWELL GUN CLUB
                      300 MAPLE AVE
                      CHARDON, OH 44024-1040


                      OSHINK INC
                      539 OAK ST
                      COPIAGUE, NY 11726


                      OTIS ELEVATOR COMPANY
                      9712-D GUNSTON COVE ROAD
                      LORTON, VA 22079


                      OTIS PRODUCTS INC
                      6987 LAURA ST
                      PO BOX 582
                      LYONS FALLS, NY 13368


                      OUTDOOR CAP COMPANY
                      1200 MELISSA LANE
                      BENTONVILLE, AR 72712
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                      OUTDOOR CHANNEL
                      43445 BUSINESS PARK DR #103
                      TEMECULA, CA 92590


                      OUTDOOR CONNECTION, INC
                      ATTN:SHANNA DAVENPORT
                      ONE BOYT DRIVE
                      OSCEOLA, IA 50213-0523


                      OUTDOOR CUSTOM SPORTSWEAR LLC
                      7007 COLLEGE BLVD SUITE 200
                      OVERLAND PARK, KS 66211


                      OUTDOOR NEWS INC
                      9850 51ST AVE N
                      SUITE 130
                      PLYMOUTH, MN 55442


                      OUTDOOR SHENANIGANS LLC
                      7939 E BAYBERRY LAND
                      FLORAL CITY, FL 34436


                      OUTDOOR SPORTSMAN CLUB OF MITC
                      PO BOX 144
                      MITCHELL, IN 47446-0144


                      OUTLOUD MINISTRIES & PROMOTIONS LLC
                      2005 5TH AVE
                      ANTIGO, WI 54409


                      OUTSIDE CONNECTION, THE
                      58 SONIA LANE
                      N CLARENDON, VT 05759-9791


                      OVERWATCH SECURITY GROUP, INC
                      PO BOX 549
                      HASTINGS, FL 32145-0549
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                      P.K. ARMS, INC.
                      102 S WATER ST
                      WILMINGTON, IL 60481-1372


                      PA DEPARTMENT OF AGRICULTURE
                      2300 NORTH CAMERON ST
                      HARRISBURG, PA 17110-9443


                      PAC OUTSOURCING LLC
                      5845 RICHMOND HIGHWAY
                      STE 820
                      ALEXANDRIA, VA 22303


                      PAC WEST OFFICE EQUITIES LP
                      555 CAPITOL MALL, SUITE 900
                      SACRAMENTO, CA 95814


                      PACER SERVICE CENTER
                      PO BOX 70951
                      CHARLOTTE, NC 28272-0951


                      PACHAUG OUTDOOR CLUB INC.
                      507 CANTERBURY TPKE
                      NORWICH, CT 06360-1371


                      PACIFIC TRIAL ATTORNEYS, A PROFESSIONAL
                      4100 NEWPORT PLACE DRIVE
                      SUITE 800
                      NEWPORT BEACH, CA 92660


                      PACKIN' NEAT
                      PO BOX 100009
                      CAPE CORAL, FL 33910


                      PALADIN SERVICES LLC
                      141-F PELHAM DR #254
                      COLUMBIA, SC 29209-0601
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                      PALM COAST DATA, INC
                      11 COMMERCE BOULEVARD
                      PALM COAST, FL 32164-7961


                      PALUH JACK ARTS INC
                      2869 OLD WATSSBUG RD
                      WATERFORD, PA 16441


                      PALUH'S ART GALLERY AND WOOD ART
                      740 SMOKEY HILL ROAD
                      TIONESTA, PA 16353


                      PAMELA JAYE COUGHLIN
                      25 E SUSQUEHANNA ST
                      ALLENTOWN, PA 18103-4168


                      PANTEAO SPORTSMAN'S CLUB
                      2040 PINE PLAIN ROAD
                      SWANSEA, SC 29160


                      PANZANO FIREARMS TRAINING LLC
                      592 KINGSMILL CT
                      OLDSMAR, FL 34677


                      PARABELLUM SPORTING GOODS LLC
                      1955 SWARTHMORE AVE
                      STE 5
                      LAEKWOOD, NJ 08701-4557


                      PARABELLUM TACTICAL CONSULTING
                      1938 MATTHEW TALBOT RD
                      FOREST, VA 24551


                      PARADISE ROD AND GUN CLUB INC.
                      PO BOX 1081
                      PARADISE, CA 95967-1081
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                      PARAMETER LLC
                      223 SALT LICK ROAD
                      SUITE 220
                      ST PETERS, MO 63376


                      PARIN GROUP INC, THE
                      4800 HAMPDEN LANE
                      SUITE 200
                      BETHESDA, MD 20814


                      PARISH OF EAST BATON ROUGE
                      SHERIFF & TAX COLLECTOR
                      PO BOX 91285
                      BATON ROUGE, LA 70821


                      PARKLAND DIRECT INC
                      305 ENTERPRISE DRIVE
                      FOREST, VA 24551-2645


                      PARLIAMENTARY STRATEGIES, LLC
                      717 KING ST
                      ALEXANDRIA, VA 22314


                      PARRIS MANUFACTURING CO.
                      PO BOX 338
                      SAVANNAH, TN 38372


                      PARTNERS CONTRACTING, INC.
                      22710 EXECUTIVE DRIVE
                      STERLING, VA 20166


                      PARTSKLASSIK.LLC
                      6500 W SNOWBOWL VIEW CIRCLE
                      FLAGSTAFF, AZ 86001


                      PASSCODE CREATIVE, LLC
                      227 THIRD AVENUE NORTH
                      FRANKLIN, TN 37064
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                      PAT'S PAWN AND GUN SHOP INC
                      2301 EAST HWY 441
                      LEESBURG, FL 34748


                      PATRICK HENRY COLLEGE
                      10 PATRICK HENRY CIRCLE
                      PURCELLVILLE, VA 20132


                      PATRICK MORRISEY
                      STATE CAPITOL
                      1900 KANAWHA BLVD., E.
                      CHARLESTON, WV 25305


                      PATRIOT ELITE CONSULTING LLC
                      299 CORNERSTONE DR
                      BRANDON, MS 39042


                      PATRIOT MOBILE
                      3341 REGNET BLVD
                      SUITE 130-352
                      IRIVNG, TX 75063


                      PATRIOT NEWS CO, THE
                      1900 PATRIOT DRIVE
                      MECHANICSBURG, PA 17050


                      PATRIOT OUTDOORS, LLC
                      3842 WITCHERVILLE RD
                      GREENWOOD, AR 72936


                      PAUL BUNYAN RIFLE & SPORTSMEN'
                      17902 MERIDAN EAST
                      PUYALLUP, WA 98375


                      PAW PAW CONSERVATION CLUB
                      PO BOX 342
                      PAW PAW, MI 49079-0342
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                      PAXTON RECORD RETENTION INC
                      5280 PORT ROYAL ROAD
                      SPRINGFIELD, VA 22151


                      PAYKEN LLC
                      2282 ROUTE 314
                      HENRYVILLE, PA 18332


                      PAYNES CREEK SPORTSMANS CLUB
                      6711 COVEY ROAD
                      P.O. BOX 718
                      FORESTVILLE, CA 95436


                      PC SOLUTIONS, INC
                      2913 HARRISON AVE
                      CLOVIS, NM 88101-3364


                      PC TEK
                      ATTN: GEORGE IDZOREK
                      4168 ALABAMA AVE APT D
                      LOS ALAMOS, NM 87544


                      PCM CONSTRUCTION T/A PCM SERVICES
                      10511 TUCKER STREET
                      BELTSVILLE, MD 20705


                      PDQ.COM CORPORATION
                      PO BOX 1229
                      SALT LAKE CITY, UT 84110-1229


                      PEACEMAKER NATIONAL TRAINING CENTER
                      1624 BRANNONS FORD RD
                      GERRARDSTOWN, WV 25420


                      PEAK INCENTIVES INC
                      2215
                      2215 PLANK RD #203
                      FREDERICKSBURG, VA 22401
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                      PEARLAND SPORTSMAN'S CLUB
                      4109 GRIMES ST
                      HOUSTON, TX 77087-1321


                      PECONIC RIVER SPORTSMAN'S CLUB
                      223 MAPLE AVE
                      EAST MEADOW, NY 11554-2844


                      PELCHERS SHOOTING SUPPLY INC
                      18149 GREENWOOD ST
                      LANSING, IL 60438-2301


                      PELHAM FISH AND GAME CLUB, INC
                      PO BOX 917
                      PELHAM, NH 03076-0917


                      PEMI VALLEY FISH & GAME CLUB
                      PO BOX 38
                      PLYMOUTH, NH 03264-0038


                      PENN HARRIS GUN CLUB
                      PO BOX 7557
                      HARRISBURG, PA 17113


                      PENN STATE UNIVERSITY
                      109 SHIELDS BUILDING
                      UNIVERSITY PARK, PA 16802-1220


                      PENNSYLVANIA BASS FEDERATION INC
                      102 TIOGA CT
                      OLD FORGE, PA 18518


                      PENNSYLVANIA DEPARTMENT OF REVENUE, BURE
                      BUREAU OF RECEIPTS AND CONTROL
                      DEPARTMENT 280406
                      HARRISBURG, PA 17128-0406
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                      PENNSYLVANIA ENTERTAINMENT GROUP INC
                      1349 QUAIL HOLLOW RD
                      HARRISBURG, PA 17112


                      PENNSYLVANIA FARM SHOW COMPLEX & EXPO CE
                      2300 NORTH CAMERON STREET
                      HARRISBURG, PA 17110


                      PENOBSCOT COUNTY CONSERVATION
                      127 LINCOLN ST
                      BANGOR, ME 04401-6220


                      PENSACOLA RIFLE & PISTOL CLUB
                      PO BOX 10751
                      PENSACOLA, FL 32524-0751


                      PENSION BENEFIT GUARANTY CORPORATION (PB
                      P.O. BOX 151750
                      ALEXANDRIA, VA 22315-1750


                      PENSION BENEFIT GUARANTY CORPORATION (PB
                      1200 K STREET
                      NW
                      WASHINGTON, D.C., DC 20005


                      PENSKE TRUCK LEASING CO LP
                      8515 LEE HWY
                      FAIRFAX, VA 22034


                      PEOPLE OF THE STATE OF NEW YORK, BY LETI
                      DEPT OF LAW
                      THE CAPITOL
                      2ND FLOOR
                      ALBANY, NY 12224


                      PERCH POINT CONSERVATION CLUB
                      39284 SCHROEDER DR
                      CLINTON TWP, MI 48038-2862
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                      PERFECT FIT LLC
                      LEVESQUE, MICHAEL C
                      PO BOX 439
                      39 STETSON RD
                      CORINNA, ME 04928


                      PERFORMANCE PUBLISHING, LLC
                      PO BOX 1185
                      QUAKERTOWN, PA 18951


                      PERITUS HOLDINGS
                      516 S 10TH ST.
                      NOBLESVILLE, IN 46060


                      PERRY TOWNSHIP GAME ASSOCIATIO
                      11 TEDWAY AVE
                      KUTZTOWN, PA 19530-9080


                      PERSONAL NETWORK COMPUTING INC
                      4160 SULSUN VALLEY ROAD
                      E712
                      FAIRFIELD, CA 94534


                      PERSONAL PROTECTION INSTITUTE
                      109 FOREST RD
                      BANGOR, PA 18013-5352


                      PESTILLO, MICHAEL VINCENT
                      1019 EKONK HILL RD
                      VOLUNTOWN, CT 06384


                      PETER NERONHA
                      150 S. MAIN STREET
                      PROVIDENCE, RI 02903


                      PEW PEW GURU LLC
                      504 WHITE OWL LN
                      OSWEGO, IL 60543-7151
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                      PFI, LLC
                      1614 16TH ST
                      MILFORD, IA 51351-1800


                      PG CALC INCORPORATED
                      129 MOUNT AUBURN STREET
                      CAMBRIDGE, MA 02138


                      PHASE 3 TRAINING INC
                      30 OAKLEY DR
                      HUNTINGTON STAT, NY 11746-3116


                      PHIL WEISER
                      RALPH L. CARR COLORADO JUDICIAL CENTER
                      1300 BROADWAY
                      10TH FLOOR
                      DENVER, CO 80203


                      PHOENIX ROD & GUN CLUB
                      915 W OLNEY DR
                      PHOENIX, AZ 85041-8925


                      PICKAWAY COUNTY SPORTSMEN, INC
                      2553 HOOVER CROSSING WAY
                      GROVE CITY, OH 43123-9064


                      PIMA COUNTY
                      33 N STONE MAIL STOP DT-BAB6-401
                      TUCSON, AZ 85701


                      PIMA PISTOL CLUB INC
                      PO BOX 8704 CRB
                      TUSON, AZ 85738-0704


                      PINE BLUFF GUN CLUB INC
                      2006 GINNETT RD
                      WHITE HALL, AR 71602-3511
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                      PINE TREE PISTOL CLUB INC
                      PO BOX 6975
                      ROCKFORD, IL 61125-1975


                      PINE TREE RIFLE CLUB
                      257 COUNTY HIGHWAY 154
                      GLOVERSVILLE, NY 12078-6015


                      PINELLAS FIREARMS TRAINING, LL
                      6620 97TH AVE N
                      PINELLAS PARK, FL 33782


                      PINETREE PAWN
                      2330 GA HIGHWAY 122
                      THOMASVILLE, GA 31757


                      PIONEER GUN CLUB
                      PO BOX 18546
                      RAYTOWN, MO 64133-8546


                      PIONEER GUN COLLECTORS
                      7211 ALPINE LN
                      AMARILLO, TX 79109-6851


                      PISCATAQUA FISH AND GAME CLUB
                      PO BOX 722
                      PORTSMOUTH, NH 03802-0722


                      PITNEY BOWES INC
                      7630 LITTLE RIVER TURNPIKE
                      #900
                      ANNANDALE, VA 22003


                      PLANTWORKS INC
                      3612 EAST STREET
                      LANDOVER, MD 20785
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                      PLATTSBURGH ROD AND GUN CLUB
                      60 OAK ST
                      CHAMPLAIN, NY 12919


                      PLEASANT VALLY TROUT & GAME CL
                      PO BOX 201
                      PLEASANT VALLEY, NY 12569-0201


                      PLURALSIGHT LLC
                      182 NORTH UNION AVE
                      SUITE 200
                      FARMINGTON, UT 84025


                      PM CONSULTING CORP.
                      JENNINGS STEINE & COMPANY
                      12100 WILSHIRE BLVD
                      SUITE 400
                      LOS ANGELES, CA 90025


                      PN3 SOLUTIONS
                      4800 HAMPDEN LANE
                      SUITE 200
                      BETHESDA, MD 20814


                      PNC BANK
                      TREAS MGMT CLIENT CARE
                      ONE FINANCIAL PARKWAY
                      LOCATOR Z1-YB42-03-1
                      KALAMAZOO, MI 49009


                      POINT BLANK FIREARMS & SELF DE
                      1064 S SETTLERS CIR
                      PALMERS, AK 99645-9366


                      POINT BLANK RANGE MOORESVILLE
                      743 RIVER HWY
                      MOORESVILLE, NC 28117-9056


                      POINT UNIVERSITY
                      507 WEST 10TH ST
                      WEST POINT, GA 31833
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                      POLARIS DEVELOPMENT CORP
                      7270-H PARK CIRCLE DRIVE,STE.3
                      HANOVER, MD 21076


                      POLICE PRODUCTIONS LLC
                      281 ANCIENT ELMS CT
                      LAKE ST LOUIS, MO 63367


                      PONCA CITY RIFLE & PISTOL CLUB
                      PO BOX 708
                      PONCA CITY, OK 74602-0708


                      POPLAR BLUFF GUN CLUB
                      PO BOX 3926
                      POPLAR BLUFF, MO 63902-3926


                      PORT MALABAR RIFLE & PISTOL CL
                      250 YELLOWSTONE AVE NE
                      PALM BAY, FL 32907-2515


                      PORTAGE SUMMIT FIELD & STREAM,
                      4020 GENEVIEVE BLVD
                      STOW, OH 44224-3534


                      PORTLAND RIFLE & PISTOL CLUB
                      6130 NE HASSALO ST
                      PORTLAND, OR 97213-4346


                      POSTMASTER - FAIRFAX MAIN
                      10660 PAGE AVE
                      FAIRFAX, VA 22030-9998


                      POSTMASTER - HANSEN ROAD
                      HANSEN ROAD POST OFFICE
                      790 HANSEN ROAD STE E
                      GRREN BAY, WI 54304
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                      POSTMASTER - LYNCHBURG
                      3300 OLD FELLOW ROAD
                      LYNXHBURG, VA 24506


                      POSTMASTER - THE ROCK
                      100 DUPLAINVILLE RD
                      THE ROCK, GA 30285


                      POSTMASTER - THOMASTON, GA
                      103 EAST THOMPSON ST
                      THOMASTON, GA 30286


                      POTOMAC PURE WATER, INC.
                      7901-S BEECHCRAFT AVE
                      GAITHERSBURG, MD 20879


                      POULSBO SPORTSMAN CLUB INC.
                      PO BOX 3651
                      SILVERDALE, WA 98383


                      POWER AISLE, INC.
                      HYSKORE
                      ATTN: TED WERNER
                      588 CLAUVERWIE RD
                      MIDDLEBURG, NY 12122


                      POWERS DEFENSIVE TACTICS LLC
                      4419 SUNSET BLVD
                      STEUBENVILLE, OH 43952


                      POWERTAC
                      3702 ALLIANCE DRIVE
                      GREENSBORO, NC 27407


                      PRACTICAL TACTICAL FIREARMS
                      5560 WESTFORK RD
                      CINCINNATI, OH 45247
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                      PRAETORIAN GROUP,INC.
                      200 GREEN STREET SUITE 200
                      SAN FRANCISCO, CA 94111


                      PRAIRIE HOMESTEAD ENTERPRISES
                      1123 N KNOTTY PINE LN
                      PUEBLO WEST, CO 81007


                      PRECISE CORPORATE PRINTING INC
                      ONE CAPE MAY STREET
                      HARRISON, NJ 07029


                      PRECISION FIREARMS TRAINING IN
                      1630 GRAHAM ST
                      FRANKLIN, IN 46131-9723


                      PRECISION VALLEY FISH & GAME A
                      PO BOX 143
                      PERKINSVILLE, VT 05151-0143


                      PREMIER PINS
                      DIVISION OF K&R
                      ATTN: JEFF DECENZO
                      14110-D SULLYFIELD CIRCLE
                      CHANTILLY, VA 20151


                      PREMIUM LAWN CARE SERVICES INC
                      12329 BRADDOCK RD
                      FAIRFAX, VA 22030


                      PRESERVE RANGE MANAGEMENT LLC
                      87 KINGSTOWN RD
                      WYOMING, RI 02898


                      PRINCE EDWARD COUNTY
                      PO BOX 522
                      FRAMVILLE, VA 23901
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                      PRINCPAL FINANCIAL
                      PO BOX 9394
                      DES MOINES, IA 50306-9394


                      PRINT MAIL COMMUNICATIONS INC
                      4333 DAVENPORT RD
                      FREDERICKSBURG, VA 22408


                      PROACTIVE FIREARMS TRAINING IN
                      416 S WASHINGTON ST
                      MORRISTOWN, IN 46161-4600


                      PROFESSIONALS FIREARMS TRAININ
                      1315 W GONZALES RD STE B
                      OXNARD, CA 93036-3078


                      PROFILE RESEARCH INC
                      PO BOX 303
                      ROWLEY, MA 01969


                      PROFITS PLUS SOLUTIONS INC
                      241 DRIFTWOOD ROAD SE
                      ST. PETERSBURG, FL 33705


                      PROGRESS SOFTWARE CORPORATION
                      14 OAK PARK DRIVE
                      BEDFORD, MA 01730


                      PROJECTILE MARKETING LLC
                      PO BOX 1160
                      BIRMINGHAM, MI 48012


                      PROLIST
                      PROFESSIONAL DATA SERVICES
                      4510 BUCKEYSTOWN PIKE
                      SUITE M
                      FREDERICK, MD 21703
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                      PROMOTIONS PERFECTED INC
                      2 N MAIN ST
                      HOLLAND, NY 14080-9509


                      PROPPER INTERNATIONAL SALES INC
                      17 RESEARCH PARK DRIVE
                      SUITE 100
                      ST CHARLOES, MO 63304


                      PROSHOTS, LLC
                      1013 BETHANIA RURAL HALL RD
                      RURAL HALL, NC 27045-9552


                      PROSPECT GUN CLUB INC.
                      PO BOX 7293
                      PROSPECT, CT 06712-0293


                      PROSPERO DUO LLC
                      765 EAST MAIN ST
                      BRANFORD, CT 06405


                      PROTECTIVE FORCE & FUGITIVE RE
                      725 W LUZERNE ST
                      PHILADELPHIA, PA 19140-3249


                      PROVERBS 16:3, LLC
                      2709 BOULEVARD PLAZA
                      WICHITA, KS 67211-3813


                      PS PRODUCTS, INC.
                      ATTN: BILLY PENNINGTON
                      3120 JOSHUA ST
                      LITTLE ROCK, AR 72204


                      PUBLISHERS DEVELOPMENT CORPORATION
                      12345 WORLD TRADE DR
                      SAN DIEGO, CA 92128
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                      PUEBLO MUNICIPAL SHOOTERS, INC
                      PO BOX 4527
                      PUEBLO, CO 81003-0527


                      PUEBLO WEST SPORTSMAN'S ASSOC
                      P.O. BOX 7238
                      PUEBLO WEST, CO 81007


                      PURE WHITETAIL
                      7794 KEISTER RD
                      MIDDLETOWN, OH 45042


                      PURYEAR LAW P.C
                      1509 BERRYFIELD CT
                      BETTENDORF, IA 52722-4570


                      PYRAMEX SAFETY PRODUCTS, LLC
                      305 KEOUGH DRIVE
                      PIPERTON, TN 38017


                      QUABOAG SPORTSMENS CLUB
                      128 BOSTON RD
                      PALMER, MA 01069-2147


                      QUAD CITY INVESTIGATIONS, LLC
                      3917 VALLEY VIEW DR
                      BETTENDORF, IA 52722-5554


                      QUADGRAPHICS
                      N63W23075 HWY 74
                      SUSSEX, WI 53089


                      QUAIL CREEK SHOOTING RANGE LLC
                      13814 FM 1171
                      NORTHLAKE, TX 76262-5797
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                      QUAKE CITY CASUALS, INC.
                      1800 SOUTH FLOWER ST
                      LOS ANGELES, CA 90015


                      QUALITY PRODUCTS LLC
                      3914 WINNEMAC AVE
                      MADISON, WI 53711-1641


                      QUITMAN CITY POLICE DEPARTMENT
                      PO BOX 16
                      QUITMAN, MS 39355


                      QUIVERA GUN CLUB
                      820 MOUNDVIEW AV
                      SALINA, KS 67401


                      R & D STAMP & SIGN COMPANY
                      7200 TELEGRAPH SQUARE DR.
                      SUITE N
                      LORTON, VA 22079


                      R L OWENS & COMPANY INC
                      28248 N. TATUM BLVD
                      SUITE B-1 PMB620
                      CAVE CREEK, AZ 85331


                      R. FRITZ ENTERPRISES INC
                      326 VANYO RD
                      BERLIN, PA 15530-8310


                      R.F.S.J. INC
                      ATTN: MARIANNE BAILEY
                      105 QUARRY STREET
                      MT. PLEASANT, PA 15666


                      R.W. SQUIRES & ASSOCIATES, LLC
                      704 DUCHESS ST
                      MILFORD, MI 48381-1102
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                      RACHEL SCREEN PRINTING
                      PAIGE BROTZMAN
                      40 CLAREMONT DR
                      PORTSMOUTH, VA 23701


                      RACINE COUNTY LINE RIFLE CLUB
                      7504 S CRANE DR
                      OAK CREEK, WI 53154-2446


                      RACKSPACE, INC
                      1 FANATICAL PLACE
                      CITY OF WINDCREST
                      SAN ANTONIO, TX 78218


                      RADIO CARLISLE INC
                      728 N HANOVER ST
                      CARLISLE, PA 17013


                      RAMAPOUGH SPORTSMEN ASSOC
                      29 FREDERICK ST
                      GARNERVILLE, NY 10923-1007


                      RAMCO OF VIRGINIA, INC.
                      3900 JERMANTOWN RD
                      SUITE300
                      FAIRFAX, VA 22030


                      RAMWORKS INC
                      3702 ROCKY BRANCH ROAD
                      PRINCETON, WV 24740


                      RANGE SYSTEMS, INC.
                      5121 WINNETKA AVE N
                      SUITE 225
                      NEW HOPE, MN 55428


                      RANGE29 LLC
                      1613 NW 136TH AVE BLDG C
                      SUNRISE, FL 33323
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                      RAPPAHANNOCK PISTOL &RIFLE INC
                      PO BOX 391
                      WHITE STONE, VA 22578-0391


                      RAPTOR ENTERPRISES
                      1809 BELOIT AVENUE
                      JANESVILLE, WI 53546


                      RAW SPIRIT LLC, THE
                      16303 205TH AVE
                      ELK RIVER, MN 55330


                      RCLA LLC
                      3106 WILLOW WOOD TRL
                      KINGWOOD, TX 77345


                      REAL AVID
                      5480 NATHAN LANE N
                      SUITE 120
                      MINNEAPOLIS, MN 55442


                      REALCO GUNS INC.
                      6108 MARLBORO PIKE
                      DISTRICT HTS, MD 20747-2101


                      RED 11 MUSIC LLC
                      1617 W 6TH ST
                      SUITE A
                      AUSTIN, TX 78703


                      RED COATS INC
                      4401 EAST WEST HIGHWAY
                      BETHESDA, MD 20602


                      RED LION TRAINING LLC
                      3813 MARBLE DR
                      HIGH POINT, NC 27265-9033
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                      REESE FIREARMS
                      6009 WOODS EDGE LN
                      KERNERSVILLE, NC 27284


                      REGISTER OF COPYRIGHTS
                      LIBRARY OF CONGRESS
                      101 INDEPENDENCE AVENUE SE
                      WASHINGTON, DC 20559-6000


                      RELX INC
                      PO BOX 7247-7090
                      PHILADELPHIA, PA 19170-7090


                      RENT WITH INTEGRITY LLC
                      1648-C METROPOLITAN CIRCLE
                      TALLAHASSEE, FL 32308


                      REPUBLICAN ATTORNEYS GENERAL ASSOCIATION
                      1747 PENNSYLVANIA AVE NW
                      SUITE 800
                      WASHINGTON, DC 20006


                      REPUBLICAN GOVERNORS ASSOCIATION
                      1747 PENNSYLVANIA AVE NW
                      SUITE 250
                      WASHINGTON, DC 20006


                      RESTAURANT ROW CORNER LLC
                      410 S RAMPART BLVD
                      STE 440
                      LAS VEGAS, NV 89145


                      RETIRED POLICE ASSOCIATION OF
                      1 OLD COUNTRY RD STE 265
                      CARLE PLACE, NY 11514-1822


                      RETURN PATH INC
                      3 PARK AVENUE
                      41ST FLOOR
                      NEW YORK, NY 10016
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                      REVENUE DISCOVERY SYSTEMS
                      PO BOX 830725
                      BIRMINGHAM, AL 35283-0725


                      REVENUE DISCOVERY SYSTEMS, REVENUE OFFIC
                      PO BOX 830725
                      BIRMINGHAM, AL 35283-0725


                      REVO BRAND GROUP LLC
                      5480 NATHAN LANE N
                      SUITE 120
                      PLYMOUTH, MN 55442


                      RGP ENTERPRISES
                      732 HOPE ROAD
                      STAFFORD, VA 22554


                      RHINELAND CUTLERY
                      228 COLBURN DR
                      DEBARY, FL 32713


                      RICHMOND INDUSTRIAL SUPPLY CO,
                      170 FORT WAYNE AVE
                      RICHMOND, IN 47374-3056


                      RIDER NOW MAGAZINE LLC
                      1040 MATTERHORN ST
                      DELTONA, FL 32725-6522


                      RIDGE RIFLE ASSOCIATION
                      4352 BLUE RIDGE TPKE
                      FINCASTLE, VA 24090-4269


                      RIDGWAY RIFLE CLUB
                      GRANT RD
                      RIDGWAY, PA 15853
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                      RIFLE & PISTOL CLUB OF FORT DO
                      836 N 20TH ST
                      FORT DODGE, IA 50501-2758


                      RIFLEMAN CONSULTING LLC
                      PO BOX 671
                      CARTHAGE, NC 28327


                      RIGHT TO BEAR ARMS LLC
                      11200 MONTGOMERY BLVD NE STE 1
                      ALBUQUERQUE, NM 87111-2679


                      RIGLERS SPORTS SUPPLY
                      1111 1ST AVE.
                      ROCK FALLS, IL 61071


                      RINGS MANUFACTURING
                      99 E. DRIVE
                      MELBORNE, FL 32904


                      RIO AMMUNITION INC
                      5892 HWY 230 WEST
                      MCEWEN, TN 37101


                      RIVANNA RIFLE & PISTOL CLUB
                      PO BOX 7883
                      CHARLOTTESVILLE, VA 22906-7883


                      RIVER BEND GUN CLUB
                      PO BOX 178
                      MARBLE HILL, GA 30148-0178


                      RIVER CITY RIFLE & PISTOL CLUB
                      PO BOX 847
                      MASON CITY, IA 50402-0847
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                      RIVER FALLS RIFLE CLUB
                      N7578 910TH ST
                      RIVER FALLS, WI 54022-4043


                      RIVERS WEST APPAREL,INC.
                      3000 LIND AVE. SW
                      RENTON, WA 98057


                      RJ ASSOCIATES, INC
                      4116 LEONARD DR
                      FAIRFAX, VA 22030


                      RKA ENTERPRISES LTD
                      3029 ELDAMAIN RD
                      PLANO, IL 60545-9715


                      RKW HOLDINGS
                      8135 COXS DR STE 211
                      PORTAGE, MI 49002-5899


                      RL SCHREIBER INC
                      1741 33RD STREET
                      POMPANO BEACH, FL 33064


                      ROANOKE RIFLE & REVOLVER CLUB
                      PO BOX 12453
                      ROANOKE, VA 24025-2453


                      ROBERT F SHARPE & CO INC
                      SHARPE GROUP
                      6410 POPLAR AVENUE
                      SUITE 700
                      MEMPHIS, TN 38119


                      ROBOTRONICS INC
                      1610 WEST 1600 SOUTH
                      SPRINGVILLE, UT 84663-3057
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                      ROCHESTER ROD AND GUN CLUB
                      22289 STATE ROUTE 511
                      WELLINGTON, OH 44090-9704


                      ROCHESTER SPORTSMEN CLUB
                      192 FLORENCE RD
                      NEW BRIGHTON, PA 15066-3550


                      ROCK COUNTY RIFLE & PISTOL
                      300 ROCKSHIRE DR
                      JANESVILLE, WI 53546-2184


                      ROCKINGHAM COUNTY GUN CLUB INC
                      PO BOX 811
                      REIDSVILLE, NC 27323-0811


                      ROD & GUN CLUB OF NEW BEDFORD
                      PO BOX 79575
                      NORTH DARTMOUTH, MA 02747-0988


                      ROGERS & COMPANY PLCC
                      8300 BOONE BOULEVARD
                      SUITE 600
                      VIENNA, VA 22182


                      ROLLINS INC
                      PO BOX 740847
                      CINCINNATI, OH 45274


                      RON PETERSON GUNS INC.
                      4418 CENTRAL S.E.
                      ALBUQUERQUE, NM 87108


                      RON SPOMER OUTDOORS INC.
                      1454 E, SHENANDOAH DR
                      BOISE, ID 83712
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                      ROSEBURG ROD AND GUN CLUB
                      428 DEL RIO ROAD
                      ROSEBURG, OR 97470


                      ROSS, WAYNE ANTHONY
                      P O BOX 101522
                      ANCHORAGE, AK 99510


                      ROTELLINI TAXIDERMY
                      BOX 232
                      SOUTH HEIGHTS, PA 15081


                      ROYAL RIVER ROD & GUN CLUB
                      PO BOX 1086
                      GRAY, ME 04039-1086


                      RR DONNELLEY
                      7810 SOLUTION CENTER
                      CHICAGO, IL 60677


                      RR DONNELLEY
                      MOORE WALLACE
                      3075 HIGHLAND PKWY STE 400
                      DOWNERS GROVE, IL 60515


                      RR DONNELLEY - POSTAGE
                      3950 LANCASTER NEW LEXINGTON RD
                      LANCASTER, OH 43130


                      RSM US LLP
                      8000 TOWERS CRESCENT DR
                      SUITE 500
                      VIENNA, VA 22182


                      RST MARKETING ASSOCIATES INC - NON POSTA
                      212 CORPORATE PARK RD
                      FOREST, VA 24551
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                      RSUI
                      945 E. PACES FERRY ROAD
                      SUITE 1800
                      ATLANTA, GA 30326


                      RTBA FIREARMS LLC
                      2390 DEAN DR
                      HIGHLAND, MI 48356-1910


                      RTBA LLC
                      25688 DIXIE HWY
                      PERRYSBURG, OH 43551-2019


                      RTSP, LLC
                      961 STATE ROUTE 10
                      STE 2A
                      RANDOLPH, NJ 07869-1921


                      RUGGED RARE INC
                      42618 TRADE WEST DR
                      STERLING, VA 20166


                      RUSTIC GUIDE SERVICES LLC
                      33 WEST ELM ST
                      BROCKTON, MA 02301


                      S W FORUM, LLC
                      PO BOX 45
                      MAYSVILLE, GA 30558-0045


                      S&P FIREARMS UNLIMITED INC.
                      804 HEMPSTEAD TPKE
                      FRANKLIN SQUARE, NY 11010-4321


                      S. MICHAEL WILLIAMS & ASSOC.
                      PO BOX 248
                      508 SUNNYSLOPE RD
                      BLUEWATER, NM 87005-0248
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                      S. T. ACTION PRO
                      3815 NORTH US HWY, SUITE 24
                      COCOA, FL 32926


                      SAAR MFG CORP
                      4994 W 12TH AVE
                      HIALEAH, FL 33012


                      SACRAMENTO COUNTY SHERIFF'S OFFICE
                      3341 POWER INN ROAD
                      #313
                      SACARAMENTO, CA 95826-3889


                      SACRAMENTO COUNTY, UNSECURED TAX UNIT
                      UNSECURED TAX UNIT
                      P O BOX 508
                      SACRAMENTO, CA 95812-0508


                      SACRAMENTO VALLEY SHOOTING CEN
                      PO BOX 1407
                      SLOUGHHOUSE, CA 95683-1407


                      SAFARI CLUB INTERNATIONAL
                      4800 WEST GATES PASS ROAD
                      TUCSON, AZ 85745-9490


                      SAFARILAND
                      13386 INTERNATIONAL PARKWAY
                      JACKSONVILLE, FL 32218


                      SAFE DEFENSE INC
                      249 LIONEL DR
                      GRAYSLAKE, IL 60030


                      SAFE FIREARMS TRAINING LLC
                      3744 BAKER SCHOOLHOUSE RD
                      FREELAND, MD 21053-9792
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                      SAFETY ACADEMY USA
                      467 MAPLE ST
                      DANVERS, MA 01923


                      SAGE SOFTWARE, INC.
                      P O BOX 404927
                      ATLANTA, GA 30384-4927


                      SAGITTARIUS MARKSMANSHIP SERVI
                      6278 N FEDERAL HWY
                      FORT LAUDERDALE, FL 33308-1916


                      SAINT CHARLES SPORTSMAN'S CLUB
                      4045 RENNER RD
                      WALDORF, MD 20602


                      SALEM COUNTY SPORTSMEN'S CLUB
                      PO BOX 130
                      DEEPWATER, NJ 08023-0130


                      SALESFORCE.COM INC
                      ONE MARK ST- THE LANDMARK
                      SUITE 300
                      SAN FRANCISCO, CA 94105


                      SALGADO DEFENSE SPECIALITIES
                      669 W CITRON
                      CORONA, CA 92882


                      SALOMON FIREARMS TRAINING LLC
                      47 BRADEEN ST
                      ROSLINDALE, MA 02131-1814


                      SALT FORK RESORTS SHOOTINGCLUB
                      74978 BROADHEAD RD
                      KIMBOLTON, OH 43749-9747
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                      SAN DIEGO GUNS
                      5995 MISSION GORGE RD STE C
                      SAN DIEGO, CA 92120-4028


                      SAN JUAN WILDLIFE FEDERATION
                      PO BOX 1411
                      FARMINGTON, NM 87499-1411


                      SAND & SAGE RIFLE & PISTOL CLU
                      PO BOX 370
                      GARDEN CITY, KS 67846-0370


                      SANDHILL SHOOTING SPORTS LLC
                      PO BOX 984
                      ELGIN, SC 29045-0984


                      SANDUSKY COUNTY SPORTSMAN CLUB
                      PO BOX 83
                      GIBSONBURG, OH 43431-9721


                      SANDY BOTTOM SPORTSMEN'S CLUB
                      PO BOX 16
                      SEWARD, PA 15954-0016


                      SANDY RUN OUTDOORS LLC
                      1714 OLD STATE RD
                      GASTON, SC 29053-8257


                      SANFORD/SPRINGVALE FISH & GAME
                      28 ELM ST
                      LYMAN, ME 04002-7771


                      SANGRE SHOOTING SPORTS CLUB
                      PO BOX 1554
                      WESTCLIFFE, CO 81252-1554
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                      SANTA CLARA VALLEY RIFLE CLUB
                      3963 HAMILTON AVE APT 3
                      SAN JOSE, CA 95130-1537


                      SANTA LUCIA SPORTSMEN'S ASSOC
                      PO BOX 1077
                      ATASCADERO, CA 93423-1077


                      SARATOGA FLAG
                      1940 ROUTE 32N
                      FORTSVILLE, NY 12831-2047


                      SAUGERTIES FISH & GAME CLUB
                      PO BOX 261
                      SAUGERTIES, NY 12477-0261


                      SAVAL FOODS CORPORATION
                      PO BOX 8630
                      6740 DORSEY ROAD
                      ELKRIDGE, MD 21075


                      SCANTRON CORPORATION
                      1251 E.DYER ROAD,SUITE 200
                      SANTA ANA, CA 92705


                      SCHEARER ENTERPRISES INC
                      PO BOX 6655
                      GREAT FALLS, MT 59406


                      SCHILL SOLUTIONS LLC
                      5206 FREDERICK ST
                      BARBERTON, OH 44203


                      SCHINDLER ELEVATOR CORPORATION
                      5800 MUIRKIRK RD
                      BELTSVILLE, MD 20705
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                      SCHOOL FAMILY MEDIA LLC
                      100 STON EWALL BLVD #3
                      WRENTHAM, MA 02093


                      SCHULTZ ROD AND GUN LCUB
                      PO BOX 571
                      MUSKEGO, WI 53150


                      SCHUYKILL COUNTY
                      1871 OLD MAIN DRIVE
                      SHIPPENSBURG UNIVERSITY
                      SHIPPENSBURG, PA 17257


                      SCOOTAROUND INC
                      7703 KINGSPOINTE PARKWAY
                      SUITE 400
                      ORLANDO, FL 32819


                      SCOOTS PLACE LLC
                      37291 DAISY LN
                      ALBEMARLE, NC 28001


                      SCOTT MCINNES LLC
                      1280 WESTERVELT PL
                      HEWLETT, NY 11557


                      SCOTTS VALLEY SPORTSMEN'S CLUB
                      PO BOX 66132
                      SANTA CRUZ, CA 95067-6132


                      SCRANTON TIMES LP
                      149 PENN AVE
                      5TH FLOOR
                      SCRANTON, PA 18503


                      SDGC
                      1140 E 87TH ST
                      BROOKLYN, NY 11236-4709
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                      SEAN REYES
                      STATE CAPITOL
                      RM 236
                      SALT LAKE CITY, UT 84114


                      SEATTLE RIFLE & PISTOL ASSOCIA
                      17361 TYE ST SE
                      MONROE, WA 98272-1047


                      SEBASTOPOL RIFLE & PISTOL CLUB
                      PO BOX 575
                      SEBASTOPOL, CA 95473


                      SECURE IDEAS LLC
                      2970 HARTLEY RD
                      SUITE 200-A
                      JACKSONVILLE, FL 32257


                      SECURITY DETECTION INC
                      161 KUNIHOLM DRIVE
                      HOLLISTON, MA 01746


                      SECURITY INTELLIGENCE SPECIALI
                      1355 FAIRFAX AVE STE B
                      SAN FRANCISCO, CA 94124-1731


                      SEVR BROAD HEADS
                      5040 HAROLD GATTY DRIVE
                      SALT LAKE CITY, UT 84116


                      SEYFARTH SHAW LLP
                      233 S WACKER DR
                      SUITE 8000
                      CHICAGO, IL 60606


                      SHADE TREE HOLDINGS UNLIMITED
                      613 VENEZIA AVE
                      VENICE, CA 90291
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                      SHADE'S LANDING
                      15989 GARDEN VIEW DR
                      SAINT PAUL, MN 55124-7082


                      SHANER SPORTSMAN'S CLUB
                      11039 MALLARD LN
                      N HUNTINGDON, PA 15642-9009


                      SHARP SHOOTING INDOOR RANGE
                      1200 N FREYA WAY
                      SPOKANE, WA 99202-4562


                      SHARPE GROUP
                      6410 POPLAR AVENUE
                      SUITE 700
                      MEMPHIS, TN 38119


                      SHARPSHOOTERS
                      8135 GRAVOIS RD
                      SAINT LOUIS, MO 63123-4722


                      SHARPSHOOTERS GUN CLUB AND RAN
                      1345 RUTHERFORD RD
                      GREENVILLE, SC 29609


                      SHE MEANS BUSINESS DEFENSE STR
                      6136 11TH AVE
                      PEARLINGTON, MS 39572-7694


                      SHEBOYGAN RIFLE & PISTOL CLUB
                      W2515 HWY A SOUTH
                      OOSTBURG, WI 53070-1840


                      SHELBY COUNTY SHOOTING SPORTS
                      574 ELVIRA RD
                      HELENA, AL 35080-7926
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                      SHENANDOAH PRECISION GUNWORKS
                      3578 CEDAR CREEK GRADE
                      WINCHESTER, VA 22602-2745


                      SHERPA SOFTWARE LLC
                      456 WASHINGTON AVE
                      SUITE 2
                      BRIDGEVILLE, PA 15017


                      SHIPPENSBURG FISH AND GAME ASS
                      4498 MACLAYS MILL RD
                      SHIPPENSBURG, PA 17257


                      SHOCKEY SCOFIELD SOLUTIONS
                      333 NORTH FAIRFAX
                      SUITE 100
                      ALEXANDRIA, VA 22314


                      SHOOT STRAIGHT, INC
                      1349 S ORANGE BLOSSOM TRL
                      APOPKA, FL 32703-7605


                      SHOOTERS INC
                      2625 WEST PAWNEE
                      WICHITA, KS 67213-1815


                      SHOOTERS WORLD
                      27688 HIGHWAY 160
                      CORTEZ, CO 81321-9366


                      SHOOTERS WORLD, LLC
                      116 E FLETCHER AVE
                      TAMPA, FL 33612-3407


                      SHORELINE FIREARMS INSTRUCTION
                      16 COWHILL RD
                      KILLINGWORTH, CT 06419-2400
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                      SHOSHONI RIFLE CLUB
                      PO BOX 204
                      SHOSHONI, WY 82649


                      SHOWMASTERS INC
                      4225 FORTRESS DR
                      BLACKSBURG, VA 24060-1238


                      SHOWSPAN INCORPORATED
                      2121 CELEBRATION DRIVE NE
                      GRAND RAPIDS, MI 49525


                      SIDE BY SIDE FIREARMS
                      18 E MAIN ST STE 201
                      DENVILLE, NJ 07834-2155


                      SIERRA OSCAR SIERRA LLC
                      11673 MATTHEWS TRL
                      HAMPTON, GA 30228-1577


                      SIERRA VALLEY GUN CLUB
                      PO BOX 399
                      PORTOLA, CA 96122-0399


                      SIG SAUER INC
                      18 INDUSTRIAL DR
                      EXETER, NH 03833


                      SIGHTLINE TACTICS LLC
                      4651 MERCANTILE AVE
                      NAPLES, FL 34104-3349


                      SIGHTRON SPORTS OPTICS
                      100 JEFFREY WAY
                      SUITE A
                      YOUNGSVILLE, NC 27596
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                      SIGNIX INC
                      1110 MARKET ST
                      SUITE 402
                      CHATTANOOGA, TN 37402


                      SIMONEL PROPERTIES, LLC.
                      5410 RUSTIC PINE CT
                      ORLANDO, FL 32819-7129


                      SIMTRAINER LLC
                      2031 DRYDEN RD
                      MORAINE, OH 45439-1741


                      SINCLAIR TELEVISIONS OF FRESNO LLC
                      10706 BEAVER DAM RD
                      COCKEYSVILLE, MD 21030


                      SINNISSIPPI ROD AND GUN CLUB
                      1474 WASHINGTON RD
                      PROPHETSTOWN, IL 61277


                      SIR WALTER GUN CLUB
                      PO BOX 585
                      CREEDMOOR, NC 27522-0585


                      SISKIYOU MOUNTAIN MEN
                      P.O. BOX 634
                      YREKA, CA 96097


                      SITC LLC
                      1945 STATE ROUTE 42
                      FORESTBURGH, NY 12777


                      SITZCO LLC
                      1607 GOOSENECK DR
                      BRYAN, TX 77808
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                      SK GLOBAL SOFTWARE LLC
                      PO BOX 733054
                      DALLAS, TX 75373-3054


                      SKANEATELES ROD & GUN CLUB INC
                      PO BOX 108
                      SKANEATELES, NY 13152


                      SKATE CREEK CLUB INC.
                      8 SUITS AVE
                      HOMER, NY 13077-9409


                      SKYRAIDER ARMS
                      400 INDUSTRIAL BLVD STE 406
                      MANSFIELD, TX 76063-2215


                      SLICKGUNS INC
                      1118 CATHERINE ST
                      KEY WEST, FL 33040-3306


                      SLIPPERY ROCK UNIVERSITY
                      104 MATLBY AVE
                      SUITE 002
                      SLIPPERY ROCK, PA 16057


                      SLOPE AREA RIFLE & PISTOL CLUB
                      P.O. BOX 493
                      DICKINSON, ND 58602-0493


                      SMG F&B LLC
                      300 CONSHOCKEN STATE RD
                      SUITE 450
                      WEST CONSHOCKEN, PA 19428


                      SMISC HOLDING INC
                      5239 Z-MAX BLVD
                      HARRISBURG, NC 28075
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                      SMITH & WESSON
                      2100 ROOSEVELT AVENUE
                      SPRINGFIELD, MA 01104


                      SMITHFIELD SPORTSMAN'S CLUB
                      PO BOX 386
                      GREENVILLE, RI 02828-0386


                      SMITHSONIAN INSTITUTION
                      PO BOX 37012
                      CRYSTAL CITY, ROOM 450, MRC 1202
                      WASHINGTON, DC 20013-7012


                      SMITTY'S TRADING POST
                      114 DUBLIN ST
                      MACHIAS, ME 04654


                      SNOQUALMIE VALLEY RIFLE CLUB
                      PO BOX 309
                      14214 SE 63RD STREET
                      FALL CITY, WA 98024


                      SOBRAN INC
                      4401 DAYTON-XENIA RD
                      DAYTON, OH 45432


                      SOCIAL INSIGHT (CHARLES COX)
                      4546 LYON AVE
                      RIVERSIDE, CA 92505


                      SOCIETY FOR HUMAN RESOURCE MGT
                      P O BOX 791139
                      BALTIMORE, MD 21279-1139


                      SOG SPECIALTY KNIVES
                      6521 212TH ST SOUTHWEST
                      LYNNWOOD, WA 98036
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                      SOLON SPORTSMENS ASSOCIATION
                      P.O. BOX 391072
                      SOLON, OH 44139


                      SOMERSET COUNTY FISH &
                      445 MILLTOWN RD
                      BRIDGEWATER, NJ 08807-7021


                      SOUND DIRECTION LLC
                      3532 CRESTRIDGE DR
                      NASHVILLE, TN 37204


                      SOUTH BAY NRA MEMBERS COUNCIL
                      1525 AVIATION BLVD # 101
                      REDONDO BEACH, CA 90278-2805


                      SOUTH BAY ROD & GUN CLUB INC.
                      4830 FELTON ST
                      SAN DIEGO, CA 92116-1830


                      SOUTH BERWICK ROD & GUN ASSOC.
                      PO BOX 184
                      SOUTH BERWICK, ME 03908-0184


                      SOUTH CAROLINA DEPT. OF REVENUE, SALES T
                      PO BOX 100193
                      COLUMBIA, SC 29214-0140


                      SOUTH CUYAHOGA SPORTMENS' ASSO
                      3173 W. 71ST STREET
                      CLEVELAND, OH 44102-5265


                      SOUTH DAKOTA DEPARTMENT OF REVENUE
                      445 EAST CAPITOL AVE
                      PIERRE, SD 57501
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                      SOUTH GEORGIA YOUTH SHOOTING CLUB INC
                      3760 DUNN ROAD
                      HARTSFIELD, GA 31756-0242


                      SOUTH JERSEY SHOOTING CLUB INC
                      8 GETTYSBURG DR
                      VOORHEES, NJ 08043-1650


                      SOUTH LAKE CHARLES GUN CLUB IN
                      622 LOUIE ST
                      LAKE CHARLES, LA 70601-7190


                      SOUTH RIVER GUN CLUB
                      5205 HIGHWAY 212
                      COVINGTON, GA 30016-4422


                      SOUTHEAST LOUISIANA FIREARMS S
                      PO BOX 5159
                      SLIDELL, LA 70469-5159


                      SOUTHEASTERN PRINTING CO INC
                      3601 SE DIXIE HWY
                      STUART, FL 34997


                      SOUTHEASTERN REPTILE RESCUE
                      PO BOX 127
                      ORCHARD HILL, GA 30266


                      SOUTHERN CHESTER COUNTY SPORTS
                      4523 SHADY DR
                      WILMINGTON, DE 19808-5607


                      SOUTHERN INDIANA R & P CLUB
                      17017 ASHBURTON DR
                      LOUISVILLE, KY 40245-5713
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                      SOUTHERN MINNESOTA SPORTSMAN'S
                      6320 20TH ST SE
                      ROCHESTER, MN 55904-5016


                      SOUTHERN TACTICAL AND OUTDOORS
                      1130 DAWSON RD
                      WHITE BLUFF, TN 37187


                      SOUTHPAW DEFENSE LLC
                      1631 OLWIEN ST
                      BROOKINGS, SD 57006


                      SOUTHPORT GUN CLUB INC
                      1136 KRISTIN DRIVE
                      LIBERTYVILLE, IL 60048-1281


                      SOUTHWEST FLORIDA SPORTSMANS A
                      PO BOX 100691
                      CAPE CORAL, FL 33910-0691


                      SOUTHWEST LOUISIANA RIFLE & PI
                      1203 CALIFORNIA ST
                      LAKE CHARLES, LA 70607-1913


                      SP PLUS CORPORATION
                      520 CAPITOL MALL
                      SUITE B3
                      SACRAMENTO, CA 95814


                      SPARTA 2002 DESIGNS & PROMOTIONS
                      9246 BOIVIN STREET
                      LA SALLE, QC H8R2E7


                      SPECIAL SERVICES GROUP NORTH A
                      310 ALMOND ST
                      UNIT 123
                      CLERMONT, FL 34711-3116
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                      SPECOPS SOFTWARE USA INC
                      1500 WALNUT ST
                      SUITE 1304
                      PHILADELPHIA, PA 19102


                      SPECTER SECURITY GROUP
                      7371 ATLAS WALK WAY #177
                      GAINESVILLE, VA 20155


                      SPECTRUM BUSINESS
                      PO BOX 94188
                      PALATINE, IL 60094


                      SPEEDWAY MOTOR SPORTS INC.
                      PO BOX 600
                      CONCORD, NC 28026


                      SPEEDWAY MOTORSPORTS INC
                      PO BOX 600
                      CONCORD, NC 28026


                      SPHONS CCW LLC
                      314 HART AVE
                      MINERVA, OH 44657


                      SPIRITWILD PRODUCTIONS INC
                      PO BOX 1660
                      BIRMINGHAM, MI 48012


                      SPOKANE RIFLE CLUB
                      PO BOX 18887
                      SPOKANE, WA 99228-0887


                      SPORTSMEN'S GUN AND REEL CLUB
                      44165 MIDDLE RIDGE RD
                      LORAIN, OH 44053-3915
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                      SPORTSMEN, INC.
                      PO BOX 313
                      BRATTLEBORO, VT 05301


                      SPORTSMENS ASSOCIATION FOR FIR
                      PO BOX 343
                      COMMACK, NY 11725


                      SPORTSMENS CLUB OF CLIFTON PAR
                      644 ENGLEMORE RD
                      CLIFTON PARK, NY 12065


                      SPRINGBROOK SPORTSMEN'S CLUB
                      2451 MINERVA ST
                      OSHKOSH, WI 54901-1545


                      SPRINT
                      PO BOX 1769
                      NEWARK, NJ 07101-1769


                      SPS MARKETING
                      5515 EAST LAMONA AVE #108
                      FRESNO, CA 93727


                      SQUARE CIRCLE SPORTSMANS CLUB
                      210 4TH AVE
                      MOUNT EPHRAIM, NJ 08059-1105


                      SQUARE DEAL SPORTSMEN, INC.
                      PO BOX 5572
                      ENDICOTT, NY 13763-5572


                      SSI CONSULTING
                      10440 LITTLE PATUXENT PARKWAY
                      SUITE 300
                      COLUMBIA, MD 21044
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                      ST. JOSEPH COUNTY CONSERVATION
                      PO BOX 220
                      STURGIS, MI 49091-0220


                      ST. TAMMANY PARISH, SALES AND USE TAX DE
                      PO BOX 1229
                      SLIDELL, LA 70459


                      STANDARD FORCE-TRIPLET TRAININ
                      2658 N MERRIMAC AVE
                      CHICAGO, IL 60639-1016


                      STAPLES
                      DEPT. 11-0001245604
                      PO BOX 9001036
                      LOUISVILLE, KY 40290


                      STARKS TRAINING INSTITUTE
                      7868 REA RD STE F # 336
                      CHARLOTTE, NC 28277-6677


                      STATE CHEMICAL MANUFACTURING
                      P O BOX 74189
                      CLEVELAND, OH 44194-0268


                      STATE INSURANCE FUND
                      PO BOX 4779
                      SYRACUSE, NY 13221-4779


                      STATE OF ALABAMA, ALABAMA DEPARTMENT OF
                      PO BOX 327900
                      MONTGOMERY, AL 36132-7900


                      STATE OF FLORIDA
                      010012738FD64
                      PO BOX 8500
                      TALLAHASSEE, FL 32314-8500
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                      STATE OF GEORGIA, DEPARTMENT OF REVENUE
                      PO BOX 105296
                      ATLANTA, GA 30348-5296


                      STATE OF INDIANA (STATE ARMORY BOARD - C
                      BLDG 1 HOSPITAL RD
                      PO BOX 5000
                      EDINBURGH, IN 46124-5000


                      STATE OF MARYLAND
                      PO BOX 17648
                      BALTIMORE, MD 21297


                      STATE OF MICHIGAN, DEPARTMENT OF TREASUR
                      DEPT 77003
                      DETROIT, MI 48277-0003


                      STATE OF NC DEPT OF SEC OF ST
                      PO BOX 29622
                      RALEIGH, NC 27626-0622


                      STATE OF NEW HAMPSHIRE
                      33 CAPITOL ST
                      CONCORD, NH 03301


                      STATE OF NEW JERSEY
                      DIVISION OF REVENUE PROCESSING
                      P O BOX 929
                      TRENTON, NJ 08646-0929


                      STATE OF NEW JERSEY, DEPARTMENT OF THE T
                      PO BOX 269
                      TRENTON, NJ 08695-0269


                      STATE OF NEW MEXICO, DEPT OF GAME AND FI
                      SPECIAL HUNTS OFFICE
                      PO BOX 25125
                      SANTA FE, NM 87504-5125
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                      STATE OF OHIO, ADJUTANT GENERAL'S DEPT
                      CAMP PERRY
                      BLDG 7
                      PORT CLINTON, OH 43452


                      STATE OF RHODE ISLAND, DIVISION OF TAXAT
                      ONE CAPITAL HILL
                      PROVIDENCE, RI 02908-5800


                      STATE OF SOUTH DAKOTA
                      711 EAST WELLS AVE
                      PIERRE, SD 57501


                      STATE OF WYOMING, DEPARTMENT OF REVENUE
                      HERSCHLER BUILDING
                      CHEYENNE, WY 82002-0110


                      STATE TREASURER - MAINE, MAINE REVENUE S
                      PO BOX 1065
                      AUGUSTA, ME 04332-1065


                      STATE UNIVERSITY OF NEW YORK POLYTECHNIC
                      100 SYEMOUR RD
                      UTICA, NY 13502


                      STATECRAFT DIGITAL LLC
                      3607 13TH ST N
                      ARLINGTON, VA 22201


                      STEINMAN COMMUNICATIONS INC
                      PO BOX 1328
                      LANCASTER, PA 17608


                      STEVE MARSHALL
                      501 WASHINGTON AVE PO BOX 300152
                      MONTGOMERY, AL 36130
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                      STONE & JOHNSON
                      SUITE 1800
                      111 WEST WASHINGTON STREET
                      CHICAGO, IL 60602


                      STONE RIVER GEAR, LLC
                      PO BOX 67
                      BETHEL, CT 06801


                      STONEBANK SPORTSMENS CLUB
                      PO BOX 575
                      OCONOMOWOC, WI 53066-0575


                      STONEY CREEK FISHING AND HUNTI
                      9090 FORT SMALLWOOD RD
                      PASADENA, MD 21122-3223


                      STONY D RUSHING, INC
                      PO BOX 1415
                      MONROE, NC 28111-1415


                      STRATEGIC FUNDRAISING
                      7591 9TH STREET NORTH
                      OAKDALE, MN 55128


                      STRATEGIC INVESTIGATIONS GROUP
                      1310 DELSEA DR STE 10
                      DEPTFORD, NJ 08096-1943


                      STRATEGIC SECURITY SOLUTIONS
                      160 JACKSON ST APT 2
                      DENVER, CO 80206


                      STREAMLIGHT, INC
                      30 EAGLEVILLE RD.
                      EAGLEVILLE, PA 19403-3996
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                      STROUSE & STROUSE INC
                      PO BOX 569
                      BLADENSBURG, MD 20710


                      STUYVESANT ROD & GUN CLUB INC
                      64-69 DRY HARBOR RD
                      MIDDLE VILLAGE, NY 11379


                      SUNBELT RENTALS INC
                      2341 DEERFIELD DRIVE
                      FORT MILL, SC 29715


                      SUNDOG PRODUCTIONS
                      ATTN: JOHN SAGUE
                      3850 JERMANTOWN RD
                      FAIRFAX, VA 22030


                      SUNSET HILL STONEWARE, LLC
                      1416 S. COMMERCIAL ST.
                      NEENAH, WI 54956


                      SUREFIRE LLC
                      18300 MT BALDY CIRCLE
                      FOUNTAIN VALLEY, CA 92708-6122


                      SURESHIP, INC.
                      4901 FORBES BLVD
                      LANHAM, MD 20706


                      SURPLUS AMMO & ARMS, LLC
                      12729 PACIFIC HWY SW
                      LAKEWOOD, WA 98499-1028


                      SUSAN KAY GREEN INC
                      4115 LEONARD DRIVE
                      FAIRFAX, VA 22030
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                      SUSQUEHANNA RADIO CORP
                      PO BOX 643665
                      CINCINNATI, OH 45264-0864


                      SUSSEX COUNTY FARM AND HORSE SHOW ASSOCI
                      PO BOX 2456
                      BRANCHVILLE, NJ 07826


                      SUTTON BAY
                      28950 SUTTON BAY TRAIL
                      AGAR, SD 57520-5104


                      SWAHN GALLERIES & DESIGN, INC
                      54 CUMBERLAND DR
                      BLUFFTON, SC 29910-4820


                      SWAROVSKI OPTIK NORTH AMERICA LTD
                      2 SLATER RD
                      CRANSTON, RI 02920


                      SWARTZ CREEK SPORTSMAN
                      9284 N LATSON RD
                      HOWELL, MI 48855-8206


                      SWEET POND HUNTING CLUB INC.
                      6 PHELPS DR
                      HOMER, NY 13077-9403


                      SYBASE INC
                      FILE NO 72364
                      P O BOX 60000
                      SAN FRANCISCO, CA 94160-2364


                      SYCAMORE VALLEY GUN CLUB
                      613 W 12TH ST
                      BLOOMINGTON, IN 47404-3401
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                      SYMPHONIOUS ENTERPRISES, LLC
                      2028 SHEPHERD RD # 220
                      MULBERRY, FL 33860-8699


                      SYRACUSE PISTOL CLUB INC.
                      PO BOX 478
                      FULTON, NY 13069-0478


                      SYSCO FOOD SERVICES BALTIMORE
                      PO BOX 1099
                      JESSUP, MD 20794


                      T&C FOR LIFE LLC
                      16 UPTON LN
                      STAFFORD, VA 22554


                      T&L ENDEAVORS LLC
                      7430 COUNTY ROAD CR
                      MANITOWOC, WI 54220-9557


                      T. J. DONOVAN
                      109 STATE ST
                      MONTPELIER, VT 05609


                      T4TACTICS LLC
                      147 MILL RIDGE RD STE 4
                      LYNCHBURG, VA 24502-4341


                      TAC6 MEDIA LLC
                      5222 MENTMORE AVE
                      SPRING HILL, FL 34606


                      TACONIC ROD & GUN CLUB
                      PO BOX 18
                      POESTENKILL, NY 12140-0018
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                      TACTICAL DYNAMICS FIREARMS TRA
                      PO BOX 1401
                      ATTLEBORO FALLS, MA 02763-0401


                      TACTICAL FIREARMS TRAINING LLC
                      85 W COMBS RD #101-303
                      SAN TAN VALLEY, AZ 85140-9127


                      TACTICAL HARDWARE STORE
                      8337 US HIGHWAY 87 S
                      CUERO, TX 77954-6844


                      TACTICAL SOLUITONS
                      2772 SOUTH VICTORY VIEW WAY
                      BOISE, ID 83709


                      TACTICAL SUPERSTORES, INC
                      9750 ABERDEEN RD
                      ABERDEEN, NC 28315


                      TAGTIME USA INC
                      4601 DISTRICT BLVD
                      VERNON, CA 90058


                      TAILORED DEFENSE TRAINING GROU
                      714 S WOLFE ST UNIT #38674
                      BALTIMORE, MD 21231


                      TAKE AIM CAROLINA, LLC
                      1026 E LINDSAY ST
                      GREENSBORO, NC 27405


                      TALL GUNS LLC
                      2429 CAMEO CT
                      LOVELAND, CO 80538-3088
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                      TALLAHASSEE INDOOR SHOOTING RA
                      499 CAPITAL CIR SW
                      TALLAHASSEE, FL 32304-3575


                      TAMPA CARRY LLC
                      1319 BRAHMA DR
                      VALRICO, FL 33594


                      TAMPA TRAINING AND TEAM-BUILDI
                      4519 W BROOKWOOD DR
                      TAMPA, FL 33629-4241


                      TARGET WORLD INC
                      2300 E KEMPER RD
                      CINCINNATI, OH 45241-6501


                      TARGET WORLD INC.
                      529 W BUTLER AVE
                      CHALFONT, PA 18914-2218


                      TAURUS HOLDINGS
                      16175 NW 49TH AVE
                      MIAMI, FL 33014


                      TAX ENFORCEMENT OFFICE
                      10 N 2ND ST
                      SUITE 305A
                      HARRISBURG, PA 17101


                      TAXATION AND REVENUE DEPARTMENT
                      PO BOX 2527
                      SANTA FE, NM 87504-2527


                      TBK SECURITY SERVICES
                      PO BOX 239
                      POCONO PINES, PA 18350
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                      TBK STRATEGIES LLC
                      PO BOX 239
                      POCONO PINES, PA 18350


                      TC&B CORPORATE WEARABLES INC
                      420 1ST AVE
                      PERRY, IA 50220


                      TEAMS FIREARMS TRAINING GROUP
                      519 SAINT CHARLES ST
                      ELKTON, MD 21921-8509


                      TECNACLEAN INC
                      6332 MAYFIELD LANE
                      WARRENTON, VA 20187


                      TEGNA BROADCAST HOLDINGS LLC
                      8350 BROAD ST
                      SUITE 2000
                      TYSONS, VA 22102


                      TELCO SPORTSMEN'S CLUB INC.
                      P.O. BOX 494
                      ATCO, NJ 08004


                      TELEMANAGEMENT TECHNOLOGIES
                      2700 YGNACIO VALLEY ROAD
                      SUITE 250
                      WALNUT CREEK, CA 94598-3463


                      TEN POINTCROSSBOW TECHNOLIGES
                      1325 WATERLOO RD
                      MOGADORE, OH 44260


                      TENAFLY RIFLE & PISTOL CLUB IN
                      157 GROVE STREET
                      TENAFLY, NJ 07670-1706
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                      TENDER YEARS LEARNING CENTER L
                      241 HENDRICKS RD
                      BUTLER, PA 16001-8427


                      TENNESSEE DEPARTMENT OF REVENUE, ANDREW
                      ANDREW JACKSON ST OFFICE BLDG
                      500 DEADERICK ST
                      NASHVILLE, TN 37242


                      TEOTWAWKI INVESTMENTS LLC
                      118 N PINE AVE
                      INVERNESS, FL 34450


                      TEWKSBURY ROD & GUN CLUB
                      79 CHANDLER ST
                      TEWKSBURY, MA 01876


                      TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                      111 E. 17TH STREET
                      AUSTIN, TX 78774-0100


                      TEXAS CONCEALED HANDGUN ASSOCI
                      PO BOX 161713
                      AUSTIN, TX 78716


                      TEXAS STATE RIFLE ASSOCIATION
                      314 E HIGHLAND MALL BLVD,
                      SUITE 300
                      AUSTIN, TX 78752-3731


                      TEXAS TACTICAL TRAINING INSTIT
                      1102 MANLOVE ST
                      AUSTIN, TX 78741-1010


                      TGE GROUP LLC
                      8700 N RAINBOW FARM RD
                      BENTONVILLE, AR 72712
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                      THE BIG 15 LLC
                      2621 LINKS DR
                      PLANO, TX 75093-6333


                      THE BUCCANEERS OF LAKE CHARLES
                      2416 CASSIE LN
                      LAKE CHARLES, LA 70605-5156


                      THE CABIN ARMORY AND TRAINING
                      10 PETHICK DR
                      WILKES BARRE, PA 18702


                      THE CAHOONZIE CLUB INC.
                      33 W SHORE DR
                      SPARROW BUSH, NY 12780-5126


                      THE CITY OF ALEXANDRIA-BUSINESS PERSONAL
                      PO BOX 34901
                      ALEXANDRIA, VA 22334-0901


                      THE COGAR GROUP LTD
                      11166 FAIRFAX BLVD #306
                      FAIRFAX, VA 22030


                      THE CONVENTION CENTER AUTHORITY OF THE M
                      1 PUBLIC SQUARE
                      SUITE 106
                      NASHVILLE, TN 37201


                      THE DAILY CALLER
                      1050 17TH ST NW STE 900
                      WASHINGTON, DC 20036-5513


                      THE DIGERATI GROUP, LLC
                      3720 HOLLAND RD STE 103
                      VIRGINIA BEACH, VA 23452-2859
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                      THE GOETZ PRINTING COMPANY
                      7939 ANGUS COURT
                      SPRINGFIELD, VA 22153


                      THE GUN GROVE
                      708 PATTON ST
                      MACON, MO 63552-2505


                      THE GUN GUYS
                      1025 PINE STREET
                      OTTAWA, KS 66067


                      THE GUN PARLOR INC
                      170 PRESCOTT ST
                      WORCESTER, MA 01605-1708


                      THE HIGHLAND MINT
                      4100 NORTH RIVERSIDE DRIVE
                      MELBOURNE, FL 32937


                      THE KENRICH GROUP LLC
                      1919 M ST NW
                      SUITE 620
                      WASHINGTON, DC 20036


                      THE LOCKED AND LOADED WOMEN
                      7 LANGLEY CT
                      NEWARK, DE 19702


                      THE MAN CAVE
                      PO BOX 61
                      MARION, NC 28752-0061


                      THE MOUNT WASHINGTON ROD & GUN
                      PO BOX 586
                      RIDERWOOD, MD 21139-0586
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                      THE NRA FOUNDATION, INC.
                      11250 WAPLES MILL ROAD
                      FAIRFAX, VA 22030


                      THE RANGE USA
                      5999 DEAN MARTIN DR
                      LAS VEGAS, NV 89118


                      THE READY CENTER
                      9198 CAM ISLAND CIR
                      EAGLE RIVER, AK 99577-8536


                      THE ROSS GROUP INC
                      2730 INDIAN RIPPLE ROAD
                      DAYTON, OH 45440


                      THE SURE SHOT, LLC
                      1891 HIGHWAY 280
                      ALEXANDER CITY, AL 35010-4628


                      THE TORRINGTON GUN CLUB
                      68 BUNNEL STREET
                      WINSTED, CT 06098


                      THE VOLKOV LAW GROUP LLC
                      2805 RACETRACK VIEW DRIVE
                      DEL MAR, CA 92014


                      THE WELL ARMED WOMAN, LLC
                      7762 E GRAY RD STE 600
                      SCOTTSDALE, AZ 85260-6957


                      THE WILLMAR RIFLE AND PISTOL C
                      PO BOX 346
                      WILLMAR, MN 56201-0346
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                      THEAKER ENTERPRISES, LLC
                      821 BRANCH XING
                      LANTANA, TX 76226-6448


                      THEMIS CONSULTING LLC
                      5264 HIGHCREST DRIVE
                      CAMERON PARK, CA 95682


                      THERMOPOLIS GUN CLUB INC
                      PO BOX 731
                      THERMOPOLIS, WY 82443


                      THIEF RIVER FALLS ARCHERY CLUB INC
                      PO BOX 314
                      THIEF RIVER FALLS, MN 56701


                      THOMPSON FIREARMS
                      1012 10TH ST E
                      PALMETTO, FL 34221-4132


                      THOMSON PROFESSIONAL & REG INC
                      PO BOX 6159
                      CAROL STREAM, IL 60197


                      THOR GLOBAL DEFENSE GROUP
                      1206 KNESEK LN
                      VAN BUREN, AR 72956-7908


                      THREE Z PRINTING COMPANY
                      902 WEST MAIN ST
                      TEUTOPOLIS, IL 62467


                      THREE-PEAKS 4-H SHOOTING CLUB
                      714 S 1175 W
                      CEDAR CITY, UT 84720-3699
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                      THREEFOLD DEFENSIVE TRAINING,
                      3776 S KIRK ST
                      AURORA, CO 80013-6185


                      THYSSENKRUPP ELEVATOR CORP
                      P O BOX 933007
                      ATLANTA, GA 31193-3010


                      TIER ONE MEDIA
                      1048 BARREL HOLLOW SPRINGS RD
                      FRANKLIN, TN 37069


                      TIPS AND BRASS LLC
                      16658 E PRENTICE AVE
                      CENTENNIAL, CO 80015-4122


                      TLR SYSTEMS LLC
                      1062 CANNIE BAKER ROAD
                      MOUNTAIN, AR 72651


                      TM PISTOL TRAINING, LLC
                      229 KENWOOD CT
                      MOORE, SC 29369-9278


                      TMA DIRECT, INC.
                      TMA LIST BROKERAGE & MGMT
                      12021 SUNSET HILLS ROAD
                      SUITE 350
                      RESTON, VA 20190


                      TMOBILE - ACCT #964202572
                      PO BOX 742596
                      CINCINNATI, OH 45274-2596


                      TODD ROKITA
                      INDIANA GOVERNMENT CENTER SOUTH - 5TH FL
                      302 WEST WASHINGTON STREET
                      INDIANAPOLIS, IN 46204
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                      TOKIO MARINE HCC
                      13403 NORTHWEST FREEWAY
                      HOUSTON, TX 77040


                      TOM GIBBONS & ASSOCIATES LLC
                      PO BOX 574
                      ROCHESTER, IL 62563


                      TOM MILLER
                      HOOVER STATE OFFICE BLDG
                      1305 E. WALNUT
                      DES MOINES, IA 50319


                      TONAWANDA SPORTSMANS CLUB
                      5657 KILLIAN ROAD
                      N. TONAWANDA, NY 14120


                      TOP CALIBER TACTICAL LLC
                      5475 PINEY GROVE DR
                      CUMMING, GA 30040-9045


                      TOP GUN SHOOTING SPORTS INC.
                      16725 RACHO BLVD
                      TAYLOR, MI 48180-5259


                      TORONTO ROD AND GUN CLUB INC
                      341 TOWNSHIP ROAD 286
                      RICHMOND, OH 43944-7824


                      TOTAL STORMWATER SOLUCTIONS, LLC
                      5155 JEFFRIES LANE
                      WARRENTON, VA 20187


                      TOUCHET GUN CLUB
                      143 MARKHAM RD
                      LOWDEN, WA 99360-5000
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                      TOWN AND COUNTRY GUN CLUB, INC
                      PO BOX 38
                      MARYVILLE, IL 62062-0038


                      TOWN OF FARMVILLE
                      PO BOX 368
                      FARMVILLE, VA 23901


                      TRADEMARKETING RESOURCES, INC.
                      5710 BELLA ROSE BLVD
                      SUITE 100
                      CLARKSTON, MI 48348


                      TRAFFORD SPORTSMEN'S CLUB
                      14000 WINCHESTER RD
                      PO BOX 3
                      TRAFFORD, PA 15085-0003


                      TRAIL CREEK LODGE
                      217 DELANO ROAD
                      AU GRES, MI 48703


                      TRAIN2CARRY LLC
                      1302 13TH TER
                      PALM BEACH GARDENS, FL 33418-3611


                      TRANEIL THOMAS
                      658 REBECCA LN
                      BOLING BROOK, IL 60440


                      TRAVELER'S GUIDE
                      529 MADISON AVENUE
                      COVINGTON, KY 41012


                      TRAVIS SOFTWARE CORPORATION
                      1155 DAIRY ASHFORD RD #250
                      HOUSTON, TX 77079
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                      TREASURER - STATE OF IOWA, IOWA DEPARTME
                      IA DEPT OF REVENUE & FINANCE
                      PO BOX 10412
                      DES MOINES, IA 50306-0462


                      TREASURER OF VIRGINIA
                      VA DEP OF AGRI & CONSUMER SVCS
                      PO BOX 1163
                      RICHMOND, VA 23218-0526


                      TREASURER, COMMONWEALTH OF VIRGINIA
                      PO BOX 562
                      RICHMOND, VA 23218-0562


                      TRENT ROD & GUN CLUB
                      538 KUHNTOWN RD
                      SOMERSET, PA 15501-6234


                      TRI TOWN SPORTSMAN'S ASSOC
                      810 W VINE STREET
                      MT. PLEASANT, PA 15666


                      TRI-CITY GUN CLUB
                      3241 DOVE CROSSING DR
                      NORMAN, OK 73072-2963


                      TRI-COUNTY GUN CLUB
                      13050 SW TONQUIN RD STE 200
                      SHERWOOD, OR 97140-7934


                      TRI-COUNTY GUN CLUB
                      1613 18TH AVE
                      STERLING, IL 61081-2745


                      TRI-COUNTY SPORTSMEN'S LEAGUE
                      8640 MOON RD
                      SALINE, MI 48716-9400
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                      TRI-STATE GUN CLUB INC
                      PO BOX 231
                      DALEVILLE, AL 36322-0231


                      TRIAD TRAINING LLC
                      2834 HAMNER AVE # 209
                      NORCO, CA 92860


                      TRIBBLE MACHINE WORKS
                      PO BOX 928
                      EUREKA, MT 59917-0928


                      TRICORP INC
                      259 BARNETT RD SUITE G
                      MEDFORD, OR 97504


                      TRIDENT CONCEPTS LLC
                      PO BOX 342138
                      AUSTIN, TX 78734


                      TRIGGER TIME DEFENSE LLC
                      992 ALDRICH ST
                      UXBRIDGE, MA 01569-2112


                      TRIJICON, INC
                      49385 SHAFER AVE
                      WIXOM, MI 48393


                      TRINIDAD STATE JUNIOR COLLEGE
                      TONI DEANGELIS
                      600 PROSPECT ST
                      TRINIDAD, CO 81082


                      TRIPLE A LOGISTIC SERVICE INC
                      PO BOX 610
                      ANNANDALE, VA 22003
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                      TRITON FIREARMS & SAFETY TRAIN
                      107 PURDUE DR
                      WINCHESTER, VA 22602-4364


                      TRIUNE ARMS, LLC
                      7208 PRINCESS ANNE CT
                      WARRENTON, VA 20187-4183


                      TROUTMAN SANDERS LLP
                      600 PEACHTREE ST NE
                      SUITE 5200
                      ATLANTA, GA 30308-2216


                      TROY CITY TACTICAL LLC
                      147 BORDEN ST
                      FALL RIVER, MA 02721-2886


                      TRUE SPORTSMAN CLUB
                      PO BOX 824
                      JACKSON, CA 95642-0824


                      TRUGLO INC
                      525 INTERNATIONAL PARKWAY
                      RICHARDSON, TX 75081


                      TRUSTEES OF DARTMOUTH COLLEGE
                      7 LEBANON ST
                      SUITE 302
                      HANOVER, NH 03755


                      TRUSTWAVE HOLDINGS, INC
                      70 W MADISON ST, STE 600
                      CHICAGO, IL 60602


                      TUFF PRODUCTS BRAND LLC
                      1060 COLORADO AVE STE C
                      CHULA VISTA, CA 91911
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                      TULIP CITY ROD AND GUN CLUB, I
                      PO BOX 1466
                      HOLLAND, MI 49422-1466


                      TULSA RED CASTLE GUN CLUB
                      12609 E 34TH ST
                      TULSA, OK 74146-2324


                      TURNER'S OPERATIONS, INC
                      1041 MILDRED ST
                      ONTARIO, CA 91761-3500


                      TUSSEY MTN JR 4-H RIFLE CLUB
                      1565 W GATESBURG RD
                      WARRIORS MARK, PA 16877-6206


                      TWELFTH PRECINCT PISTOL CLUB
                      PO BOX 26
                      HARWOOD, MD 20776-0026


                      TWIN CITIES CARRY
                      8545 BECHTEL CT
                      INVER GROVE HEI, MN 55076


                      TWIN CITY RIFLE CLUB INC.
                      734 JACK SWAMP RD
                      PLEASANT HILL, NC 27866-0158


                      TWO FIRST TRAINING
                      9281 RANCHO DR
                      ELK GROVE, CA 95624-2115


                      TYCA CORPORATION
                      ATTN: FRANKLIN HARDY
                      470 MAIN ST.
                      CLINTON, MA 01510
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                      TYSERS
                      71 FENCHURCH STREET
                      LONDON, ENGLAND EC3M 4BS


                      U.S. BANK EQUIPMENT FINANCE
                      1310 MADRID STREET
                      MARSHALL, MN 56258


                      UA ARMS
                      308 S WATER AVE
                      SUITE B
                      GALLATIN, TN 37006


                      UBER, INC.
                      94 ANJOU
                      NEWPORT COAST, CA 92657-1039


                      ULINE INC
                      2200 SOUTH LAKESIDE DRIVE
                      ACCOUNTS RECEIVABLE
                      WAUKEGAN, IL 60085


                      ULSTER DETACHMENT MARINE CORP
                      PO BOX 1584
                      KINGSTON, NY 12402-1584


                      ULTIMATE HYBRID TECHNOLOGIES
                      521 EAST 3RD ST
                      MERIDIAN, ID 83642


                      ULTIMATE SOFTWARE GRP INC, THE
                      2000 ULTIMATE WAY
                      WESTON, FL 33326


                      UNAMI FISH AND GAME ASSOCIATIO
                      PO BOX 805
                      EMMAUS, PA 18049-0805
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                      UNDER WILD SKIES
                      c/o DYCIO & BIGGS
                      10533 MAIN STREET
                      Fairfax, VA 22030


                      UNDERHILL EXCAVATING
                      147 WAGNER RD
                      MCCLURE, PA 17841


                      UNIFIED COMMAND LLC
                      359 CALABRIA RIDGE
                      LAS VEGAS, NV 89138


                      UNITED LIGHTING & SUPPLY INC
                      10321 FROSTY COURT
                      MANASSAS, VA 20109


                      UNITED PARCEL SERVICE
                      SHIPPER # 295907
                      P O BOX 4980
                      HAGERSTOWN, MD 21747-4980


                      UNITED PARCEL SERVICE
                      PO BOX 7247-0244
                      PHILADELPHIA, PA 19170


                      UNITED RENTALS (NORTH AMERICA), INC.
                      PO BOX 100711
                      ATLANTA, GA 30384


                      UNITED SPORTSMEN, INC
                      PO BOX 485
                      IRON MOUNTAIN, MI 49801-0485


                      UNITED STATE FIRE INSURANCE COMPANY
                      305 MADISON AVE
                      MORRISTOWN, NJ 07962
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                      UNITED STATES POSTAL SERVICE
                      225 N HUMPHREYS BLVD
                      STE 501
                      MEMPHIS, TN 38188-1099


                      UNITED STATES TREASURY
                      PO BOX 219236
                      KANSAS CITY, MO 64121-9236


                      UNIVERSAL PROTECTIONS SERVICE
                      PO BOX 828854
                      PHILADELPHIA, PA 19182


                      UNIVERSITY OF ARKANSAS
                      213 ARKANSAS UNION
                      FAYETTEVILLE, AR 72701


                      UNIVERSITY OF HAWAII
                      2600 CAMPUS ROAD
                      QLCSS#112
                      HONOLULU, HI 96822


                      UNIVERSITY OF KENTUCKY
                      128 FUNKHOUSER BUILDING
                      LEXINGTON, KY 40506-0054


                      UNIVERSITY OF NEVADA, RENO
                      OFC OF STUD.FIN. AID & SCHOLAR
                      FITZGERALD STUD.SVCS BLDG/076
                      RENO, NV 89557


                      UNIVERSITY OF SOUTH CAROLINA
                      1714 COLLEGE STREET
                      COLUMBIA, SC 29208


                      UNIVERSITY OF VIRGINIA
                      FINANCIAL AID OFFICE
                      P O BOX 400207
                      CHARLOTTESVILLE, VA 22904-4207
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                      UNLIMITED FIREARMS & OUTFITTER
                      20 COUNTRY VILLAGE CIR
                      CABOT, AR 72023-8669


                      UNTAMED ADVENTURES
                      63 OLD PINHOOK RD
                      MOUNT OLIVET, KY 41064


                      UNUM GROUP
                      ONE FOUNTAIN SQUARE
                      CHATTANOOGA, TN 37402


                      UPPER CHESAPEAKE OUTFITTERS
                      6843 MOUNT VISTA RD
                      KINGSVILLE, MD 21087


                      UPPER MERION TOWNSHIP
                      175 WEST VALLEY FORGE ROAD
                      KING OF PRUSSIA, PA 19406-1802


                      UPS
                      28013 NETWORK PLACE
                      CHICAGO, IL 60673-1280


                      US BANK NATIONAL ASSOCIATION
                      1310 MADRID ST
                      STE 100
                      MARSHALL, MN 56258


                      US BANK NATIONAL ASSOICATION
                      KONICA MINOLTA
                      1310 MADRID ST
                      STE 100
                      MARSHALL, MN 56258


                      US GAMES SYSTEMS INC
                      179 LUDLOW STREET
                      STAMFORD, CT 06902
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                      US PRECISION DEFENSE, LLC
                      334 W TABERNACLE ST J-3
                      SAINT GEORGE, UT 84770-3392


                      US SECURITY ASSOCIATES
                      200 MANSELL CT
                      SUITE 500
                      ROSWELL, GA 30076


                      US TACTICAL SYSTEMS, INC.
                      310 WEST 12TH ST
                      WASHINGTON, MO 63090


                      USA VETERAN FIREARMS TRAINING
                      747 E BOUGHTON RD #167
                      BOLINGBROOK, IL 60440-2281


                      UTAH ARMS LLC
                      223 E JORDAN RIDGE BLVD
                      UNIT 106
                      SARATOGA SPRING, FL 84045


                      UTAH GUN COLLECTORS ASSOC
                      PO BOX 711161
                      SALT LAKE CITY, UT 84171-1161


                      UTAH SELF DEFENSE INSTRUCTION
                      11135 BARRETT PARK CIR
                      SANDY, UT 84092-2200


                      UTAH STATE TAX COMMISSION
                      210 NORTH 1950 WEST
                      SALT LAKE CITY, UT 84116


                      UWHARRIE APPAREL COMPANY, LLC
                      712 PALMER ROAD
                      PO BOX 993
                      ROCKWELL, NC 28138
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                      V.H. BLACKINTON & CO INC
                      ATTN: ELIZABETH DEWEDOFF
                      221 JOHN DIETSCH BLVD
                      ATTLEBORO FALLS, MA 02763


                      VA DEPT OF TAXATION-SALES TAX
                      P O BOX 26626
                      RICHMOND, VA 23261-6626


                      VALLEY INN SPORTSMANS ASSOC
                      504 10TH ST
                      DONORA, PA 15033-2185


                      VALLEY OF THE MOON GUN CLUB
                      PO BOX 534
                      VINEBURG, CA 95487-0534


                      VALTIM COMPANY
                      PO BOX 114
                      FOREST, VA 24551


                      VAN WERT COUNTY OUTDOORSMEN AS
                      5101 N GRUBB RD
                      ELIDA, OH 45807-9761


                      VANCE EWING LLC
                      22940 HARLAN LN
                      SAINT ROBERTS, MO 65584


                      VANCE OUTDOORS, INC
                      3723 CLEVELAND AVE
                      COLUMBUS, OH 43224-2410


                      VANCOUVER WASHINGTON RIFLE&PIS
                      P.O. BOX 821242
                      VANCOUVER, WA 98682-0028
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                      VANDALIA RANGE & ARMORY INC.
                      100 CORPORATE CENTER DR
                      VANDALIA, OH 45377-1158


                      VANN DESIGN, LLC
                      37912 ARMOR COURT
                      PURCELLVILLE, VA 20132


                      VANTAGE CUSTOM CLASSICS INC
                      100 VANTAGE DRIVE
                      AVENEL, NJ 07001


                      VAQUERO CANYON SPECIALTY LLC
                      20714 GOLDEN RIDGE DRIVE
                      ASHBURN, VA 20147


                      VECTOR SECURITY INC
                      2000 ERICSSON DRIVE
                      WARRENDALE, PA 15086


                      VENTURA ASSOCIATES, INC
                      1040 AVENUE OF THE AMERICAS
                      NEW YORK, NY 10018


                      VENTURE CREW 2460 ASHLAND LAKE
                      1084 TOWNSHIP ROAD 353
                      POLK, OH 44866-9751


                      VERIZON
                      PO BOX 15043
                      ALBANY, NY 12212-5043


                      VERIZON
                      PO BOX 660720
                      DALLAS, TX 75266-0720
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                      VERIZON
                      PO BOX 28000
                      LEHIGH VALLEY, PA 18002-8000


                      VERIZON
                      P O BOX 17577
                      BALTIMORE, MD 21297-0513


                      VERIZON FAIRFAX
                      PO BOX 15124
                      ALBANY, NY 12212


                      VERIZON GAOS (PHONE)
                      PO BOX 16810
                      NEWARK, NJ 07101-6801


                      VERIZON WIRELESS
                      PO BOX 25505
                      LEHIGH VALLEY, PA 1802-5505


                      VERIZON WIRELESS
                      PO BOX 9622
                      MISSION HILLS, CA 91346-9622


                      VERIZONWIRELESS
                      PO BOX 630062
                      DALLAS, TX 75263


                      VERMILION FISH AND GAME ASSOCI
                      13617 THOMPSON RD
                      VERMILION, OH 44089-9551


                      VERMONT DEPARTMENT OF TAXES
                      133 STATE ST
                      PO BOX 547
                      MONTPELIER, VT 05601-0547
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                      VERNETZUNG LLC
                      4109 LISIEUX LN
                      SAINT LOUIS, MO 63129


                      VERSTANDIG BROADCASTING
                      10960 JOHN WAYNE DR
                      PO BOX 788
                      GREENCASTLE, PA 17225


                      VICTORY FIREARMS TRAINING LLC
                      700 LULA GARRETT RD
                      DAWSONVILLE, GA 30534-7096


                      VINTAGE EDITIONS INC
                      88 BUFF LN.
                      TAYLORSVILLE, NC 28681


                      VIP SERVICES MIAMI
                      8300 NE 10TH AVE
                      MIAMI, FL 33138-3605


                      VIRGINIA ASSOCIATION OF MUSEUMS
                      3126 W CARY ST
                      #447
                      RICHMOND, VA 23221


                      VIRGINIA BEACH RIFLE & PISTOL
                      PO BOX 62541
                      VIRGINIA BEACH, VA 23466-2541


                      VIRGINIA DEPARTMENT OF HEALTH
                      PO BOX 2448
                      ROOM 730
                      RICHMOND, VA 23218


                      VIRGINIA DEPT OF TAXATION
                      11166 MAIN STREET
                      SUITE 300
                      FAIRFAX, VA 22030-5017
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                      VIRGINIA DEPT OF TREASURY
                      PO BOX 2478
                      RICHMOND, VA 23218-2478


                      VIRGINIA LOGOS
                      10001 PATTERSON AVE #201
                      RICHMOND, VA 23238


                      VIRGINIA POLYTECHNIC INSTITUTE & STATE U
                      800 WASHINGTON ST SW
                      STUDENT SERVICES BLDG STE 150
                      BLACKSBURG, VA 24061


                      VIRGINIA SHOOTING SPORTS ASSOC
                      132 W. MAIN
                      PO BOX 1258
                      ORANGE, VA 22960


                      VISTA OUTDOOR INC
                      900 EHLEN DRIVE
                      ANOKA, MN 55303


                      VOLUSIA COUNTY GUN RANGE LLC
                      301 MISSION DR UNIT 505
                      NEW SMYRNA BEACH, FL 32170


                      VOMELA SPECIALTY COMPANY
                      274 FILLMORE AVE E
                      ST PAUL, MN 55107


                      VORTEX OPTICS
                      ONE VORTEX DRIVE
                      BARNEVELD, WI 53507


                      VOSS SIGNS, LLC
                      112 FAIRGROUNDS DRIVE
                      PO BOX 553
                      MANLIUS, NY 13104-0553
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                      WABASH VALLEY SPORTSMAN CLUB
                      PO BOX 1370
                      VINCENNES, IN 47591-7370


                      WADSWORTH HUNT CLUB INC.
                      180 VALLEY VIEW DR
                      WADSWORTH, OH 44281-1651


                      WAHSATCH SHOOTERS ASSOCIATION
                      PO BOX 1771
                      LAYTON, UT 84041-6771


                      WAKE FOREST UNIVERSITY
                      1834 WAKE FOREST RD
                      PO BOX 7201
                      WINSTON SALEM, NC 27109


                      WALDWICK PISTOL & RIFLE CLUB,
                      PO BOX 263
                      WALDWICK, NJ 07463-0263


                      WALLACE SUPPLY
                      269 DEARBORN ST
                      EASTON, PA 18045


                      WALNUT CREEK RIFLE CLUB
                      PO BOX 8412
                      ERIE, PA 16505-0412


                      WALSH, COLUCCI, LUBELY, EMRICH, & WALSH
                      2200 CLARENDON BLVD
                      SUITE 1300
                      ARLINGTON, VA 22201


                      WALTON MOUNTAIN SPORTSMEN INC.
                      P.O. BOX 115
                      WALTON, NY 13856
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                      WAR ENTERPRISE LLC
                      303 VIA CORSICA
                      HEMET, CA 92545-2376


                      WARNER FISH AND GAME CLUB INC
                      PO BOX 58
                      WARNER, NH 03278-0058


                      WARRIORS AFIELD LEGACY FOUNDAT
                      14276 SO VALLE VISTA DR
                      HERRIMAN, UT 84096


                      WASHINGTON GAS
                      6801 INDUSTRIAL ROAD
                      SPRINGFIELD, VA 22151


                      WASHINGTON GAS #320004302750
                      PO BOX 37747
                      PHILADELPHIA, PA 19101-5047


                      WASHINGTON POST
                      1150 15TH STREET NW
                      WASHINGTON, DC 20071


                      WASHINGTON STATE DEPARTMENT OF REVENUE
                      PO BOX 9034
                      OLYMPIA, WA 98507-9034


                      WASHINGTON TOWNSHIP POLICE DEPARTMENT
                      1021 WASHINGTON BLVD
                      BANGOR, PA 18013


                      WASHINGTONPOST.COM
                      %WRITERS GROUP
                      1150 15TH STREET NW
                      WASHINGTON, DC 20071
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                      WASTE MANAGEMENT OF VIRGINIA I
                      PO BOX 13648
                      PHILADELPHIA, PA 19101


                      WASTE MANAGEMENT OF VIRGINIA, INC
                      PO BOX 43470
                      PHOENIX, AZ 85080


                      WAWARSING ROD & GUN CLUB INC.
                      PO BOX 305
                      NAPANOCH, NY 12458-0305


                      WAYNE STENEHJEM
                      STATE CAPITOL
                      600 E. BOULEVARD AVE
                      BISMARCK, ND 58505


                      WAYNESBURG SPORTSMAN ASSOCIATI
                      PO BOX 214
                      WAYNESBURG, PA 15370-0214


                      WDN FIREARMS TRAINING LLC
                      5885 ALLISON ST UNIT 691
                      ARVADA, CO 80001


                      WEAPONS COLLECTORS SOC. OF MT
                      7173 US HIGHWAY 89
                      BELT, MT 59412-8324


                      WEATHERBY FOUNDATION INTERNATIONAL
                      7834 S.LAKESHORR DRIVE
                      TEMPE, AZ 85284


                      WEB BENEFITS DESIGN
                      P O BOX 1568
                      WINDERMERE, FL 34786
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                      WEBER'S FIREARMS
                      635 E 1500 RD
                      SHELDON, MO 64784


                      WEEPING WATER GUN CLUB
                      5707 N 82ND ST
                      OMAHA, NE 68134-1909


                      WEISCO INC
                      9073 LIBERIA AVE
                      MANASSAS, VA 20110


                      WELD COUNTY FISH & WILDLIFE AS
                      PO BOX 271
                      FORT LUPTON, CO 80621-0271


                      WELDON, WILLIAMS, & LICK INC
                      711 NORTH A ST
                      PO BOX 168
                      FORT SMITH, AR 72901


                      WELLS FARGO
                      WELLS FARGO BANK, N.A. (182)
                      PO BOX 63020
                      SAN FRANCISCO, CA 94163


                      WELLS FARGO BANK, NATIONAL ASSOCIATION
                      1753 PINNACLE DRIVE
                      3RD FLOOR
                      MCLEAN, VA 22101


                      WELLS FARGO COMMERCIAL CREDIT CARD
                      PO BOX 63020
                      SAN FRANSISCO, CA 94163


                      WELLS FARGO VENDOR FINANCIAL SERVICES LL
                      PO BOX 070241
                      PHILADELPHIA, PA 19176-0241
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                      WELLS RIFLE AND PISTOL ASSOCIA
                      PO BOX 142
                      WELLS, MN 56097-0142


                      WEST END GUN CLUB
                      PO BOX 541
                      UPLAND, CA 91785-0541


                      WEST LIBERTY GUN CLUB INC
                      P.O. BOX 244
                      WEST LIBERTY, IA 52776


                      WEST POINT OF SALE LLC
                      136 WEST 157TH ST
                      GARDENA, CA 90247


                      WEST PUBLISHING CORPORATION
                      WEST GROUP
                      P O BOX 6292
                      CAROL STREAM, IL 60197


                      WEST SHORE SPORTSMANS ASSN INC
                      PO BOX 219
                      LEWISBERRY, PA 17339-0219


                      WEST SIDE SPORTSMAN'S CLUB
                      PO BOX 6001
                      EVANSVILLE, IN 47719-0001


                      WEST VIRGINIA DEPARTMENT OF TAXATION AND
                      P O BOX 1826
                      CHARLESTON, WV 25327-1826


                      WEST VIRGINIA DOUBLE TAP GUN C
                      12 TAYLOR LN
                      BEVERLY, WV 26253-9780
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                      WESTERN FIREARMS INC
                      6621 ATLANTIC AVE
                      BELL, CA 90201-2523


                      WESTERN MICHIGAN RIFLE & PISTO
                      PO BOX 261
                      IONIA, MI 48846-0261


                      WESTERN WAYNE CO. CONSERVATION
                      PO BOX 701009
                      PLYMOUTH, MI 48170-0957


                      WESTFALL LAW LLC
                      1400 16TH ST MALL
                      #400
                      DENVER, CO 80202


                      WESTLAW/THOMSON REUTERS
                      PO BOX 6929
                      CAROL STREAM, IL 60197


                      WESTSIDE L.A. NRA MEMBERS CNCL
                      PO BOX 1219
                      CULVER CITY, CA 90232-1219


                      WGAL HEARST TELEVISION INC
                      1300 COLUMBIA AVE
                      LANCASTER, PA 17603


                      WHEATON COLLEGE
                      26 EAST MAIN ST
                      NORTON, MA 02766


                      WHITE OAK ROD AND GUN CLUB
                      1593 ARONA RD
                      IRWIN, PA 15642-5009
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                      WHORTLEKILL ROD & GUN CLUB
                      38 FRANCES DR
                      HOPEWELL JUNCTI, NY 12533-5342


                      WIDEPOINT CYBERSECURITY SOLUTIONS CORP
                      7926 JONES BRANCH DR
                      STE 520
                      MCLEAN, VA 22102


                      WIGHT OX ENTERPRISES LLC
                      949 STREETER BROOK RD
                      LITTLE GENESEE, NY 14754


                      WILCOX CAULKING CORPORATION
                      PO BOX 208
                      LORTON, VA 22199


                      WILDCAT VALLEY RIFLE AND PISTO
                      PO BOX 4102
                      LAFAYETTE, IN 47903-4102


                      WILDERNESS ROAD SHOOTING AND C
                      PO BOX 1017
                      GATE CITY, VA 24251-1017


                      WILDLIFE COMMITTEE OF WASH.
                      1031 228TH S.W.
                      BOTHELL, WA 98021


                      WILDLIFE MANAGEMENT INSTITUTE
                      69 CLINTON AVE
                      ST. JOHNSBURY, VT 05819


                      WILHELM MECHANICAL,LLC
                      11182 REMINGTON ROAD
                      BEALETON, VA 22712
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                      WILKES-BARRE RIFLE & PISTOL
                      222 E. MAIN STREET
                      GLEN LYON, PA 18617


                      WILLAPA FIREARMS TRAINING
                      422 FRANKLIN ST
                      RAYMOND, WA 98577


                      WILLIAM TONG
                      165 CAPITOL AVENUE
                      HARTFORD, CT 06106


                      WILLIAMS & SONS INDOOR PISTOL
                      PO BOX 132
                      MOUNT BRADDOCK, PA 15465-0132


                      WILLIAMS, MULLEN, CLARK & DOBBINS PC
                      200 SOUTH 10TH ST
                      SUITE 1600
                      RICHMOND, VA 23219


                      WILLIS INVESTMENTS
                      263 PEACEFUL BREEZE LN
                      SHEPHERDSTOWN, WV 25443-3696


                      WINCHESTER AMMUNITION
                      600 POWDER MILL RD
                      EAST ALTON, IL 62024


                      WINCHESTER ARMS COLLECTORS ASN
                      PO BOX 30047
                      LUMBERTON, TX 77657-1047


                      WINCHESTER REPEATING ARMS
                      275 WINCHESTER AVENUE
                      MORGAN, UT 84050
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                      WINDHAM WEAPONRY INC
                      999 ROOSEVELT TRAIL
                      PO BOX 1900
                      WINDHAM, ME 04062


                      WINDIGO IMAGES INC
                      11812 WAYZATA BLVD 122
                      MINNETONKA, MN 55305


                      WINDSOR MARKSMEN'S ASSOC. INC
                      23 LAUREL AVENUE
                      WINDSOR, CT 06095


                      WINDSTREAM FFX HQ
                      PO BOX 9001013
                      LOUISVILLE, KY 40290


                      WINNEQUAH GUN CLUB
                      702 5TH ST
                      WAUNAKEE, WI 53597-1234


                      WINNSBORO GUN CLUB INC
                      169 POWDER HORN LN
                      HAWKINS, TX 75765


                      WINSTON & STRAWN L.L.P.
                      35 WEST WACKER DRIVE
                      CHICAGO, IL 60601


                      WISCONSIN DEPARTMENT OF REVENUE
                      P.O. BOX 93208
                      MILWAUKEE, WI 53293-0389


                      WITHERS BERGMAN LLC
                      157 CHURCH ST
                      12TH FLR
                      NEW HAVEN, CT 06510
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                      WIZZ SYSTEMS LLC
                      8814 VETERANS MEMORIAL BLVD
                      STE 3-124
                      METAIRIE, LA 70003


                      WOBURN SPORTSMEN'S ASSOCIATION
                      PO BOX 266
                      BEDFORD, MA 01730-0266


                      WOLVERTON MOUNTAIN GUN CLUB
                      PO BOX 2333
                      BATTLE GROUND, WA 98604


                      WOMEN ARMED AND READY, INC
                      307 BROADWAY ST
                      AURORA, IN 47001-1401


                      WOMEN'S SHOOTING CONNECTION OF
                      18 DIGBY LN
                      EDGEWOOD, NM 87015-8020


                      WOOD COUNTY RIFLE & PISTOL
                      4431 GRIFFITH AVE
                      WISCONSIN RAPID, WI 54494-7533


                      WOODS & ASSOCIATES INC
                      4792 E STATE HIGHWAY 248
                      REEDS SPRING, MO 65737


                      WORKMAN FIREARMS
                      3927 LONG DR APT B
                      NORTON, OH 44203-9500


                      WORLD AT WORK
                      14040 N NORTHSIGHT BLVD
                      SCOTTSDALE, AZ 85260-3601
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                      WORLD FAST DRAW ASSOCIATION
                      705 LEISURE DR
                      OKLAHOMA CITY, OK 73110-3965


                      WORLDWIDE OEM, INC.
                      5065 SAN JULIO AVE
                      SANTA BARBARA, CA 93111-2121


                      WORTH A SHOT, INC.
                      8424 VETERANS HWY STE 5
                      MILLERSVILLE, MD 21108-2556


                      WORTHINGTON ROD & GUN CLUB INC
                      PO BOX 71
                      WORTHINGTON, MA 01098-0071


                      WPMT LLC
                      2005 S QUEEN ST
                      YORK, PA 17403


                      WPP GROUP USA
                      3333 WARRENVILLE ROAD
                      LISLE, IL 60532


                      WREATHS ACROSS AMERICA
                      4 POINT ST
                      PO BOX 249
                      COLUMBIA FALLS, ME 04623


                      WS LINDSAY PAINT & WALLCOVERIN
                      902 E TONEWALL DRIVE
                      FRONT ROYAL, VA 22630


                      XAVIER BECERRA
                      1300 I ST SUITE 1740
                      SACRAMENTO, CA 95814
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                      XAXIS ACQUIRED BY APPNEXUS
                      28 WEST 23RD STREET, 4TH FLOOR
                      NEW YORK,, NY 10010


                      XO HOLDINGS LLC
                      13865 SUNRISE VALLEY DRIVE
                      HERNDON, VA 20171


                      XTREME KRAV MAGA, LLC
                      639 GRAVOIS BLUFFS BLVD STE C
                      FENTON, MO 63026-7739


                      YAKIMA VALLEY SPORTSMAN'S ASSO
                      825 SELAH NACHES RD
                      YAKIMA, WA 98908-9022


                      YAMAHA MOTOR CORPORATION USA
                      6555 KATELLA AVE
                      CYPRESS, CA 90630


                      YANKTON COUNTY SHARPSHOOTERS A
                      PO BOX 496
                      YANKTON, SD 57078-0496


                      YELLOWSTONE RIFLE CLUB
                      PO BOX 557
                      BILLINGS, MT 59103-0557


                      YHEC OUTDOOR SPORTS
                      153 SCOTT LANE
                      WEATHERFORD, TX 76085


                      YORBA LINDA PUBLIC LIBRARY
                      18181 IMPERIAL HWY
                      YORBA LINDA, CA 92886
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                      YORK & ADAMS GAME & FISH
                      1991 SLAGEL RD
                      SPRING GROVE, PA 17362


                      YORK RIFLE RANGE ASSOCIATION,
                      406 ORCHARD CT
                      RED LION, PA #####-####


                      YOUNGSTOWN RIFLE & PISTOL CLUB
                      9040 MERCHANT DR
                      STREETSBORO, OH 44241-5778


                      ZANDERS SPORTING GOODS
                      801 BRADBURY LANE
                      SPARTA, IL 62286


                      ZAYO GROUP HOLDINGS INC
                      4772 WALNUT ST
                      SUITE 100
                      BOULDER, CO 80301


                      ZEN MILLER FOUNDATION INC
                      2839 PACES FERRY RD SE
                      SUITE 1105
                      ATLANTA, GA 30339


                      ZEPPELIN RIFLE CLUB, INC
                      197 SEIBERLING ST
                      AKRON, OH 44306-3235


                      ZIA RIFLE & PISTOL CLUB OF N.M
                      PO BOX 9131
                      ALBUQUERQUE, NM 87119-9131
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                                    Schedule 2

                      Disclosures of Kirkland’s Representation
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     Party Represented                 Proceeding                   Status

 NRA        Institute    for Michelle Flanagan, et al. v. Current
 Legislative Action          California Attorney General
                             Xavier Becerra, et al.

                              Kirkland will advise client in
                              client’s advisory role in this
                              case.

 NRA        Institute    for Virginia Duncan, et al. v. Current
 Legislative Action          Xavier Becerra

                              Kirkland will advise client in
                              client’s advisory role in this
                              case.

 NRA        Institute    for New York State Rifle & Current
 Legislative Action          Pistol Association Inc. v.
                             Corlett

                              Kirkland will advise client in
                              client’s advisory role in this
                              case.

 NRA        Institute    for Kim Rhode et al. v. Xavier Current
 Legislative Action          Becerra

                              Kirkland will advise client in
                              client’s advisory role in this
                              case.
